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 1
                          UNITED STATES DISTRICT COURT
 2
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
                                  SAN JOSE DIVISION
 4

 5       NEO4J, INC., A DELAWARE
         CORPORATION, AND NEO4J SWEDEN
 6       AB, A SWEDISH CORPORATION,          CASE CV-18-07182 EJD

 7                  PLAINTIFFS,              SAN JOSE, CALIFORNIA

 8           V.                              NOVEMBER 14, 2023

 9       PURETHINK LLC, A DELAWARE           VOLUME 1
         LIMITED LIABILITY COMPANY, IGOV
10       INC., A VIRGINIA CORPORATION,       PAGES 1 - 186
         AND JOHN MARK SUHY, AN
11       INDIVIDUAL,                         SEALED PAGES 127 - 129
                                             SEALED PAGES 171 - 176
12                 DEFENDANTS.
         _______________________________
13
         AND RELATED COUNTERCLAIMS.
14
                               TRANSCRIPT OF TRIAL
15                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
16
       A-P-P-E-A-R-A-N-C-E-S
17
         FOR THE PLAINTIFFS:      HOPKINS & CARLEY
18                                BY: JOHN V. PICONE III
                                       JEFFREY M. RATINOFF
19                                     ZACHARY ROSENBAUM
                                  A LAW CORPORATION
20                                THE LETITIA BUILDING
                                  70 SOUTH FIRST STREET
21                                SAN JOSE, CA 95113

22                (APPEARANCES CONTINUED ON THE NEXT PAGE.)

23
         OFFICIAL COURT REPORTER:      IRENE L. RODRIGUEZ, CSR, RMR, CRR
24                                     CERTIFICATE NUMBER 8074

25          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
       TRANSCRIPT PRODUCED WITH COMPUTER.


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       A P P E A R A N C E S: (CONT'D)
 2
       FOR THE DEFENDANTS:             LAW OFFICES OF ADRON W. BEENE
 3                                     BY: ADRON W. BEENE
                                            ADRON GUSTAV BEENE, JR.
 4                                     7960 SOQUEL DRIVE, SUITE B #296
                                       APTOS, CALIFORNIA 95003
 5

 6     ALSO PRESENT:                   HOPKINS & CARLEY
                                       BY: DANNY ZEPEDA, I.T.
 7
                                       NEO4J
 8                                     MERTON THOMPSON, AGC

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           1     SAN JOSE, CALIFORNIA                            NOVEMBER 14, 2023

           2                             P R O C E E D I N G S

09:14AM    3           (COURT CONVENED AT 9:14 A.M.)

09:14AM    4                THE COURT:    THANK YOU.   PLEASE BE SEATED.

09:14AM    5          AND LET'S CALL OUR MORNING CALENDAR.       THIS IS 18-7182,

09:14AM    6     NEO4J, INCORPORATED, VERSUS PURETHINK.

09:14AM    7          LET ME FIRST CAPTURE THE APPEARANCE OF THE PARTIES.

09:14AM    8     PLEASE.   WHO APPEARS FOR THE PLAINTIFF?

09:14AM    9                MR. PICONE:    JOHN PICONE, HOPKINS & CARLEY, ON

09:14AM   10     BEHALF OF THE PLAINTIFF NEO4J.

09:14AM   11                MR. RATINOFF:    JEFFREY RATINOFF ON BEHALF OF

09:14AM   12     NEO4J SWEDEN AB.

09:14AM   13                THE COURT:    THANK YOU.   AND ANYONE ELSE ON YOUR

09:14AM   14     TABLE YOU WOULD LIKE TO INTRODUCE?

09:14AM   15                MR. PICONE:    SURE.   THIS IS DANNY ZEPEDA.    HE'S A

09:15AM   16     HOPKINS & CARLEY PARALEGAL.

09:15AM   17                THE COURT:    THANK YOU.   GOOD MORNING.

09:15AM   18                MR. PICONE:    I ALSO HAVE SOME GUESTS IN THE GALLERY.

09:15AM   19     WOULD YOU LIKE ME TO INTRODUCE THEM OR DO THEM AFTER THE

09:15AM   20     APPEARANCES?

09:15AM   21                THE COURT:    I'M HAPPY TO HAVE YOU INTRODUCE THEM.

09:15AM   22                MR. PICONE:    MERTON THOMPSON.

09:15AM   23                THE COURT:    I'M SORRY.

09:15AM   24                MR. PICONE:    MERTON THOMPSON.   HE IS THE ASSISTANT

09:15AM   25     GENERAL COUNSEL FOR NEO4J.



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09:15AM    1                 THE COURT:    OKAY.

09:15AM    2                 MR. PICONE:   I ALSO HAVE ZACH ROSENBAUM.    I THINK

09:15AM    3     THIS IS HIS FOURTH DAY WITH HOPKINS & CARLEY?

09:15AM    4                 MR. ROSENBAUM:   YEAH.

09:15AM    5                 MR. PICONE:   AND HE'S BRAND NEW.

09:15AM    6                 THE COURT:    OKAY.   WELL, HE SHOULD BE AT YOUR TABLE

09:15AM    7     THEN.   HE'S COMING TO OBSERVE TODAY.

09:15AM    8                 MR. PICONE:   HE'S COMING TO OBSERVE TODAY.       HE JUST

09:15AM    9     STARTED, SO HE'S NOT GOING TO SPEAK.

09:15AM   10                 THE COURT:    WELCOME.

09:15AM   11                 MR. PICONE:   AND WE HAVE OUR WITNESSES TODAY,

09:15AM   12     JASON ZAGALSKY AND KELLY ZAWALSKI.

09:15AM   13                 THE COURT:    OKAY.   THANK YOU.   GOOD MORNING

09:15AM   14     EVERYONE.   WELCOME.

09:15AM   15          AND FOR THE DEFENSE?

09:15AM   16                 MR. BEENE:    GOOD MORNING, YOUR HONOR.

09:15AM   17          MY NAME IS ANDRON BEENE, I'M SENIOR.       I'M REPRESENTING

09:15AM   18     PURETHINK, IGOV, AND MR. JOHN SUHY.

09:15AM   19          WITH ME IS MY SON, ADRON BEENE JR., AND HE IN TURN ALSO

09:16AM   20     REPRESENTS THE SAME PARTIES.

09:16AM   21                 THE COURT:    GOOD MORNING.

09:16AM   22                 MR. BEENE:    AND ON THIS SIDE IS MR. JOHN SUHY WHO IS

09:16AM   23     THE DEFENDANT IN THIS ACTION, AND YOU'VE PROBABLY SEEN HIS NAME

09:16AM   24     BEFORE.

09:16AM   25                 THE COURT:    THANK YOU.   GOOD MORNING EVERYONE.



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09:16AM    1     THANK YOU.   I APPRECIATE IT.

09:16AM    2          WELL, THIS IS THE TRIAL THAT WE'VE ULTIMATELY AFTER A LONG

09:16AM    3     AND MUCH LITIGATION, WE'VE ARRIVED AT THIS POINT.       AND THE

09:16AM    4     ISSUES THAT ARE BEFORE US ARE REALLY REGARDING ANY DAMAGES,

09:16AM    5     DAMAGES, IF ANY, AND WHAT THOSE ARE.

09:16AM    6          THE PLAINTIFF INTENDS TO GO FORWARD THIS MORNING WITH SOME

09:16AM    7     EVIDENCE.

09:16AM    8          WHY DON'T YOU -- WHAT I THOUGHT I WOULD DO, IF YOU WOULD

09:16AM    9     LIKE, IS AFFORD THE PARTIES AN OPPORTUNITY TO MAKE A BRIEF

09:16AM   10     OPENING STATEMENT.

09:16AM   11          THIS IS A BENCH TRIAL.     THERE'S NO JURY HERE.   BUT IF YOU

09:16AM   12     WANTED TO SAY ANYTHING ABOUT WHAT YOU THINK THE EVIDENCE WILL

09:16AM   13     SHOW, IF NOT FOR THE ENTIRETY OF THE CASE BUT AT LEAST FOR THIS

09:16AM   14     MORNING, WHAT EVIDENCE YOU THINK IS GOING TO BE PRODUCED TODAY,

09:17AM   15     THAT WOULD -- I'D WELCOME THAT IF YOU WOULD WANT.       YOU DON'T

09:17AM   16     HAVE TO.

09:17AM   17          WHAT I WOULD ASK YOU TO DO AS WE GO FORWARD EACH DAY IS

09:17AM   18     COMMUNICATE WITH OUR COURTROOM DEPUTY EACH DAY AS TO THE

09:17AM   19     ANTICIPATED WITNESS THAT MIGHT BE CALLED AS WELL AS ANY

09:17AM   20     EXHIBITS THAT YOU THINK WOULD BE INTRODUCED ON THAT DATE SO

09:17AM   21     THAT WE HAVE A RECORD OF THOSE AND WE CAN KEEP TRACK OF THOSE.

09:17AM   22          I THINK WE'VE TALKED ABOUT THIS BEFORE IN OUR PRETRIAL

09:17AM   23     CONFERENCE, BUT IF ANY WITNESSES HAVE ANY NEEDS, INTERPRETERS

09:17AM   24     OR OTHER SPECIAL NEEDS, YOU SHOULD LET US KNOW IN ADVANCE AS

09:17AM   25     WELL SO WE CAN PREPARE FOR THAT.



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09:17AM    1          AND ABSENT THAT, I WOULD JUST ASK ON BEHALF OF THE COURT

09:17AM    2     REPORTER, AND CANDIDLY MYSELF, WHEN YOU SPEAK AND WHEN

09:17AM    3     WITNESSES SPEAK, PLEASE TRY TO DO SO SLOWLY AND CLEARLY AND

09:17AM    4     ARTICULATE AS BEST YOU CAN SO YOU CAN GET -- WE ALL CAN HAVE

09:18AM    5     THE BEST RECORD THAT WE CAN.

09:18AM    6          WE'RE ALL VERY, VERY BLESSED THIS MORNING TO HAVE WITH US

09:18AM    7     THE FINEST COURT REPORTER IN THE BUILDING, AND SHE IS HERE TO

09:18AM    8     TAKE THIS TRIAL DOWN, BUT EVEN WITH ALL OF HER SKILLS AND

09:18AM    9     EXPERIENCE, SHE CANNOT, IN FACT SHE WOULD FIND IT DIFFICULT TO

09:18AM   10     RECORD PEOPLE WHEN THEY TALK EITHER TOO FAST, TOO SLOW, THEY

09:18AM   11     DON'T SPEAK LOUD OR THEY DON'T ENUNCIATE, OR THE WORST SIN FROM

09:18AM   12     A COURT REPORTER'S PERSPECTIVE IS TWO PEOPLE TALK AT THE SAME

09:18AM   13     TIME OVER EACH OTHER.    SO I KNOW YOU'LL ALL AVOID THAT.

09:18AM   14          SO UNLESS THERE'S ANYTHING ELSE, IF YOU HAVE LIVE

09:18AM   15     WITNESSES THAT YOU WANT TO BEGIN WITH, WE CAN DO THAT.

09:18AM   16                MR. PICONE:    YOUR HONOR, WE HAVE SOME HOUSEKEEPING

09:18AM   17     MATTERS THAT WE WOULD LIKE TO AT LEAST BRING TO YOUR ATTENTION

09:18AM   18     AND IF WE CAN GET SOME CLARITY ON THEM.

09:19AM   19                THE COURT:    YES.

09:19AM   20                MR. PICONE:    SO JUST TO HELP YOU OUT, THE PARTIES

09:19AM   21     HAVE AGREED THAT THE DEPO DESIGNATIONS WOULD BE SUBMITTED TO

09:19AM   22     THE COURT WITHOUT THEM HAVING TO BE READ IN OPEN COURT JUST TO

09:19AM   23     SAVE EVERYONE THE TIME.

09:19AM   24                THE COURT:    OKAY.

09:19AM   25                MR. PICONE:    NO THAT -- IT WOULDN'T BE LIKE AN



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09:19AM    1     AUDIBLE BOOK, YOU KNOW, THAT MY DULL VOICE JUST READING

09:19AM    2     DEPOSITION TRANSCRIPT AFTER DEPOSITION TRANSCRIPT, AND WE

09:19AM    3     THOUGHT WE WOULD SPARE YOU THAT.

09:19AM    4                 THE COURT:    THANK YOU FOR THAT.   I JUST WANT TO GET

09:19AM    5     CLARITY ON THAT.

09:19AM    6          THERE ARE DEPOSITION TESTIMONIES THAT ARE ON VIDEO OR

09:19AM    7     DIGITAL, THEY'VE BEEN DIGITIZED, AS I UNDERSTAND IT, ON THUMB

09:19AM    8     DRIVES OR SOMETHING.      WE COULD PLAY THOSE IN OPEN COURT IF YOU

09:19AM    9     WISH, AND WE COULD SIT AND WATCH AND LISTEN AND VIEW THOSE, ALL

09:19AM   10     OF US HERE IN COURT, IF YOU WOULD LIKE TO DO THAT.

09:19AM   11                 MR. PICONE:    WE HAD SPOKEN WITH COUNSEL PRIOR TO

09:19AM   12     THIS, AND WE THOUGHT THE MOST EFFICIENT WAY TO DO THAT WAS TO

09:19AM   13     PRESENT THEM TO YOU IN BINDERS AND PAPER AND JUST IDENTIFY THEM

09:20AM   14     DURING THE TESTIMONY TO THE EXTENT THAT IT'S NECESSARY AND ALSO

09:20AM   15     IDENTIFY THEM AND PROVIDE THEM TO THE COURT SO THAT YOU COULD

09:20AM   16     USE THEM IN RENDERING A DECISION AND MAKING -- IN DOING YOUR

09:20AM   17     WORK.

09:20AM   18                 THE COURT:    OKAY.   AND THEN AS I UNDERSTAND IT THE

09:20AM   19     VIDEOS THAT I'M TALKING ABOUT, THOSE ARE WHAT YOU WOULD LIKE TO

09:20AM   20     SUBMIT TO ME AND I CAN VIEW THOSE IN CHAMBERS OUTSIDE YOUR

09:20AM   21     PRESENCE?   I JUST WANT TO MAKE SURE THAT I UNDERSTAND.

09:20AM   22                 MR. PICONE:    WE WERE ACTUALLY JUST THINKING THIS,

09:20AM   23     THE TRANSCRIPTS.

09:20AM   24                 THE COURT:    OH, OKAY.

09:20AM   25                 MR. RATINOFF:    YOUR HONOR, IF IT'S OKAY I CAN JOIN



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09:20AM    1      MY COCOUNSEL?

09:20AM    2                 THE COURT:    YES.

09:20AM    3                 MR. RATINOFF:   WE HAVE, ACTUALLY TO MAKE EASIER FOR

09:20AM    4      YOU, WE HAVE PREPARED BINDERS THAT HAVE THE DESIGNATIONS THAT

09:20AM    5      WE HAVE FILED AS WELL AS THE EXHIBITS THAT ARE REFERENCED IN

09:20AM    6      THAT TESTIMONY THAT WE WOULD MOVE INTO EVIDENCE.

09:20AM    7           I THINK IT'S MUCH EASIER TO DO THAT THAN TO JUST PLAY THE

09:20AM    8      VIDEOS AND HAVE TO SCRAMBLE THROUGH THE ENTIRE TRIAL BINDERS TO

09:20AM    9      DETERMINE WHAT IS BEING ADMITTED THROUGH THAT DEPOSITION.

09:20AM   10           SO WE'RE HAPPY TO PROVIDE THAT TO YOU NOW OR AT THE END OF

09:21AM   11      THE DAY TODAY.   WE ALSO, OF COURSE, MADE COPIES FOR COUNSEL AS

09:21AM   12      WELL.

09:21AM   13                 THE COURT:    OKAY.   SO WHAT DOES THAT DO FOR THE

09:21AM   14      VIDEO PORTION OF THE DEPOSITIONS?     IS THAT SOMETHING THAT YOU

09:21AM   15      WANT ME TO LOOK AT, TO VIEW?

09:21AM   16                 MR. PICONE:   WE DIDN'T THINK IT WAS NECESSARY,

09:21AM   17      YOUR HONOR.

09:21AM   18                 THE COURT:    OKAY.

09:21AM   19                 MR. PICONE:   WE THOUGHT IT WOULD BE EASIER JUST FOR

09:21AM   20      YOU TO READ THE TRANSCRIPT AS OPPOSED TO SITTING AND VIEWING

09:21AM   21      THEM.

09:21AM   22                 THE COURT:    OKAY.

09:21AM   23                 MR. PICONE:   SO WE HAD DISPENSED WITH THE VIDEO

09:21AM   24      ALTOGETHER.

09:21AM   25                 THE COURT:    OKAY.   I SEE.   ALL RIGHT.



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09:21AM    1           WELL, LET ME ASK YOUR COLLEAGUE OPPOSITE'S HIS THOUGHTS ON

09:21AM    2      THAT.

09:21AM    3                   MR. BEENE:   HELLO, YOUR HONOR.   ANDRON BEENE,

09:21AM    4      SENIOR.

09:21AM    5           WE HAVE NO PROBLEM WITH THAT.

09:21AM    6                   THE COURT:   OKAY.

09:21AM    7                   MR. BEENE:   I THINK WHAT WE HAD DISCUSSED WAS THAT

09:21AM    8      WE WOULD SUBMIT YOU THE PAPER TRANSCRIPTS AND YOU CAN -- WE

09:21AM    9      DON'T NEED TO READ IT INTO THE RECORD AND TAKE VALUABLE COURT

09:21AM   10      TIME TO DO THAT, AND YOU CAN DO THAT, AND I DON'T THINK ANY

09:21AM   11      VISUAL IS NECESSARY.      WE DON'T NEED TO BE THERE WHILE YOU'RE

09:21AM   12      READING OR LISTENING OR WATCHING IT.

09:21AM   13                   THE COURT:   OKAY.

09:21AM   14                   MR. BEENE:   MAKE IT EFFICIENT.

09:21AM   15                   THE COURT:   I JUST WANT TO SAY SOMETHING.     AND I'M

09:22AM   16      NOT SUGGESTING THAT I DISAGREE AND THAT I WON'T ACCEPT YOUR

09:22AM   17      PLAN HERE.    SOMETIMES PEOPLE FEEL THAT, WELL, YOU NEED TO, LIKE

09:22AM   18      A JURY, YOU NEED TO LOOK AT THE WITNESS WHEN SHE'S TESTIFYING

09:22AM   19      SO THAT YOU CAN DETERMINE HER DEMEANOR, HER CHARACTER, THE

09:22AM   20      NATURE AND QUALITY OF HER TESTIMONY AND THOSE TYPES OF THINGS.

09:22AM   21           SOMETIMES THAT'S IMPORTANT.     PARTICULARLY IN SOME CASES

09:22AM   22      LAWYERS FEEL THAT GOES TO CREDIBILITY AND ALL OF THOSE THINGS.

09:22AM   23           THAT MAY NOT BE AN ISSUE IN THIS CASE.         THIS CASE MAY BE

09:22AM   24      PURE INFORMATION, AND THAT'S WHAT I TAKE FROM THIS AGREEMENT

09:22AM   25      THAT YOU'RE REACHING.



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09:22AM    1                  MR. PICONE:   WITH ONE EXCEPTION.      COUNSEL JUST

09:22AM    2      REMINDED ME THAT WE MAY PLAY ONE SNIPPET OF A RELATED ENTITY,

09:22AM    3      BUT OTHER THAN THAT, I AGREE WITH YOU, I DON'T THINK THAT THE

09:22AM    4      NORMAL AND ORDINARY EVALUATIONS OF THE NONVERBAL NATURE OF

09:23AM    5      SOMEONE'S TESTIMONY IS ESPECIALLY CRITICAL IN THIS PARTICULAR

09:23AM    6      CASE.

09:23AM    7                  THE COURT:    OKAY.

09:23AM    8                  MR. BEENE:    YES, WE'RE DEALING WITH THE IRS AND NSA,

09:23AM    9      SO IT'S VERY COMMERCIAL.

09:23AM   10                  THE COURT:    OKAY.    OKAY.   THANK YOU.   I APPRECIATE

09:23AM   11      THAT.   I JUST WANT TO GET CLARITY FOR THE RECORD AS TO WHAT YOU

09:23AM   12      WOULD LIKE ME TO DO, AND I'M HAPPY TO ACCEPT YOUR PROPOSAL

09:23AM   13      THEN.

09:23AM   14                  MR. BEENE:    GREAT.

09:23AM   15                  THE COURT:    OKAY.

09:23AM   16                  MR. PICONE:   WE THINK IT'S THE MOST EFFICIENT, AND

09:23AM   17      WE DON'T FEEL IT WOULD IN ANY WAY DEROGATE YOUR ABILITY TO

09:23AM   18      REACH A CONCLUSION AND RENDER A VERDICT.

09:23AM   19                  THE COURT:    OKAY.    THANK YOU.

09:23AM   20                  MR. PICONE:   WE DO HAVE SOME DEPOSITIONS THAT WILL

09:23AM   21      BE SUBMITTED AS WELL BECAUSE THEY'RE UNAVAILABLE PURSUANT TO

09:23AM   22      THE FEDERAL RULES, SO THOSE WILL BE LARGELY THIRD PARTIES, AND

09:23AM   23      WE'LL IDENTIFY THEM AS THEY ARE -- AS THEIR TESTIMONY BECOMES

09:23AM   24      RELEVANT.

09:23AM   25           WE ALSO SAID THAT WE HAD STIPULATED WITH OPPOSING COUNSEL



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09:23AM    1      REGARDING DEPOSITION EXHIBITS.      TO THE EXTENT THAT DEPOSITION

09:24AM    2      EXHIBITS WERE NOT OBJECTED TO DURING THE DEPOSITIONS THAT WE

09:24AM    3      STIPULATED THAT WE WOULD MOVE THOSE RELEVANT DEPOSITION

09:24AM    4      EXHIBITS INTO EVIDENCE.

09:24AM    5           DID I GET THAT RIGHT?

09:24AM    6                 MR. BEENE:    YES.    WHY DON'T I COME UP AND JOIN.

09:24AM    7      WHAT HE SAID IS CORRECT.

09:24AM    8                 THE COURT:    OKAY.

09:24AM    9                 MR. PICONE:    THIS ONE MAY BE A LITTLE MORE

09:24AM   10      CONTROVERSIAL.

09:24AM   11           WE HAD 57 UNDISPUTED FACTS THAT WERE INITIALLY SUBMITTED

09:24AM   12      IN THE JOINT PRETRIAL STATEMENT.

09:24AM   13           AND THEN THE AMENDED STATEMENT THE DEFENDANTS LODGED SOME

09:24AM   14      OBJECTIONS THAT THEY SAID THEY DIDN'T DISPUTE THEM, AND I'M

09:24AM   15      PARAPHRASING, THEY DIDN'T DISPUTE THEM FOR PURPOSES OF THE

09:24AM   16      TRIAL, BUT THAT THEY RESERVE THE RIGHT TO DISPUTE THEM AT SOME

09:24AM   17      LATER POINT DURING AN APPEAL.

09:24AM   18           WE DON'T THINK THAT'S RIGHT, BUT WE JUST WANTED TO ALERT

09:25AM   19      YOU TO THE EXISTENCE OF THAT ISSUE BECAUSE WE'RE TREATING

09:25AM   20      UNDISPUTED FACTS AS UNDISPUTED FACTS, AND WE BELIEVE THAT THE

09:25AM   21      RESERVATION OF RIGHT AND CLEAVING OFF THE APPELLATE REVIEW

09:25AM   22      VERSUS THE TRIAL REVIEW IS INAPPROPRIATE.

09:25AM   23           BUT COUNSEL SHOULD ADD THEIR PERSPECTIVE ON THAT.

09:25AM   24                 THE COURT:    MR. BEENE.

09:25AM   25                 MR. BEENE:    YOUR HONOR, WHAT NEO4J HAS DONE IS PUT



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09:25AM    1      IN STATEMENTS OF FACT THAT YOU STATED IN YOUR BRIEFS, AND THEN

09:25AM    2      THEY SAY, WELL, YOU HAVE TO AGREE TO THIS BECAUSE THE JUDGE

09:25AM    3      SAID SO.   AND WE HAVE GOT A LOT OF THESE ISSUES GOING BACK AND

09:25AM    4      FORTH.

09:25AM    5           AND WHEN I SAID, WELL, I DON'T WANT TO DISAGREE WITH WHAT

09:25AM    6      YOU STATED IN YOUR ORDER, BUT I DON'T WANT TO ADMIT THAT IT'S

09:25AM    7      TRUE FOR PURPOSES OF APPEAL BECAUSE WE FEEL THAT THE UNDERLYING

09:25AM    8      ISSUES IN THE SUMMARY JUDGMENT MOTION, THOSE FACTS SHOULD HAVE

09:26AM    9      BEEN DISPUTABLE FOR TRIAL.

09:26AM   10           BUT -- SO TO STREAMLINE TRIAL I JUST SAID, LOOK, FINE,

09:26AM   11      WE'LL GO WITH WHAT THE JUDGE SAID, BUT WE RESERVE IT SO THEY

09:26AM   12      DON'T GO ON APPEAL AND SAY, HEY, THEY ALREADY ADMITTED THIS

09:26AM   13      STUFF.   I DON'T THINK THAT TYPE OF PROCEDURAL SITUATION SEEMS

09:26AM   14      APPROPRIATE TO ME.

09:26AM   15                 THE COURT:   AND WHAT I HEAR MR. BEENE SAYING IS

09:26AM   16      THAT, JUDGE, WE'VE GOT YOUR ORDER, WE RESPECTFULLY DISAGREE

09:26AM   17      WITH SOME OF IT, AND BY GOING FORWARD TODAY, WE ARE NOT WAIVING

09:26AM   18      ANY APPELLATE REMEDY WE HAVE AS TO YOUR ORDER AND AS TO

09:26AM   19      EVIDENCE THAT COMES IN THIS TRIAL.

09:26AM   20           DID I STATE THAT CORRECTLY?

09:26AM   21                 MR. BEENE:   CORRECT.

09:26AM   22                 THE COURT:   NOW, WHETHER OR NOT OR HOW THAT GOES

09:26AM   23      WITH AGREEMENT ON UNDISPUTED FACTS, I UNDERSTAND MR. PICONE'S

09:26AM   24      PART, ARE YOU SAYING THAT, WELL, WE'RE GOING TO WITHDRAW OUR

09:26AM   25      AGREEMENT ABOUT UNDISPUTED FACTS AND SAY THAT THEY ARE IN



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09:26AM    1      DISPUTE?

09:26AM    2                 MR. BEENE:    WELL, FOR PURPOSES OF -- FOR PURPOSES OF

09:27AM    3      TRIAL THEY'RE UNDISPUTED, BUT THAT'S WITHOUT WAIVER OF OUR

09:27AM    4      RIGHT TO ATTACK -- WITHOUT WAIVER OF OUR RIGHT TO APPEAL THE

09:27AM    5      UNDERLYING RULINGS.

09:27AM    6                 THE COURT:    PREVIOUS ORDERS.

09:27AM    7                 MR. BEENE:    YES.    FRANKLY, THERE'S NO REASON TO HAVE

09:27AM    8      THESE 100 FACTS BECAUSE IT'S JUST TAKING YOUR ORDER AND PUTTING

09:27AM    9      IT INTO TRIAL INSTEAD OF STARTING WITH THE ORDER AND GOING TO

09:27AM   10      DAMAGES.

09:27AM   11                 THE COURT:    OKAY.

09:27AM   12                 MR. BEENE:    THAT WAS OUR POINT IS THAT THERE ARE TOO

09:27AM   13      MANY FACTS HERE AND THEY WANT TO PUT THESE IN TO HAVE TONS OF

09:27AM   14      FACTS, AND THERE WAS A BIG DEBATE GOING ON EARLIER ABOUT, WELL,

09:27AM   15      THIS IS WHAT -- YOU MUST AGREE TO THIS FACT BECAUSE THAT'S WHAT

09:27AM   16      THE JUDGE WROTE RIGHT HERE IN THIS SUMMARY JUDGMENT.

09:27AM   17           SO I DIDN'T HAVE 100 HOURS TO ARGUE THIS.      SO I'M JUST

09:27AM   18      TRYING TO STREAMLINE IT AND SAY, FINE, FOR PURPOSE, THEY'RE

09:27AM   19      UNDISPUTED, BUT WE DON'T WAIVE OUR RIGHT TO APPEAL THE

09:27AM   20      UNDERPINNINGS OF THOSE FACTS.

09:28AM   21                 MR. PICONE:   I'M A LITTLE BIT CONFUSED BECAUSE I

09:28AM   22      NEVER CONFRONTED THIS BEFORE ACTUALLY.

09:28AM   23           SO I DON'T DISPUTE THAT DEFENDANTS HAVE THE RIGHT TO

09:28AM   24      APPEAL TO THE EXTENT THAT THEY HAVE NOT ALREADY, AND THERE IS

09:28AM   25      LAW OF THE CASE.   BUT SAY, FOR EXAMPLE, TESTIMONY REGARDING



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09:28AM    1      DAMAGES AND LEGAL ISSUES REGARDING DAMAGES, WE DON'T DISPUTE

09:28AM    2      THAT THEY HAVE THE RIGHT TO CHALLENGE ANY VERDICT ON APPEAL.

09:28AM    3           I'M JUST PUZZLED ON THE -- IF IT'S NOT DISPUTED FOR TRIAL

09:28AM    4      IF SOMEHOW LATER ON IN APPEAL WE ONLY DID THAT FOR TRIAL BUT WE

09:28AM    5      DISPUTE THIS FACT AND SO WHAT DOES THAT DO FOR THE RECORD

09:28AM    6      BECAUSE WE TOOK THE FACT AS UNDISPUTED, WE DIDN'T ADDUCE

09:28AM    7      EVIDENCE SUPPORTING THAT FACT BECAUSE WE'VE ALREADY DONE THAT

09:28AM    8      WITH SUMMARY JUDGMENT, AND TO REDO ALL OF THAT WORK WOULD BE

09:29AM    9      CUMULATIVE, AND IT WOULD BE A WASTE OF THE COURT'S RESOURCES.

09:29AM   10           SO WHAT WE WERE HOPING TO DO IS TAKE THOSE UNDISPUTED

09:29AM   11      FACTS, AND WE WOULD INTRODUCE THOSE INTO THE RECORD AS

09:29AM   12      UNDISPUTED, BECAUSE THEY WERE IN YOUR ORDERS, AND IT WAS A

09:29AM   13      FINDING OF THE COURT, BUT THAT, YOU KNOW, ULTIMATELY TO THE

09:29AM   14      EXTENT THAT THEY HAVE NOT APPEALED ALREADY, THEY CAN APPEAL ANY

09:29AM   15      SUBSEQUENT RULINGS BUT THAT DOESN'T REALLY -- THE FACT ISSUE IS

09:29AM   16      THE ONE THAT IS TROUBLING ME BECAUSE OTHERWISE THEN WE DON'T

09:29AM   17      ADDUCE EVIDENCE TO SUPPORT THAT FACT, AND IF IT'S UNDISPUTED,

09:29AM   18      WE DON'T HAVE TO.    BUT IF IT'S DISPUTED LATER, ON APPEAL THEY

09:29AM   19      COULD SAY, WELL, OBVIOUSLY THEY DIDN'T HAVE SUBSTANTIAL

09:29AM   20      EVIDENCE TO SUPPORT THIS FACT BECAUSE THEY DIDN'T ADDUCE ANY

09:29AM   21      TESTIMONY OR EVIDENCE SUPPORTING IT.

09:29AM   22                 THE COURT:    WELL, IT SOUNDS LIKE -- PARDON ME FOR

09:29AM   23      INTERJECTING.

09:29AM   24                 MR. PICONE:    NO, GO AHEAD.   I'M CONFUSED.

09:29AM   25                 THE COURT:    IT SOUNDS TO ME LIKE THERE ARE DISPUTED



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09:29AM    1      FACTS, AND THAT'S WHAT THE TRIAL IS FOR IS TO SEEK RESOLUTION

09:30AM    2      OF FACTS THAT ARE IN DISPUTE.

09:30AM    3           WHAT I HEAR YOU SAYING IS, WELL, WE HAVE AGREED WITH YOUR

09:30AM    4      ORDER AND THE FACTS THAT YOU'RE GOING TO PUT IN ARE FACTS

09:30AM    5      DERIVATIVE FROM THE COURT'S ORDER.

09:30AM    6                   MR. PICONE:   THAT'S RIGHT.

09:30AM    7                   THE COURT:    AND IF THAT'S THE EVIDENCE THAT YOU'RE

09:30AM    8      GOING TO PUT IN, THEN I CAN SEE MR. BEENE SAYING, THAT'S FINE,

09:30AM    9      WE AGREE THAT'S IN YOUR ORDER, JUDGE, BUT WE DON'T AGREE

09:30AM   10      NECESSARILY WITH YOUR ORDER BECAUSE WE MAY APPEAL YOUR ORDER,

09:30AM   11      AND WE MAY APPEAL THIS TRIAL IF THERE IS -- IF YOU DECIDE

09:30AM   12      AGAINST US, WE MAY APPEAL.

09:30AM   13           ONE OF THE GROUNDS FOR OUR APPEAL IS THE FACTS THAT YOU

09:30AM   14      FOUND IN YOUR ORDER, WE OBJECT TO.      AND IF THEY WERE INTRODUCED

09:30AM   15      IN THE TRIAL, THAT CONTINUES WITH OUR APPELLATE REMEDY.      THAT'S

09:30AM   16      KIND OF WHAT I HEAR YOU SAYING.

09:31AM   17           BUT IF THE FACTS ARE GOING TO BE ADDITIONAL TO WHAT WAS IN

09:31AM   18      THE ORDER OR OTHERS, THEN I CAN SEE THAT -- WELL, IF THERE IS

09:31AM   19      AN AGREEMENT ON IT -- IF THERE'S DISPUTE, THEN WE NEED TO

09:31AM   20      LITIGATE THOSE AT THE TRIAL.

09:31AM   21                   MR. PICONE:   RIGHT.   SO I'M TALKING ABOUT THOSE

09:31AM   22      FACTS THAT ARE IN THE ORDERS, AND WE'RE TAKING THEM AS

09:31AM   23      ESTABLISHED BECAUSE THE COURT MADE A FINDING AFTER REVIEWING

09:31AM   24      THE EVIDENCE AND MADE A FINDING OF THAT.

09:31AM   25           SO --



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09:31AM    1                  THE COURT:   PARDON ME.   MAYBE THE PROBLEM IS

09:31AM    2      NOMENCLATURE.   MAYBE WE SHOULDN'T CALL THEM "UNDISPUTED FACTS."

09:31AM    3      MAYBE YOU SHOULD CALL IT THE COURT'S ORDERING AND THE FINDING

09:31AM    4      OF THE COURT AND THAT'S WHAT YOU'RE PUTTING IN.

09:31AM    5           BECAUSE THEY'RE STILL, AND WITH ALL RESPECT, AND I KNOW

09:31AM    6      MR. BEENE HAS THAT, HE'S SAYING JUDGE, GIVE US YOUR ORDER.       WE

09:31AM    7      DON'T NECESSARILY AGREE WITH IT, AND THERE'S LIKELY TO BE AN

09:31AM    8      APPEAL ON IT WITH ALL DUE RESPECT.

09:32AM    9           IF THIS TRIAL IS BASED ON WHAT YOUR ORDER SAID, THEN WE

09:32AM   10      RESERVE THE RIGHTS, ALL OF OUR APPELLATE REMEDIES, IF YOU GO

09:32AM   11      AGAINST US IN THIS TRIAL, TO APPEAL YOUR DECISION HERE AND

09:32AM   12      CONCURRENT WITH THAT IS THE GENESIS OF YOUR OPINION HERE WHICH

09:32AM   13      WAS YOUR ORDER, AND THAT WOULD BE PART OF THE APPEAL I THINK.

09:32AM   14                  MR. BEENE:   YES.   THE ISSUE I THINK, YOUR RULING

09:32AM   15      ON -- WHICH WAS A SUMMARY JUDGMENT RULING WHICH YOU FOUND FACTS

09:32AM   16      OF, WITH THE SUMMARY JUDGMENT RULE THAT NO JURY, REASONABLE

09:32AM   17      JURY WOULD FIND THAT, AND, THEREFORE, YOU CAN GRANT SUMMARY

09:32AM   18      JUDGMENT.

09:32AM   19           SO RATHER THAN SAYING THERE ARE DISPUTED FACTS, I'M

09:32AM   20      DENYING SUMMARY JUDGMENT, YOU SAID I'M FINDING THIS FACT.        SO

09:32AM   21      THAT'S A FACTUAL FINDING.

09:32AM   22           ON APPEAL WE CAN SAY THAT WAS INAPPROPRIATE, THAT A

09:33AM   23      REASONABLE JURY COULD FIND THERE'S A DISPUTE.      ON APPEAL

09:33AM   24      THERE'S AN ISSUE ON SUMMARY JUDGMENT OF WHETHER THAT WAS

09:33AM   25      CORRECT.



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09:33AM    1           BUT ON TRIAL WE'RE GOING THROUGH FINDINGS OF FACT.        BUT

09:33AM    2      THEY'RE TRYING TO SAY, WELL, YOU MUST ADMIT THOSE FOR ALL

09:33AM    3      PURPOSES.   AND WHAT WE'RE SAYING IS NO, WE'RE ADMITTING THEM

09:33AM    4      FOR PURPOSES OF TRIAL.     MY FOOTNOTE WAS THE SUMMARY JUDGMENT

09:33AM    5      RULINGS, THOSE FACTS, ARE FOR PURPOSES OF TRIAL.     WE'RE NOT

09:33AM    6      WAIVING THE FINDINGS OF FACT FOR PURPOSES OF APPEAL.

09:33AM    7                  THE COURT:    OKAY.

09:33AM    8                  MR. BEENE:    AND, FRANKLY, SINCE YOU'VE GRANTED

09:33AM    9      SUMMARY JUDGMENT ON LIABILITY, IN MY VIEW THERE'S NO REASON TO

09:34AM   10      RETRY LIABILITY AND HAVE ALL OF THIS PAPER AND HUNDREDS OF

09:34AM   11      FACTS, WE JUST START WITH LIABILITY AND START WITH DAMAGES.

09:34AM   12                  THE COURT:    I THOUGHT THAT'S WHAT WE WERE DOING.

09:34AM   13                  MR. PICONE:   I THOUGHT SO, TOO.   AND I ACTUALLY HAVE

09:34AM   14      NO OBJECTION TO THAT, ACTUALLY.     IF WE'RE GOING TO -- THE

09:34AM   15      FINDINGS OF LIABILITY HAVE BEEN MADE, AND I AGREE WITH COUNSEL

09:34AM   16      IN SOME SENSE THAT THERE'S NO REASON TO NECESSARILY HAVE THAT

09:34AM   17      ALL, ONCE AGAIN, IN THE RECORD OF THIS PARTICULAR TRIAL BECAUSE

09:34AM   18      THIS PARTICULAR TRIAL IS EXCLUSIVELY DEALING WITH THE DAMAGES.

09:34AM   19           SO THE EVIDENCE ADDUCED IN THIS TRIAL IS ONLY GOING TO

09:34AM   20      RELATE TO THE DAMAGES PORTION OF THE CASE.     IT IS NOT GOING TO

09:34AM   21      GO BACK AND RELITIGATE SETTLED ISSUES THAT HAVE BEEN RESOLVED

09:34AM   22      ON SUMMARY ADJUDICATION.

09:34AM   23           SO I SUPPOSE THAT COUNSEL'S CAVEAT REGARDING AGREEING FOR

09:35AM   24      THE PURPOSES OF THE TRIAL THAT THESE FACTS ARE UNDISPUTED, BUT

09:35AM   25      THAT RESERVING THE RIGHT TO LATER CHALLENGE THEM ON APPEAL, TO



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09:35AM    1      THE EXTENT THAT THEY HAVE NOT APPEALED ALREADY, I SUPPOSE

09:35AM    2      THAT'S FINE.

09:35AM    3                 THE COURT:    SO MY UNDERSTANDING WAS THAT WHAT WE

09:35AM    4      WERE GOING TO ENGAGE FOR THE NEXT FEW DAYS IS LITIGATION ABOUT

09:35AM    5      DAMAGES, AND THAT'S BASED ON THE COURT'S RULINGS AND FINDINGS

09:35AM    6      ON SUMMARY JUDGMENT, AND THOSE FACTS REMAIN AND THEY'RE THE

09:35AM    7      ORDER OF THE COURT, PARDON ME.    YOU HAVEN'T WAIVED ANY

09:35AM    8      APPELLATE REMEDY AS TO THAT.

09:35AM    9           THE NEXT PHASE FOR THE COURT IS DAMAGES.

09:36AM   10           I'M LOOKING AT DOCUMENT 220, WHICH IS YOUR MOST RECENT

09:36AM   11      JOINT PRETRIAL CONFERENCE STATEMENT.    AND ON PAGE 34, ECF

09:36AM   12      PAGE 35, YOU LIST ISSUES THAT REMAIN.    AND I ASKED YOU TO DO

09:36AM   13      THIS IN ADVANCE SO THAT WE WOULD ALL BE ON THE SAME PAGE, WHAT

09:36AM   14      ARE WE DOING WHEN WE NEXT GET TOGETHER?    AND I WANTED THAT

09:36AM   15      INFORMATION SO WE WOULD ALL HAVE IT.    AND MAYBE YOU HAVE IT IN

09:36AM   16      FRONT OF YOU SO THAT WE CAN GO THROUGH IT AGAIN.

09:36AM   17                 MR. PICONE:   I'M SORRY, ON PAGE 35?

09:36AM   18                 THE COURT:    34, ECF 35, 34 OF THE DOCUMENT.   IT'S

09:36AM   19      DOCUMENT 220.   I THINK THIS IS THE MOST RECENT FILING.

09:37AM   20           (PAUSE IN PROCEEDINGS.)

09:37AM   21                 MR. PICONE:   WE AGREE.   THOSE ARE THE ISSUES THAT

09:37AM   22      REMAIN IN THE CASE.

09:37AM   23                 THE COURT:    SO LET ME JUST CHECK MY CALENDAR FOR

09:37AM   24      JUST A MOMENT WHILE WE GO OFF THE RECORD FOR A MOMENT.

09:37AM   25           (RECESS STARTS AT 9:37 A.M. UNTIL 9:59 A.M.)



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09:59AM    1                 THE COURT:    PLEASE BE SEATED.   WE'RE BACK ON THE

09:59AM    2      RECORD.   ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

09:59AM    3           WE TOOK A LITTLE BREAK.

09:59AM    4           LET ME ASK THE PARTIES, WHAT IS THE STATUS OF THINGS?

09:59AM    5                 MR. PICONE:   WE HAVE RESOLVED THE ISSUE, YOUR HONOR,

09:59AM    6      AND WE PROPOSE TO READ THE PREVIOUSLY ENUMERATED UNDISPUTED

09:59AM    7      FACTS THAT ARE NOW UNDISPUTED.

09:59AM    8           SO WE HAD A LIST OF APPROXIMATELY 117.       WE EXCISED THE

09:59AM    9      ONES THAT ARE PART OF YOUR PREVIOUS ORDERS, AND NOW WE HAVE

09:59AM   10      AGREED THAT THERE'S A LIMITED SUBSET OF THOSE PREVIOUS 117

10:00AM   11      FACTS THAT WILL BE UNDISPUTED.

10:00AM   12                 THE COURT:    OKAY.    AND DO YOU HAVE A LIST THAT YOU

10:00AM   13      CAN PRESENT, A WRITTEN LIST?

10:00AM   14                 MR. PICONE:   WE CAN DO A VARIETY OF THINGS.     WE CAN

10:00AM   15      READ IT INTO THE RECORD, WE CAN PRESENT A WRITTEN LIST, OR WE

10:00AM   16      CAN PRESENT A SECOND AMENDED JOINT PRETRIAL STATEMENT WHICH

10:00AM   17      WILL LIST ONLY THE UNDISPUTED FACTS, WHICHEVER IS MORE

10:00AM   18      CONVENIENT FOR THE COURT.

10:00AM   19                 THE COURT:    WELL, I DON'T THINK WE NEED TO HAVE THEM

10:00AM   20      READ.   IT SOUNDS LIKE THERE ARE MANY OF THEM.

10:00AM   21                 MR. PICONE:   THERE ARE.

10:00AM   22                 THE COURT:    RIGHT.   SO LET'S NOT READ THOSE INTO THE

10:00AM   23      RECORD.   WE CAN HAVE YOU PREPARE A SUBMISSION, A STIPULATION, A

10:00AM   24      TRIAL AGREEMENT, AND YOU CAN FILE THAT AND THAT WOULD BE OUR

10:00AM   25      GUIDEPOST FOR GOING FORWARD.



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10:00AM    1                 MR. PICONE:    THAT'S FINE.

10:00AM    2                 THE COURT:    LET'S DO THAT.

10:00AM    3                 MR. BEENE:    YES, I THINK WE WORK IT OUT.      I THINK WE

10:00AM    4      COULD SUBMIT -- WE'RE NOT IN TRIAL TOMORROW.        WE CAN WORK

10:00AM    5      SOMETHING OUT WHERE WE SUBMIT JUST THE UNDISPUTED FACTS AND

10:00AM    6      TRUNCATED DOWN --

10:00AM    7                 THE COURT:    THAT'S PERFECT.

10:00AM    8                 MR. BEENE:    -- SO THAT IT'S -- BECAUSE WE REDUCED A

10:00AM    9      LOT OF THE DISPUTES.

10:00AM   10                 THE COURT:    OKAY.

10:01AM   11                 MR. BEENE:    OKAY.

10:01AM   12                 THE COURT:    SO LET'S DO THAT.

10:01AM   13                 MR. PICONE:    SO THE LAST HOUSEKEEPING MATTER IS THAT

10:01AM   14      WE SOUGHT AGREEMENT WITH DEFENDANTS TO MAKE AN AMENDMENT TO

10:01AM   15      SOME EXHIBITS AND OMITTED DEPOSITION TESTIMONY, AND THEY DIDN'T

10:01AM   16      OBJECT.   SO WE WOULD LIKE TO SEEK LEAVE TO ADD ONE EXHIBIT AND

10:01AM   17      FOUR DEPOSITION EXHIBITS.

10:01AM   18                 THE COURT:    OKAY.    ANY OBJECTION TO THAT?

10:01AM   19                 MR. BEENE:    NO, YOUR HONOR.

10:01AM   20                 THE COURT:    ALL RIGHT.   SO YOU CAN PRESENT THOSE

10:01AM   21      WHENEVER YOU WOULD LIKE.

10:01AM   22                 MR. PICONE:    OKAY.   DO YOU WANT ME TO IDENTIFY THEM

10:01AM   23      OR JUST PRESENT THEM?

10:01AM   24                 THE COURT:    YOU CAN -- WHY DON'T YOU FILE SOMETHING

10:01AM   25      ALSO JUST SO THE RECORD IS CLEAR AS TO WHAT ADDITIONAL ITEMS



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10:01AM    1      YOU'RE GOING TO PRESENT.

10:01AM    2                 MR. BEENE:    I WILL POINT OUT THAT ONE OF THE

10:01AM    3      EXHIBITS IS ATTORNEYS' EYES ONLY.

10:01AM    4                 THE COURT:    OKAY.

10:01AM    5                 MR. BEENE:    SO THAT WILL REQUIRE A LITTLE BIT OF

10:02AM    6      GYMNASTICS.

10:02AM    7                 THE COURT:    OKAY.

10:02AM    8                 MR. PICONE:    WE CAN ALWAYS --

10:02AM    9                 THE COURT:    YOU CAN SEAL THAT IF YOU WANT TO.

10:02AM   10                 MR. PICONE:    GREAT.   THANK YOU, YOUR HONOR.

10:02AM   11                 THE COURT:    OKAY.   THANK YOU.   WELL, THIS WAS TIME

10:02AM   12      WELL SPENT.   I THINK IT WILL PRODUCE EFFICIENCIES.

10:02AM   13           SO WHAT SHOULD I HEAR FROM THE PLAINTIFFS THEN?

10:02AM   14                 MR. PICONE:    WE HAVE A VERY BRIEF OPENING STATEMENT.

10:02AM   15                 THE COURT:    OKAY.

10:02AM   16           (COUNSEL FOR PLAINTIFFS GAVE THEIR OPENING STATEMENT.)

10:02AM   17                 MR. PICONE:    GOOD MORNING, YOUR HONOR.

10:02AM   18           AS WE'VE SOMEWHAT LABORIOUSLY FIGURED OUT, THAT WE'RE

10:02AM   19      REALLY JUST HERE ABOUT DAMAGES TODAY.

10:03AM   20           SO THE COURT HAS ALREADY MADE FINDINGS OF LIABILITY ON ALL

10:03AM   21      OF THE DISPUTED CLAIMS.

10:03AM   22           SO WHAT THE PARTIES ARE HERE TO DISCUSS REALLY ARE JUST

10:03AM   23      THE DAMAGES, AND THOSE ARE RELATED TO NEO4J'S FIRST CAUSE OF

10:03AM   24      ACTION FOR TRADEMARK INFRINGEMENT;

10:03AM   25           ITS SECOND CAUSE OF ACTION FOR FALSE ADVERTISING AND FALSE



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10:03AM    1      DESIGNATION OF ORIGIN; AND,

10:03AM    2           THE THIRD AND FOURTH CAUSES OF ACTION FOR UNFAIR

10:03AM    3      COMPETITION UNDER BOTH STATE AND FEDERAL LAW; AND,

10:03AM    4           LASTLY, IT'S DAMAGES FOR NEO4J'S EIGHTH CAUSE OF ACTION

10:03AM    5      FOR VIOLATIONS OF THE DMCA FOR UNLAWFUL REMOVAL OF COPYRIGHT

10:03AM    6      MANAGEMENT INFORMATION.

10:03AM    7           AND ALL OF THESE DAMAGE CLAIMS ARE VERY SIMILAR.     THEY

10:03AM    8      SEEK TO SEE WHAT THE ACTUAL DAMAGES ARE CAUSED BY THE

10:04AM    9      DEFENDANTS FOR THE ACTIVITIES;

10:04AM   10           AND WHAT PORTION OF THOSE, THE MAJORITY OF THE CLAIMS ALSO

10:04AM   11      HAVE A DISGORGEMENT ELEMENT, WHAT PORTION OF THOSE CLAIMS ARE

10:04AM   12      SUBJECT TO DISGORGEMENT;

10:04AM   13           WHETHER OR NOT THE DEFENDANTS' CONDUCT CONSTITUTES AN

10:04AM   14      EXCEPTIONAL CASE;

10:04AM   15           AND WHETHER SUBSEQUENTLY NEO4J'S ENTITLED TO ITS

10:04AM   16      ATTORNEYS' FEES AND THE AMOUNT OF THOSE FEES THAT CAN BE

10:04AM   17      RECOVERED;

10:04AM   18           AND LASTLY, WHETHER THE PRELIMINARY INJUNCTION THAT WAS

10:04AM   19      ISSUED SHOULD BE MADE PERMANENT.

10:04AM   20           WITH SOME MINOR VARIATIONS, VIRTUALLY ALL OF THE CAUSES OF

10:04AM   21      ACTION HAVE THOSE SAME ALLEGATIONS AND CLAIMS RELATED TO THE

10:04AM   22      DAMAGES COMPONENT.

10:04AM   23           AS FAR AS THE EVIDENCE THAT NEO4J WILL SUBMIT TO SUPPORT

10:04AM   24      ITS LOST PROFITS CLAIMS, ONE OF THEIR DAMAGES EXPERT'S,

10:04AM   25      STEVEN BOYLES, WILL TESTIFY THAT NEO4J LOST MORE THAN



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10:05AM    1      $3.8 MILLION IN NET LOST REVENUE.

10:05AM    2           THE COURT HAS ALREADY FOUND THAT NEO4J LOST A MULTI YEAR

10:05AM    3      DEAL WITH NEXT CENTURY, AND THAT'S VIA THE MARYLAND PROCUREMENT

10:05AM    4      OFFICE, WAS WORTH MORE THAN 2.2 MILLION WHEN IT ADOPTED ONGDB.

10:05AM    5           AND THAT WE'LL ALSO SHOW THAT THE IRS NEEDED THE

10:05AM    6      ENTERPRISE EDITION FEATURES, AND THAT OTHER DIVISIONS THAT

10:05AM    7      ALREADY LICENSED AUTHENTIC COMMERCIAL VERSIONS OF NEO4J

10:05AM    8      ENTERPRISE EDITION AND THE IRS USE OF ONGDB IN VARIOUS OTHER

10:05AM    9      PROJECTS RESULTED IN NEO4J LOSING SIGNIFICANT REVENUE.

10:05AM   10           JASON ZAGALSKY OF NEO4J, JIM WEYANT OF NEXT CENTURY,

10:05AM   11      NEXT CENTURY'S SUCCESSOR'S CACI VIA DEPOSITION, AND

10:05AM   12      MICHAEL DUNN OF THE IRS VIA DEPOSITION WILL SUPPORT THOSE

10:06AM   13      CLAIMS AS WELL AS EXHIBITS AND UNDISPUTED FACTS.

10:06AM   14           NEO4J WILL ALSO PROVE THAT THE DEFENDANTS GENERATED

10:06AM   15      APPROXIMATELY 1.5 MILLION IN ILL-GOTTEN PROFITS FROM THEIR

10:06AM   16      VIOLATIONS OF THE LANHAM ACT AND THE DMCA.

10:06AM   17           SPECIFICALLY, IGOV AND MR. SUHY RECEIVED 1.316 MILLION

10:06AM   18      UNDER A FIVE YEAR CONTRACT TO SUPPORT THE IRS'S CKGE PLATFORM

10:06AM   19      AND ANOTHER CONTRACT BETWEEN EGOVERNMENT SOLUTIONS AND THE IRS

10:06AM   20      WHERE MR. SUHY HAD AN INTEREST IN EGOV.

10:06AM   21           WE'LL ALSO SHOW THAT IGOV AND SUHY OBTAINED $246,082 UNDER

10:06AM   22      SUBCONTRACTS WITH ASR ANALYTICS WHERE IGOV SUPPORTED THE IRS

10:06AM   23      CKGE PLATFORM.

10:06AM   24           THE EVIDENCE SUPPORTING DISGORGEMENT INCLUDES THE CKGE

10:06AM   25      CONTRACT DOCUMENTS, EMAILS BETWEEN MR. SUHY AND EGOV, IGOV



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10:06AM    1      FINANCIAL DOCUMENTS AND OTHER RELATED COMMUNICATIONS,

10:07AM    2      UNDISPUTED FACTS AND DOCUMENTS.

10:07AM    3            LASTLY, NEO4J WILL PROVE THAT THIS IS AN EXCEPTIONAL CASE.

10:07AM    4      UNDER THE LANHAM ACT AND THE DMCA, THE EVIDENCE AND THE

10:07AM    5      UNDISPUTED FACTS ESTABLISH THAT THIS IS AN EXCEPTIONAL CASE.

10:07AM    6      THIS IS ESPECIALLY THE CASE SINCE THE COURT FOUND THAT THE

10:07AM    7      DEFENDANTS' CONDUCT WAS DELIBERATE, FALSE, AND MISLEADING.

10:07AM    8            DEFENDANTS' LITIGATION CONDUCT, INCLUDING REPEATEDLY

10:07AM    9      RE-ARGUING SETTLED CLAIMS AND RE-ASSERTING CLAIMS THAT THE

10:07AM   10      COURT HAD DISMISSED PREVIOUSLY UNNECESSARILY MULTIPLIED AND

10:07AM   11      DUPLICATED EFFORTS AND EXTENDED THE EXPENSE AND EFFORT

10:07AM   12      ASSOCIATED WITH THIS CASE.

10:07AM   13            NEO4J IS ENTITLED TO PRE-JUDGMENT INTEREST AND REASONABLE

10:07AM   14      ATTORNEYS' FEES AND COSTS DUE TO THE FACT THAT THIS IS AN

10:07AM   15      EXCEPTIONAL CASE.

10:07AM   16            AND LASTLY, NEO4J IS ENTITLED TO A PERMANENT INJUNCTION TO

10:07AM   17      PREVENT THE DEFENDANTS' FURTHER VIOLATIONS OF NEO4J'S

10:08AM   18      INTELLECTUAL PROPERTY.

10:08AM   19            THANK YOU.

10:08AM   20                 THE COURT:    THANK YOU.   MR. BEENE, DO YOU WISH TO

10:08AM   21      MAKE ANY STATEMENT NOW OR RESERVE UNTIL LATER?

10:08AM   22                 MR. BEENE:    I WOULD LIKE TO MAKE A STATEMENT NOW,

10:08AM   23      YOUR HONOR.

10:08AM   24                 THE COURT:    PLEASE PROCEED.

10:08AM   25      ///



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10:08AM    1             (COUNSEL FOR DEFENDANTS GAVE THEIR OPENING STATEMENT.)

10:08AM    2                  MR. BEENE:   YOUR HONOR, MY NAME IS ANDRON BEENE.

10:08AM    3             MR. SUHY, WHO IS IN COURT HERE TODAY, HE'S A FREE SOFTWARE

10:08AM    4      GUY.    HE LIKES TO SUPPORT THE FREE SOFTWARE COMMUNITY.    HE'S

10:08AM    5      KNOWN IN THE COMMUNITY, AND HE LIKES TO PUT IN FREE SOFTWARE TO

10:08AM    6      THE U.S. GOVERNMENT, AND THE U.S. GOVERNMENT LIKES THAT, TOO.

10:09AM    7             HE WAS A CONTRACTOR ALREADY SIGNED UP FOR THE U.S.

10:09AM    8      GOVERNMENT WHEN NEO4J CAME TO HIM TO DO DEALS WITH THE U.S.

10:09AM    9      GOVERNMENT.

10:09AM   10             I'M GOING TO THREAD LIGHTLY ON YOUR PRIOR ORDERS, PLEASE,

10:09AM   11      YOUR HONOR.

10:09AM   12             MR. SUHY THEN DID A GOVERNMENT EDITION TO CREATE SOME

10:09AM   13      SECURITY LEVELS SO THAT NEO4J COULD BE USED WITH THE

10:09AM   14      GOVERNMENT.

10:09AM   15             MR. SUHY TRIED TO SELL A COMMERCIAL LICENSE AS A PARTNER

10:09AM   16      TO THE IRS HE ACTUALLY TRIED TO DO THAT, BUT WHAT HAPPENED IS

10:09AM   17      THE IRS WAS ALREADY USING A VERSION CALLED COMMUNITY, WHICH IS

10:09AM   18      A GPL VERSION.

10:10AM   19             GPL IS DIFFERENT THAN AGPL.   GPL IS SEEN AS AN APPLICATION

10:10AM   20      WHERE THE AGPL IS A SERVER TYPE APPLICATION AVAILABLE OVER THE

10:10AM   21      NETWORK.

10:10AM   22             THE PROBLEM IS THE IRS WAS ALREADY USING NEO4J COMMUNITY

10:10AM   23      FOR FREE.    THEY WANTED TO DEVELOP A PLATFORM, IT'S THE CKGE

10:10AM   24      PLATFORM, AND YOU'LL HEAR ABOUT THIS, I FEEL, A LITTLE BIT.

10:10AM   25      THAT IS A COMPLEX PLATFORM OF DIFFERENT APPLICATIONS OF WHICH



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10:10AM    1      NEO4J IS ONE PART.    AND THEY WERE LOOKING TO DEVELOP THE

10:10AM    2      PLATFORM.

10:10AM    3           JOHN WAS WORKING WITH NEO4J AND SAID -- TALKED TO THE IRS

10:10AM    4      AND THEY SAID THEY DON'T HAVE THE BUDGET TO PAY FOR A LICENSE.

10:11AM    5              JOHN SAID, WELL, LET'S DO THE DEVELOPMENT, GET A

10:11AM    6      COMMERCIAL LICENSE IN THERE, AND THEN WE'LL LOCK IT IN SO DOWN

10:11AM    7      THE ROAD YOU'LL HAVE IT.     IN OTHER WORDS, YOU'LL HAVE THE

10:11AM    8      CUSTOMER.    BASICALLY DO THE DEVELOPMENT OF THE PLATFORM, GIVE

10:11AM    9      THEM A FREE LICENSE AND DEVELOPMENT, AND THEN WHEN THEY WERE

10:11AM   10      READY TO USE IT IN PRODUCTION, THEN YOU CAN GET YOUR COMMERCIAL

10:11AM   11      LICENSE FEE.

10:11AM   12           THIS IS WHAT JOHN TALKED TO NEO4J, AND HAD THE AGREEMENT

10:11AM   13      OF THE HIGH COMMAND OF NEO4J, WENT TO THE IRS, TOLD THEM ABOUT

10:11AM   14      IT, AND THEN IT FELL APART.     AND NEO4J CHANGED ITS MIND AND

10:11AM   15      SAID, NO, WE NEED A LICENSE AGREEMENT, AND YOU HAVE TO GET

10:11AM   16      THEM.    AND THERE IS A WHOLE LOT OF -- BUT THIS IS THE GENESIS

10:11AM   17      OF EVERYTHING IS THAT THE IRS WANTED AN OPEN SOURCE LICENSE,

10:11AM   18      WAS USING AN OPEN SOURCE LICENSE, AND JOHN COULDN'T FORCE THEM

10:12AM   19      TO BUY A COMMERCIAL LICENSE.

10:12AM   20           SO THEN IT FELL APART, THE PARTNERSHIP FELL APART.      NEO4J

10:12AM   21      GOT MAD, JOHN GOT MAD, ALL OF THESE THINGS HAPPENED.       AND THE

10:12AM   22      IRS ENDED UP IN SORT OF A ROUND ABOUT WAY, IN FACT, I BARELY

10:12AM   23      UNDERSTAND IT.

10:12AM   24           JOHN DID THE WORK ON THE PLATFORM, AND THERE'S AN SOW FOR

10:12AM   25      THIS CKGE, AND IT IS NOT LICENSING NEO4J AND MAINTAINING AND



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10:12AM    1      WRITING AND MODIFYING IT.       IT'S SETTING UP THE WHOLE PLATFORM.

10:12AM    2              SO AT THE SAME TIME JOHN HAD A COMMERCIAL LICENSE WITH

10:12AM    3      MPO AND NSA, AND IN THEIR DAMAGE CLAIM THERE'S A NEW CENTURY

10:13AM    4      WHICH IS A CONSULTANT FOR THE MARYLAND PROCUREMENT OFFICE WHICH

10:13AM    5      IS THE PURCHASING ARM OF THE NSA.

10:13AM    6           SO WHEN WE LOOK AT THIS, THERE ARE TWO ORGANIZATIONS, THE

10:13AM    7      IRS AND THE NSA THAT THEY'RE SEEKING DAMAGES ON.

10:13AM    8           JOHN ALREADY HAD A COMMERCIAL CONTRACT WITH THE NSA,

10:13AM    9      ALREADY WAS DOING THAT, EXCEPT THE NSA DECIDED NOT TO RENEW IT.

10:13AM   10      THEY DIDN'T WANT IT ANYMORE.      SO THEY HAD A COMMERCIAL

10:13AM   11      CONTRACT, THEY KNEW WHAT IT WAS, AND THEY DECIDED TO STOP.

10:13AM   12           THE ISSUE THAT WE FOCUS ON A LITTLE BIT HERE, AND I REALLY

10:13AM   13      LOOK AT IS KEY, THE COMMONS CLAUSE.      WE'VE HAD A FEW MOTIONS ON

10:14AM   14      THAT.

10:14AM   15           WHAT IS IMPORTANT HERE IN MY SENSE IS THAT THE COMMONS

10:14AM   16      CLAUSE ONLY PREVENTS THE IRS AND THE NSA FROM SELLING

10:14AM   17      SOFTWARE.    OKAY.

10:14AM   18           SO THE COMMONS CLAUSE IMPLICATES THAT THE IRS AND THE NSA

10:14AM   19      MAY NOT SELL THE SOFTWARE.      AND FOR THE COURT'S EDIFICATION,

10:14AM   20      OUR EXHIBIT IS 1002, WHICH IS THE NEO4J APL CONTRACT WITH THE

10:15AM   21      COMMONS CLAUSE.

10:15AM   22           THE DEFINITION IN THE COMMONS CLAUSE, THERE'S A BROADER

10:15AM   23      ONE WHAT SELL MEANS, BUT THAT INCLUDES SELLING IT, PROVIDING TO

10:15AM   24      THIRD PARTIES.    THE DEFINITION OF SELL:     SELL MEANS PRACTICING

10:15AM   25      ANY OR ALL RIGHTS GRANTED TO YOU UNDER THE LICENSE TO PROVIDE



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10:15AM    1      TO THIRD PARTIES FOR FEAR OF OTHER CONSIDERATION A PRODUCT OR

10:15AM    2      SERVICE THAT EXISTS ENTIRELY OR SUBSTANTIALLY OF THE SOFTWARE

10:15AM    3      OR THE FUNCTIONALITY OF THE SOFTWARE.

10:15AM    4           THE IRS AND THE NSA DO NOT SELL NEO4J DATABASES.      THEY DO

10:15AM    5      NOT PROVIDE SERVICES WHERE THEY TAKE TAXPAYER INFORMATION OR

10:16AM    6      NATIONAL SECURITY INFORMATION AND ALLOW YOU TO PURCHASE IT.

10:16AM    7      JUST NO SUCH THING.

10:16AM    8           THE COMMONS CLAUSE, REMOVAL OR NOT, HAS NO IMPACT ON THE

10:16AM    9      U.S. GOVERNMENT.

10:16AM   10           JOHN REMOVED THIS NOT TO GAIN AN ECONOMIC ADVANTAGE OR

10:16AM   11      SOMETHING WITH THE GOVERNMENT.    THEY DON'T SELL IT.

10:16AM   12           HE DID THAT OUT OF HIS OFFICE SOURCE PHILOSOPHY.

10:16AM   13           IN FACT, HIS POINT OF VIEW IS SHOWN -- THERE'S AN

10:16AM   14      EXHIBIT 1101, AND THIS IS WHEN WE'RE TALKING TO NEW CENTURY,

10:16AM   15      THE NSA GROUP.

10:17AM   16           SO THE IRS WAS USING THE OPEN SOURCE AND USING THE AGPL,

10:17AM   17      TOLD JOHN THEY DON'T NEED THE AGPL, THEY DON'T NEED THE

10:17AM   18      COMMERCIAL, THEY CAN DO IT WITH COMMUNITY.     THE EVIDENCE WILL

10:17AM   19      SHOW THAT.   THAT'S WHAT THE IRS SAID.

10:17AM   20           ON THE NSA ON NEW CENTURY, THIS WHOLE ISSUE ON WHETHER THE

10:17AM   21      NSA PURCHASED SOFTWARE BASED ON AN IMPLIED REPRESENTATION ON

10:17AM   22      JOHN SUHY'S WEBSITE, THIS REALLY SORT OF DENIGRATES THE

10:17AM   23      UNITED STATES GOVERNMENT PURCHASING DEPARTMENTS.      THEY DO A

10:17AM   24      LITTLE MORE RESEARCH IN SPENDING $2 MILLION.       THEY'RE READING A

10:17AM   25      THIRD PARTY'S WEBSITE SIDE.



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10:17AM    1           WHAT THEY DID ACTUALLY WAS THAT THEY GOT A COPY OF THE

10:17AM    2      COMMERCIAL VERSION, AND THEY GOT A COPY OF ONGDB, AND THEY GOT

10:18AM    3      A SUPPORT PERSON FROM NEO4J AND THEY LOOKED AT THE TWO

10:18AM    4      PRODUCTS, RIGHT?

10:18AM    5           THEY DIDN'T RELY ON A REPRESENTATION IMPLIED BY AN AD.

10:18AM    6      THEY LOOKED AT THE SOFTWARE.

10:18AM    7           AND JOHN DID TELL NEW CENTURY, I'LL QUOTE, IN FEBRUARY OF

10:18AM    8      2018, "IF YOU ARE USING ONGDB AND HAVE ANY CONCERNS OR DON'T

10:18AM    9      SEE IT KEEPING UP WITH ENTERPRISE FEATURES, YOU CAN ALWAYS

10:18AM   10      SWITCH TO A COMMERCIAL NEO4J ENTERPRISE PACKAGE THROUGH ANY

10:18AM   11      PARTNER ON THE NEO4J.COM WEBSITE."

10:18AM   12           SO JOHN WAS TELLING THE NSA, IF YOU DON'T FIND THAT ONGDB

10:18AM   13      MEETS YOUR REQUIREMENTS, GO BUY THE COMMERCIAL.

10:19AM   14           THE NSA DIDN'T BUY THE COMMERCIAL LICENSE, NOT BECAUSE IT

10:19AM   15      HAD ALL OF THE FEATURES, ALL OF THE ISSUES AND THE FALSE

10:19AM   16      ADVERTISING ARGUMENTS OR DIDN'T HAVE A LICENSE OR THIS.     THEY

10:19AM   17      DIDN'T BUY IT BECAUSE OF COST, MONEY.     THEY DIDN'T HAVE IT IN

10:19AM   18      THEIR BUDGET.   THE IRS DIDN'T HAVE IT IN THEIR BUDGET.

10:19AM   19           AND THE REAL DIFFERENCE HERE BETWEEN PAYING $2 MILLION FOR

10:19AM   20      SOFTWARE AND PAYING ZERO IS THE REASON WHY NEO4J LOST SALES ON

10:19AM   21      ITS OWN PRODUCT.   NEO4J HAS THE OPEN SOURCE SOFTWARE AND MAKES

10:19AM   22      IT AVAILABLE.

10:19AM   23           ON THE DMCA CLAIM, THE ARGUMENTS ABOUT HOW THE DMCA CLAIMS

10:20AM   24      ARE SYNONYMOUS.    SWEDEN DOESN'T SELL SOFTWARE.   THEY DON'T SELL

10:20AM   25      THE COMMERCIAL LICENSE.    ALL THEY DO IS HAVE THE OPEN SOURCE



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10:20AM    1      VERSION, COMMUNITY OR THE -- I CALL IT AGPL.

10:20AM    2             SO THEY DIDN'T LOSE SELLS TO NSA OR IRS.    THEY DON'T SELL

10:20AM    3      TO NSA OR IRS.

10:20AM    4             THERE IS A STATUTORY VIOLATION BETWEEN 2500, 25,000 PER

10:20AM    5      ACT.    THE EVIDENCE WILL SHOW, AND THIS IS EXHIBIT 110, THAT

10:20AM    6      JOHN REMOVED THE COMMONS CLAUSE FROM SWEDEN'S VERSION OF THE

10:20AM    7      AGPL AND THE HEADER OUT AS WELL AND REPLACED IT WITH THE

10:20AM    8      STANDARD AGPL LICENSE.   YOU'VE HEARD ABOUT THIS A FEW TIMES.

10:21AM    9             AND THE REASON WE'RE GOING TO BRING IT UP ONE MORE TIME

10:21AM   10      QUICKLY IS UNDER 17 U.S.C. 1203, A COURT MAY REDUCE OR REMIT

10:21AM   11      THE TOTAL AWARDED DAMAGES IF IT FINDS THE VIOLATOR WAS NOT

10:21AM   12      AWARE AND HAD NO REASON TO BELIEVE THAT HIS ACTS CONSTITUTED A

10:21AM   13      VIOLATION.    THIS IS A STOP GAP MEASURE AND THE DMCA ALLOWS THE

10:21AM   14      COURT IN ITS DISCRETION TO LOOK AT THE SITUATION AND SAY, HEY,

10:21AM   15      WHAT IS GOING ON HERE.

10:21AM   16             WHAT YOU'LL FIND IS THAT THE LICENSE -- JOHN REMOVED THE

10:21AM   17      COMMONS CLAUSE IN MARCH OF 2018.    EXHIBIT 1010 ONLY SHOWS THE

10:22AM   18      MARCH DATE FOR SOME REASON, BUT THE TIMING OF THE EMAIL SHOWS

10:22AM   19      THAT ITS EARLY EVENTS WAS MARCH OF 2018.

10:22AM   20             HE DID THAT AFTER DISCUSSIONS WITH THE FREE SOFTWARE

10:22AM   21      FOUNDATION ABOUT WHETHER THIS WAS APPROPRIATE TO REMOVE.      AND

10:22AM   22      NEO4J HAS EVIDENCE, WELL, YOU DID NOT TALK TO A LAWYER, WELL,

10:22AM   23      YOU DIDN'T DO THIS, YOU DIDN'T DO THAT.

10:22AM   24             HE TALKED TO THE PEOPLE WHO WROTE THE CONTRACT.   HE ALSO

10:22AM   25      HAD A CONVERSATION OR AN EMAIL WITH BRAD NUSSBAUM WHERE HE SAID



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10:22AM    1      THAT HE HAD TALKED TO FSF, GOT THE SAME ANSWER, AND HE HAD

10:22AM    2      TALKED TO A LAWYER AND THAT GENTLEMAN WAS FROM THE GRAPH

10:22AM    3      FOUNDATION.

10:23AM    4            SO JOHN HAD THAT EMAIL.   AND NEW CENTURY EVEN SAID THEY

10:23AM    5      WERE GOING TO TALK TO THEIR ATTORNEY, TOO.     I DON'T KNOW IF

10:23AM    6      THEY DID.   BUT THAT'S WHAT JOHN SAW.

10:23AM    7            BACK AFTER HE SAW THAT, HE THEN OFFERED TO COMMIT TO THE

10:23AM    8      GRAPH FOUNDATION WEBSITE REMOVING THE CLAUSE, AND HE DID THAT

10:23AM    9      UNDER THIS DISCUSSION OF WHAT HE'D READ AND SAW AND SPOKE TO.

10:23AM   10      AND WHAT THE LICENSE SAYS UNDER SECTION 7, HE DIDN'T REALIZE

10:23AM   11      THAT THAT DIDN'T APPLY TO THE DEVELOPER OR THE LICENSOR, SO

10:23AM   12      YOUR RULING IS THAT THE LICENSOR CAN ADD TERMS THAT SECTION 7

10:23AM   13      ONLY APPLIES TO DOWNSTREAM LICENSEES.     HE DID NOT REALIZE THAT.

10:23AM   14            THE EVIDENCE, I THINK, OF WHY HE DID IT IS STATED IN

10:24AM   15      EXHIBIT 110.    UPDATE THE LICENSED TEXT FILE TO BE PURE AGPL AS

10:24AM   16      TO NOT VIOLATE THE FSF COPYRIGHT AND TO BE IN LINE WITH THE

10:24AM   17      AGPL LICENSE.

10:24AM   18            THAT'S STATED IN A REPOSITORY COMMITMENT DATED.    IT WASN'T

10:24AM   19      ADDED POST LITIGATION OR SOMETHING TO CREATE A CLAIM.     AND IT

10:24AM   20      WAS BEFORE YOUR HONOR'S RULINGS; IT WASN'T IN SPITE OF THEM.       I

10:24AM   21      JUST -- I DON'T KNOW IF THAT'S IMPORTANT.     IT'S IMPORTANT TO

10:24AM   22      ME.

10:24AM   23            SO MR. SUHY DOESN'T SELL SOFTWARE.

10:25AM   24            MR. SUHY'S ADVERTISEMENT THAT YOU FOUND FALSE, YOUR HONOR,

10:25AM   25      WAS COMPARISON OF NEO4J'S COMMERCIAL LICENSE, U.S.A.'S



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10:25AM    1      COMMERCIAL LICENSE AND NEO4J SWEDEN'S OPEN SOURCE LICENSE.

10:25AM    2           ONGDB WAS MENTIONED IN THAT ADVERTISEMENT, GRANT THAT.

10:25AM    3      I'M NOT TRYING TO HIDE THAT BALL.     BUT THERE'S NOTHING IN HIS

10:25AM    4      ADS THAT SAYS HE CAN DEVELOP A PLATFORM AS A PROFESSIONAL

10:25AM    5      SERVICE BETTER THAN NEO4J.

10:25AM    6           THE ADVERTISEMENT, THERE'S NO FALSITY ATTRIBUTED TO

10:25AM    7      MR. SUHY'S SOFTWARE DEVELOPMENT WORK.      SO THE CASES, YOU MADE A

10:26AM    8      FALSE ADVERTISEMENT ON A COMMENTS CLAUSE ISSUE, AND A

10:26AM    9      DROP-AN-ENGINE ISSUE, AND, THEREFORE, WE'RE DAMAGED BY YOUR

10:26AM   10      PROFESSIONAL SUPPORT.    IT IS TRULY APPLES AND ORANGES.

10:26AM   11           SO AS A RESULT -- THE CASE OBVIOUSLY HAS BEEN AROUND FOR A

10:26AM   12      WHILE.   THERE WERE A LOT OF THINGS GOING ON WITH THIS CASE WITH

10:26AM   13      COVID AND THINGS.    BUT IT'S REALLY MORE OF A CASE OF THE

10:26AM   14      INJUNCTION.   I THINK INJUNCTIVE RELIEF IS AN APPROPRIATE REMEDY

10:26AM   15      HERE, AND IT PROBABLY COULD HAVE RESOLVED THIS CASE YEARS AGO.

10:27AM   16           THE GRAPH FOUNDATION, WHICH HAD ONGDB, THEY'RE THE ONES

10:27AM   17      THAT LICENSE AND HAVE THE REPOSITORY AVAILABLE FOR EVERYBODY.

10:27AM   18      ONLY AN INJUNCTION WAS GRANTED AGAINST THEM, AND THEY'RE THE

10:27AM   19      ONES THAT DISTRIBUTED THOUSANDS OF COPIES OF ONGDB.       SO I DON'T

10:27AM   20      FEEL DAMAGES ARE APPROPRIATE OR ATTORNEYS' FEES BECAUSE THEY

10:27AM   21      WOULD ONLY SEEM TO PUNISH JOHN FOR HIS PHILOSOPHICAL POSITION

10:27AM   22      REGARDING OPEN SOURCE SOFTWARE AS HIS CONDUCT WAS NOT

10:27AM   23      ANTICOMPETITIVE IN INTENT OR IN PRACTICE.

10:28AM   24           THANK YOU.

10:28AM   25                 THE COURT:    THANK YOU.   ALL RIGHT.    THANK YOU.



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10:28AM    1             DOES THE PLAINTIFF HAVE A WITNESS TO CALL OR ANY EVIDENCE

10:28AM    2      TO PRESENT?

10:28AM    3                  MR. PICONE:    WE DO.

10:28AM    4             WE CALL JASON ZAGALSKY FROM NEO4J AS OUR FIRST WITNESS.

10:28AM    5                  THE COURT:    OKAY.    SIR, IF YOU WOULD COME FORWARD.

10:28AM    6      YOU CAN STAND OVER HERE AND FACE OUR COURTROOM DEPUTY.

10:28AM    7             WHILE YOU RAISE YOUR RIGHT HAND, SHE HAS A QUESTION FOR

10:28AM    8      YOU.

10:28AM    9             (PLAINTIFFS' WITNESS, JASON ZAGALSKY, WAS SWORN.)

10:28AM   10                  THE WITNESS:    YES.

10:28AM   11                  THE COURT:    I'LL INVITE YOU TO HAVE A SEAT UP HERE

10:28AM   12      AND MAKE YOURSELF COMFORTABLE.       FEEL FREE TO ADJUST THE CHAIR

10:28AM   13      AND MICROPHONE AS YOU NEED.

10:28AM   14             THERE'S WATER THERE FOR YOUR REFRESHMENT.

10:29AM   15             I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE,

10:29AM   16      AND IT'S MOVEABLE.   YOU CAN MOVE IT ABOUT AND CLOSER TO YOU AS

10:29AM   17      YOU NEED.

10:29AM   18             WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

10:29AM   19      AND SPELL IT, PLEASE.

10:29AM   20                  THE WITNESS:    GOOD MORNING, YOUR HONOR.

10:29AM   21             MY NAME IS JASON ZAGALSKY, J-A-S-O-N, Z AS IN ZEBRA

10:29AM   22      A-G-A-L-S-K-Y.

10:29AM   23                  THE COURT:    THANK YOU.

10:29AM   24             COUNSEL.

10:29AM   25                  MR. RATINOFF:   THANK YOU, YOUR HONOR.



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10:29AM    1                              DIRECT EXAMINATION

10:29AM    2      BY MR. RATINOFF:

10:29AM    3      Q.   MR. ZAGALSKY, CAN YOU PLEASE INTRODUCE YOURSELF TO THE

10:29AM    4      COURT?

10:29AM    5      A.   SURE.

10:29AM    6      Q.   MORE FORMALLY THAN JUST YOUR NAME.

10:29AM    7      A.   SURE.   AGAIN, MY NAME IS JASON ZAGALSKY.     I'M THE FEDERAL

10:29AM    8      TECHNICAL ACCOUNT MANAGER AT NEO4J FOR THE PAST SEVEN YEARS.

10:29AM    9      Q.   AND AS TECHNICAL, FEDERAL TECHNICAL ACCOUNT MANAGER, WHAT

10:29AM   10      DOES THAT ROLE INVOLVE?

10:29AM   11      A.   I'M RESPONSIBLE FOR SALES OF NEO4J SOFTWARE TO THE FEDERAL

10:29AM   12      GOVERNMENT AND FEDERAL GOVERNMENT CONTRACTORS.

10:29AM   13           I ALSO, OVER THE PAST SEVEN YEARS I'VE HELPED WITH GROWING

10:30AM   14      THE FEDERAL TEAM AT NEO4J.

10:30AM   15      Q.   AND PRIOR TO NEO4J, WHERE WERE YOU EMPLOYED?

10:30AM   16      A.   PRIOR TO NEO4J I WAS AT ORACLE FOR TEN YEARS.

10:30AM   17      Q.   AND PRIOR TO ORACLE WERE YOU EMPLOYED AS WELL?

10:30AM   18      A.   PRIOR TO ORACLE I WAS AT A COMPANY CALLED STELLENT VERY

10:30AM   19      BRIEFLY, FOR FIVE WEEKS, BEFORE I WAS ACQUIRED BY ORACLE.

10:30AM   20      Q.   AND THEN PRIOR TO THE ACQUISITION OF STELLENT?

10:30AM   21      A.   STELLENT, S-T-E-L-L-E-N-T.

10:30AM   22      Q.   AND THEN BEFORE STELLENT, WERE YOU WORKING SOMEWHERE?

10:30AM   23      A.   YES.    I WAS AT IN ANNAPOLIS MICRO SYSTEMS, ANNAPOLIS,

10:30AM   24      A-N-N-A-P-O-L-I-S, MICRO SYSTEMS, THREE WORDS.

10:30AM   25      Q.   AS FAR AS YOUR EDUCATIONAL BACKGROUND, DID YOU GRADUATE



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10:30AM    1      COLLEGE?

10:30AM    2      A.   I DID.    I WENT TO THE UNIVERSITY OF WISCONSIN MADISON, AND

10:30AM    3      I GRADUATED WITH A BACHELOR OF SCIENCE IN ELECTRICAL

10:31AM    4      ENGINEERING.

10:31AM    5      Q.   AND I DON'T MEAN TO DATE YOU, BUT APPROXIMATELY WHAT YEAR

10:31AM    6      DID YOU GRADUATE?

10:31AM    7      A.   1991.

10:31AM    8      Q.   AND THEN GOING BACK TO YOUR ROLE AT NEO4J, CAN YOU EXPLAIN

10:31AM    9      TO THE COURT AND DESCRIBE HOW GOVERNMENT SALES WORK AT NEO4J?

10:31AM   10      A.   SURE.    WELL, WE SELL SOFTWARE PRIMARILY THROUGH RESELLERS

10:31AM   11      TO THE FEDERAL GOVERNMENT AND FEDERAL CONTRACTORS.

10:31AM   12      Q.   AND WHAT'S THE PRIMARY PRODUCT THAT YOU'RE RESPONSIBLE FOR

10:31AM   13      SELLING AT NEO4J?

10:31AM   14      A.   NEO4J ENTERPRISE EDITION, WHICH IS A GRAPH DATABASE.

10:31AM   15      Q.   AND CAN YOU MAYBE PROVIDE A LITTLE MORE DETAIL ON WHAT

10:31AM   16      NEO4J ENTERPRISE EDITION IS AS FAR AS BEING A GRAPH DATABASE?

10:31AM   17      A.   SURE.    GRAPH DATABASE IS A SPECIAL KIND OF DATABASE WHERE

10:31AM   18      THE DATA IS STORED IN MEMORY AND ON DISK AS A GRAPH, A GRAPH

10:32AM   19      BEING NODES IN RELATIONSHIPS OR ENTITIES AND THEIR CONNECTIONS.

10:32AM   20           AND THERE'S SEVERAL DIFFERENT USE CASES FOR GRAPH

10:32AM   21      DATABASES.    IT'S NOT AN APPLICATION BUT JUST A DATABASE.   IT

10:32AM   22      CAN BE USED FOR -- TYPICALLY IN THE GOVERNMENT USED FOR THINGS

10:32AM   23      LIKE CRIMINAL INVESTIGATIONS, INTELLIGENCE INVESTIGATIONS,

10:32AM   24      FRAUD INVESTIGATIONS, SUPPLY CHAIN ANALYTICS, KNOWLEDGE GRAPHS,

10:32AM   25      THINGS LIKE THAT.



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10:32AM    1      Q.   AND GOING BACK TO NEO4J, INC., AS A COMPANY, WHERE IS

10:32AM    2      NEO4J, INC., BASED?

10:32AM    3      A.   IN CALIFORNIA.

10:32AM    4      Q.   AND RIGHT HERE IN THE BAY AREA?

10:32AM    5      A.   YES, SAN MATEO.

10:32AM    6      Q.   AND DOES NEO4J HAVE OTHER OFFICES ELSEWHERE?

10:32AM    7      A.   YES.   WELL, NEO4J, INC., HAS OFFICES -- WELL, PRIOR TO

10:33AM    8      COVID WE HAD OTHER OFFICES, BUT WE'RE DISTRIBUTED REMOTELY

10:33AM    9      THROUGHOUT THE U.S., AND THERE'S ALSO A SUBSIDIARY OF

10:33AM   10      NEO4J, INC., NEO4J AB IN SWEDEN, AND THAT'S WHERE ALL OF THE

10:33AM   11      DEVELOPMENT AND ENGINEERING IS DONE FOR NEO4J'S PRODUCTS.

10:33AM   12      Q.   WELL, AND THEN AS FAR AS NEO4J, INC., WHAT IS ITS ROLE IN

10:33AM   13      THE UNITED STATES?

10:33AM   14      A.   NEO4J, INC., INCLUDES THE REVENUE ORGANIZATION, WHICH

10:33AM   15      INCLUDES SALES AND SUPPORT, PROFESSIONAL SERVICES, CUSTOMER

10:33AM   16      SUCCESS, THINGS LIKE THAT.

10:33AM   17           THERE'S ALSO A MARKETING DEPARTMENT AND THE GENERAL

10:33AM   18      ADMINISTRATION FUNCTIONS ARE ALL CONTAINED WITHIN NEO4J, INC.

10:33AM   19      Q.   AND WHERE ARE YOU BASED OUT OF FOR YOUR WORK FOR NEO4J?

10:34AM   20      A.   I'M BASED IN ANNAPOLIS, MARYLAND NOT FAR FROM WASHINGTON,

10:34AM   21      D.C., AND, OF COURSE, THAT'S WHERE MOST OF THE FEDERAL

10:34AM   22      GOVERNMENT WORK IS, SO IT'S A CONVENIENT PLACE TO LIVE AND

10:34AM   23      WORK.

10:34AM   24      Q.   UNDERSTOOD.   AND GOING BACK TO NEO4J'S PRODUCTS, AND I'LL

10:34AM   25      JUST TAKE YOU BACK TO APPROXIMATELY 2017, AT THAT TIME DID



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10:34AM    1      NEO4J OFFER ANY OTHER PRODUCTS BESIDES NEO4J ENTERPRISE

10:34AM    2      EDITION?

10:34AM    3      A.   2017?    NO, THAT WAS THE ONLY PRODUCT.

10:34AM    4      Q.   OKAY.    WAS THERE DIFFERENT VERSIONS OF NEO4J GRAPH

10:34AM    5      DATABASE SOFTWARE?

10:34AM    6      A.   YES.    WELL, THERE WERE DIFFERENT EDITIONS.   THERE WAS

10:34AM    7      NEO4J ENTERPRISE EDITION AND NEO4J COMMUNITY EDITION.

10:34AM    8      Q.   AND I KNOW YOU'VE MENTIONED A LITTLE BIT ABOUT NEO4J

10:34AM    9      ENTERPRISE.    COULD YOU DESCRIBE WHAT THE DIFFERENCES ARE?

10:34AM   10           OR LET'S JUST START WITH NEO4J COMMUNITY EDITION.      CAN YOU

10:34AM   11      DESCRIBE WHAT THE NEO4J COMMUNITY EDITION IS?

10:34AM   12      A.   YES.    THE NEO4J COMMUNITY EDITION IS THE CORE DATABASE.

10:35AM   13      IT'S LIMITED IN FEATURES AND PERFORMANCE.

10:35AM   14      Q.   AND AS FAR AS THE LIMITATIONS IN PERFORMANCE, WHAT DO YOU

10:35AM   15      MEAN BY THAT?

10:35AM   16      A.   IT'S LIMITED TO ONLY TAKING ADVANTAGE OF UP TO FOUR CORES

10:35AM   17      AND A SERVER.    SO YOU COULD HAVE A HUGE 24 CORE SERVER.   WITH

10:35AM   18      THE COMMUNITY EDITION, IT WOULD ONLY TAKE ADVANTAGE OF 4 CORES.

10:35AM   19      IT DOESN'T INCLUDE ANY OF THE ENTERPRISE FEATURES THAT WE HAVE

10:35AM   20      THAT IMPROVE THE PERFORMANCE OF THE DATABASE, AND IT'S ALSO

10:35AM   21      LIMITED TO ONLY RUNNING ON A SINGLE SERVER SO THERE'S NO

10:35AM   22      CLUSTERING FOR HORIZONTAL SCALING.

10:35AM   23      Q.   AND I THINK WE'RE GOING TO BE USING TERMS LIKE SERVERS,

10:35AM   24      CORES, THINGS OF THAT NATURE.     I THINK IT WOULD BE HELPFUL FOR

10:35AM   25      THE COURT MAYBE IF YOU COULD JUST SORT OF EXPLAIN HOW NEO4J



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10:35AM    1      RELATES TO THOSE TERMS?

10:35AM    2      A.   SURE.    SO NEO4J IS A DATABASE SOFTWARE.      IT'S TYPICALLY

10:36AM    3      RUN ON A COMPUTER SERVER.     SOMETIMES WE REFER TO A COMPUTER

10:36AM    4      SERVER AS A MACHINE.

10:36AM    5      Q.   AND THEN HOW DOES A CORE RELATE TO A MACHINE?

10:36AM    6      A.   OH, SURE.    SO OUR LICENSING MODEL RESTRICTS SUBSCRIPTION

10:36AM    7      OR LICENSE BY THE NUMBER OF CPU CORES, WHICH CPU IS THE

10:36AM    8      COMPUTING POWER WITHIN A COMPUTER.     SO YOU CAN HAVE ANY NUMBER

10:36AM    9      OF CPU'S IN A COMPUTER.     THE MORE CPU'S YOU HAVE, THE MORE

10:36AM   10      PROCESSING POWER YOU HAVE.

10:36AM   11                   THE COURT:   SO DOES CORE MEAN AN INDIVIDUAL MACHINE?

10:36AM   12                   THE WITNESS:   NO, NO.

10:36AM   13                   THE COURT:   WHAT DOES CORE MEAN?

10:36AM   14                   THE WITNESS:   A CORE IS -- IT'S GOTTEN COMPLICATED

10:36AM   15      OVER THE YEARS.    IT USED TO BE A COMPUTER WOULD HAVE A CPU IN

10:37AM   16      IT, A CENTRAL PROCESSING UNIT, AND THERE WOULD BE ONE CPU THAT

10:37AM   17      DOESN'T HAVE MULTIPLE CORES.      IT WOULD JUST BE A CPU.

10:37AM   18           AND THEN AS TIME GOES BY, THE GUYS AT INTEL AND OTHER

10:37AM   19      MANUFACTURERS OF CPU'S GOT SMARTER AND MADE THINGS SMALLER AND

10:37AM   20      MORE COMPACT, AND THEY STARTED PUTTING MULTIPLE CORES OR

10:37AM   21      COMPUTE ENGINES WITHIN A SINGLE CPU.

10:37AM   22           AND THEN THE GUYS WHO MAKE THE COMPUTERS, THEY WANTED TO

10:37AM   23      HAVE MORE THAN JUST ONE CPU, EVEN IF IT HAD MULTIPLE CORES IN A

10:37AM   24      SINGLE CPU, IN ORDER TO GET PARALLELISM AND HIGHER PERFORMANCE

10:37AM   25      FOR PROCESSING, THEY STARTED PUTTING MULTIPLE CPU'S IN A SINGLE



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10:37AM    1      SERVER OR A SINGLE MACHINE.

10:37AM    2           SO YOU HAVE THE MACHINE OR THE SERVER AND WITHIN THAT YOU

10:37AM    3      HAVE SOME NUMBER OF CPU'S AND WITHIN THE CPU YOU CAN HAVE SOME

10:37AM    4      NUMBER OF CORES.

10:37AM    5                    THE COURT:   OKAY.

10:37AM    6                    THE WITNESS:    ALL OF THAT GIVES YOU, AS YOU GET MORE

10:37AM    7      AND MORE CORES, YOU GET MORE PROCESSING POWER.

10:37AM    8           SO WE LICENSE BY THE NUMBER OF CPU CORES IN A MACHINE OR

10:38AM    9      SERVER BECAUSE THE MORE CPU CORES YOU HAVE, THE BETTER

10:38AM   10      PERFORMANCE YOU CAN GET FROM OUR SOFTWARE.

10:38AM   11           WE ALSO INCLUDE IN OUR LICENSING MODEL THE AMOUNT OF

10:38AM   12      MEMORY OR RAM IN THE COMPUTER BECAUSE THE WAY THAT OUR SOFTWARE

10:38AM   13      WORKS, THE MORE OF THE DATA THAT IS STORED IN MEMORY, THE

10:38AM   14      HIGHER THE PERFORMANCE YOU CAN GET FROM OUR DATABASE.

10:38AM   15           SO WE COUNT THE NUMBER OF SERVERS OR MACHINES, AND THE

10:38AM   16      NUMBER OF CPU CORES IN THE SERVER OR MACHINE, AND THE AMOUNT OF

10:38AM   17      MEMORY IN THE MACHINE, AND THAT'S HOW WE LICENSE OUR SOFTWARE.

10:38AM   18                    MR. RATINOFF:   THANK YOU.   THAT WAS VERY HELPFUL, I

10:38AM   19      THINK.   D.

10:38AM   20      Q.   OKAY.     AND THEN GOING BACK TO NEO4J ENTERPRISE EDITION,

10:39AM   21      YOU MENTIONED THAT THERE ARE CERTAIN ENTERPRISE ONLY FEATURES.

10:39AM   22           WHAT DID YOU MEAN BY THAT?

10:39AM   23      A.   SO WE DIFFERENTIATE THE COMMERCIAL NEO4J ENTERPRISE

10:39AM   24      EDITION.

10:39AM   25           GOING BACK, NEO4J COMMUNITY EDITION IS FREE UNDER THE GPL



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10:39AM    1      LICENSE.

10:39AM    2           NEO4J ENTERPRISE EDITION IS COMMERCIALLY LICENSED BY NEO4J

10:39AM    3      UNDER A NEO4J LICENSE.

10:39AM    4           AND I FORGOT WHAT YOUR QUESTION WAS.

10:39AM    5           (LAUGHTER.)

10:39AM    6      BY MR. RATINOFF:

10:39AM    7      Q.   THAT'S FINE.    I KNOW IT'S YOUR FIRST TIME TESTIFYING IN

10:39AM    8      TRIAL.

10:39AM    9      A.   YES.

10:39AM   10      Q.   OKAY.   UNDERSTOOD.

10:39AM   11           SO MY QUESTION WAS, AND MAYBE I'LL BE A LITTLE BIT MORE

10:39AM   12      PRECISE, CAN YOU IDENTIFY WHAT THE ENTERPRISE ONLY FEATURES YOU

10:39AM   13      PREVIOUSLY REFERENCED IN A GENERAL SENSE?

10:39AM   14      A.   YES.    SO THE NEO4J ENTERPRISE EDITION INCLUDES A NUMBER OF

10:39AM   15      ENTERPRISE FEATURES THAT MAKE IT MORE VALUABLE AND MORE USEFUL

10:40AM   16      TO CUSTOMERS WHO ARE BUILDING AN APPLICATION ON NEO4J.

10:40AM   17           SO THE -- THERE'S A FAIRLY LONG LIST OF ENTERPRISE

10:40AM   18      FEATURES, BUT SOME OF THE MOST RELEVANT AND COMMON REASONS WHY

10:40AM   19      CUSTOMERS PURCHASE NEO4J ENTERPRISE EDITION IS FOR CLUSTERING,

10:40AM   20      WHICH MEANS THE ABILITY TO HAVE NEO4J RUNNING ON MULTIPLE

10:40AM   21      SERVERS AND ALL CONNECTED TOGETHER WORKING TOGETHER AND YOU

10:40AM   22      CLUSTER FOR TWO REASONS.

10:40AM   23           ONE IS FOR HIGH AVAILABILITY, WHICH MEANS IF YOU'RE -- ONE

10:40AM   24      OF THE SERVERS CRASHES, FAILS, STOPS RUNNING, THE OTHER SERVERS

10:40AM   25      WILL CONTINUE TO RUN AND THERE WON'T BE ANY DOWNTIME FOR THE



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10:40AM    1      USERS OF THE DATABASE.

10:40AM    2           ANOTHER REASON FOR CLUSTERING IS FOR PERFORMANCE.     NEO4J

10:40AM    3      ENTERPRISE ALLOWS FOR HORIZONTAL SCALING ACROSS THE MACHINES OR

10:41AM    4      SERVERS, SO IF THERE'S A NUMBER OF USERS ACCESSING THE DATABASE

10:41AM    5      AT THE SAME TIME, THE READS OR QUERIES THE DATABASE CAN BE

10:41AM    6      DISTRIBUTED ACROSS THE MACHINES, AND THAT PROVIDES BETTER

10:41AM    7      PERFORMANCE AND BETTER EXPERIENCE FOR THE USERS OF THE

10:41AM    8      DATABASE.

10:41AM    9           SO THAT'S THE FIRST CATEGORY OF ENTERPRISE FEATURES.

10:41AM   10           I MENTIONED HORIZONTAL SCALING FOR PERFORMANCE.     THERE'S

10:41AM   11      ALSO UNLIMITED VERTICAL SCALING, WHICH MEANS THAT I HAD

10:41AM   12      MENTIONED FOR THE COMMUNITY EDITION, IT WOULD ONLY TAKE

10:41AM   13      ADVANTAGE OF FOUR CORES PER MACHINE.

10:41AM   14           WITH THE ENTERPRISE EDITION, THE NEO4J WILL TAKE ADVANTAGE

10:41AM   15      OF ALL OF THE CPU CORES IN EACH MACHINE.     SO THAT WILL PROVIDE

10:41AM   16      FOR BETTER PERFORMANCE.

10:41AM   17           THERE ARE ALSO A NUMBER OF PERFORMANCE FEATURES WHICH ARE

10:42AM   18      ENTERPRISE ONLY FEATURES.    LIKE, FOR EXAMPLE, THERE'S AN

10:42AM   19      ENTERPRISE CYPHER RUN TIME, WHICH MAKES QUERIES OR READS FROM

10:42AM   20      THE DATABASE MUCH, MUCH FASTER THAN THE CYPHER RUN TIME IN

10:42AM   21      COMMUNITY EDITION.

10:42AM   22           THERE ARE OTHER PERFORMANCE FEATURES THAT ARE A LITTLE

10:42AM   23      MORE TECHNICAL THAT I WON'T GET INTO, BUT THERE IS ALSO

10:42AM   24      MONITORING AND ADMINISTRATION FEATURES IN THE ENTERPRISE

10:42AM   25      EDITION AND THERE'S SOME SCHEMA FEATURES AS WELL, INCLUDING ONE



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10:42AM    1      THAT IS PRETTY OFTEN USED CALLED NODE I.D., N-O-D-E AND THEN

10:42AM    2      I.D. FOR SHORTHAND FOR IDENTIFICATION.

10:42AM    3      Q.   AND ARE THERE ANY DIFFERENCES BETWEEN THE LEVEL OF SUPPORT

10:42AM    4      THAT ARE PROVIDED BETWEEN COMMUNITY AND ENTERPRISE EDITION?

10:42AM    5      A.   YES.

10:42AM    6      Q.   AND WHAT ARE THOSE DIFFERENCES?

10:42AM    7      A.   COMMUNITY EDITION IS NOT SUPPORTED BY NEO4J.     IT'S

10:42AM    8      SUPPORTED BY THE COMMUNITY.

10:43AM    9           WE HAVE A COMMUNITY FORUM WHERE IF SOMEONE IS NOT A

10:43AM   10      CUSTOMER IS USING COMMUNITY EDITION, THEY POSE A QUESTION TO

10:43AM   11      THE FORUM ONLINE AND SOMEBODY AT NEO4J IN OUR DEVELOPER

10:43AM   12      RELATIONS MIGHT ANSWER IT, SOMEBODY WHO IS A DEVELOPER AND

10:43AM   13      USING THE NEO4J FOR A LONG TIME FROM ANYWHERE MIGHT ANSWER THE

10:43AM   14      QUESTIONS.

10:43AM   15           BUT NEO4J AS A COMPANY DOES NOT SUPPORT NEO4J COMMUNITY

10:43AM   16      EDITION.    WE DON'T SELL SUPPORT PACKAGES FOR NEO4J COMMUNITY

10:43AM   17      EDITION, WE DON'T PROVIDE PROFESSIONAL SERVICES ON THE NEO4J

10:43AM   18      COMMUNITY EDITION.

10:43AM   19           IF SOMEONE IS USING THE NEO4J COMMUNITY EDITION, IT'S

10:43AM   20      STRICTLY ON THEIR OWN.

10:43AM   21           ON THE OTHER HAND, NEO4J ENTERPRISE EDITION, WE SELL

10:43AM   22      COMMERCIAL SUBSCRIPTIONS FOR NEO4J ENTERPRISE EDITION WHICH

10:43AM   23      INCLUDES CUSTOMER SUPPORT AS WELL AS PROFESSIONAL SERVICES.

10:44AM   24           PROFESSIONAL SERVICES IS CONSULTING SERVICES.     WE HAVE AN

10:44AM   25      ORGANIZATION OF CONSULTING ENGINEERS THAT PROVIDE ENABLEMENT TO



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10:44AM    1      PARTNERS AND TRAINING AND ENABLEMENT DEVELOPMENT SERVICES AND

10:44AM    2      SO ON AND SO FORTH TO CUSTOMERS AS WELL.

10:44AM    3                 THE COURT:   SO DO YOU SELL COMMUNITY EDITION?

10:44AM    4                 THE WITNESS:   WE DO NOT SELL COMMUNITY EDITION.

10:44AM    5      COMMUNITY EDITION IS FREE.

10:44AM    6                 THE COURT:   THAT'S JUST OUT THERE?

10:44AM    7                 THE WITNESS:   THAT IS JUST OUT THERE.

10:44AM    8                 THE COURT:   IN THE COMMUNITY?

10:44AM    9                 THE WITNESS:   CORRECT.

10:44AM   10                 THE COURT:   I SEE.

10:44AM   11      BY MR. RATINOFF:

10:44AM   12      Q.   AND WHY, TO BUILD ON YOUR HONOR'S QUESTION, WHY OFFER A

10:44AM   13      COMMUNITY EDITION?

10:44AM   14      A.   NEO4J WAS STARTED AN ON OPEN SOURCE COMPANY WITH OPENNESS

10:44AM   15      IN MIND.

10:44AM   16           WE BUILT OUR BUSINESS GOING WAY BACK TO AROUND 2010, WE

10:44AM   17      RELEASED THE FIRST FREE OPEN SOURCE NEO4J COMMUNITY EDITION AS

10:45AM   18      THE FIRST GRAPH DATABASE, OPEN SOURCE GRAPH DATABASE OUT THERE.

10:45AM   19           WE BUILT A MASSIVE COMMUNITY OF DEVELOPERS AROUND THE FREE

10:45AM   20      OPEN SOURCE COMMUNITY EDITION.

10:45AM   21           AND SHORTLY THEREAFTER, WE MONETIZED THAT INVESTMENT IN

10:45AM   22      THE FREE SOFTWARE BY BUILDING THE COMMERCIALLY LICENSED NEO4J

10:45AM   23      ENTERPRISE EDITION.

10:45AM   24      Q.   AND THEN I THINK EARLIER ON YOU MENTIONED SOMETHING ABOUT

10:45AM   25      BUILDING AN APPLICATION ON TOP OF NEO4J?



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10:45AM    1      A.   YES.

10:45AM    2      Q.   AND WHAT DID YOU MEAN BY THAT?

10:45AM    3      A.   SO, AGAIN, I ALSO MENTIONED THAT NEO4J IS A DATABASE, A

10:45AM    4      PLATFORM.   SOMEONE WHO BUYS NEO4J DOESN'T HAVE AN APPLICATION

10:45AM    5      THAT END USERS CAN USE.    IT REQUIRES A NEO4J PARTNER OR A

10:45AM    6      GOVERNMENT CONTRACTOR OR THE GOVERNMENT THEMSELVES OR A

10:45AM    7      COMMERCIAL COMPANY TO BUILD AN APPLICATION THAT CONNECTS TO THE

10:46AM    8      DATABASE SO THAT THERE'S A USER INTERFACE AND APPLICATION THAT

10:46AM    9      THE USERS CAN USE.

10:46AM   10      Q.   AND DOES NEO4J SUPPORT THAT TYPE OF DEVELOPMENT AS WELL

10:46AM   11      THROUGH ITS PROFESSIONAL SERVICES?

10:46AM   12      A.   WE DO, YES.

10:46AM   13                  THE COURT:   AND THAT'S UNIQUE FOR EACH CUSTOMER?

10:46AM   14                  THE WITNESS:   YES, YES, THE APPLICATION IS TYPICALLY

10:46AM   15      UNIQUE FOR EACH CUSTOMER.

10:46AM   16      BY MR. RATINOFF:

10:46AM   17      Q.   AND FROM YOUR EXPERIENCE DATING BACK MANY SEVEN YEARS,

10:46AM   18      WOULD YOU CONSIDER NEO4J ENTERPRISE TO BE COMMERCIALLY

10:46AM   19      SUCCESSFUL?

10:46AM   20      A.   EXTREMELY COMMERCIALLY SUCCESSFUL, YES.

10:46AM   21      Q.   AND HOW IS THAT?

10:46AM   22      A.   SO, AGAIN, WE FUND THE RELEASE OF THE OPEN SOURCE PRODUCT

10:46AM   23      RELEASE, THE ENTERPRISE EDITION, TO MONETIZE THE INVESTMENT,

10:46AM   24      AND WE ACTUALLY WERE THE CREATOR OF THE GRAPH DATABASE

10:46AM   25      CATEGORY.



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10:47AM    1           SO WE, WITH NEO4J ENTERPRISE EDITION, WE MANAGED TO BUILD

10:47AM    2      A TREMENDOUS MARKET FOR GRAPH DATABASES WITH MANY CUSTOMERS TO

10:47AM    3      THE POINT THAT THERE'S A NUMBER OF SMALL COMPANIES BUILDING

10:47AM    4      GRAPH DATABASES TRYING TO GET IN ON THE MASSIVE MARKET THAT

10:47AM    5      NEO4J CREATED.   EVEN BIG COMPANIES LIKE ORACLE, MICROSOFT,

10:47AM    6      AMAZON HAVE BUILT GRAPH DATABASES OR LAYERS ON TOP OF WHATEVER

10:47AM    7      DATABASE THAT THEY HAVE IN ORDER TO COMPETE WITH NEO4J AS THE

10:47AM    8      MARKET LEADER.

10:47AM    9           AGAIN, WE CREATED THE MARKET, AND WE REMAINED THE MARKET

10:47AM   10      LEADER BY FAR EVER SINCE.

10:47AM   11                 THE COURT:   DO YOU CONSIDER THOSE INDIVIDUALS, THOSE

10:47AM   12      COMPANIES, ORACLE, MICROSOFT, AMAZON, AS COMPETITORS?

10:48AM   13                 THE WITNESS:   IT'S INTERESTING BECAUSE THEY DO HAVE

10:48AM   14      GRAPH DATABASE OFFERINGS, BUT IT'S RARE, ESPECIALLY IN THE

10:48AM   15      FEDERAL GOVERNMENT, FOR ME TO NEED TO COMPETE WITH THEM BECAUSE

10:48AM   16      OUR PRODUCT IS SO SUPERIOR TO OUR PRODUCTS AS FAR AS FEATURES,

10:48AM   17      FUNCTIONALITY, INTERFACE, USABILITY, PERFORMANCE.

10:48AM   18           SO WHEN SOMEONE WANTS A GRAPH DATABASE, ALMOST EXCLUSIVELY

10:48AM   19      THEY COME TO NEO4J AND THEN THEY ASK US TO HELP THEM JUSTIFY

10:48AM   20      BUYING NEO4J OVER THE COMPETITORS.

10:48AM   21                 THE COURT:   DO ORACLE, MICROSOFT, THOSE OTHERS, I

10:48AM   22      THINK YOU SAID THAT THEY DON'T TYPICALLY DO COMMERCE WITH THE

10:48AM   23      FEDERAL GOVERNMENT LIKE YOU DO?    IT SOUNDS LIKE THE FEDERAL

10:48AM   24      GOVERNMENT IS ONE OF YOUR HIGHEST, BIGGEST CLIENTS.

10:49AM   25                 THE WITNESS:   THEY'RE A SIGNIFICANT CUSTOMER FOR



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10:49AM    1      NEO4J, YES.

10:49AM    2           THEY DO -- I CAN'T SAY THAT THEY DON'T SELL TO THE

10:49AM    3      GOVERNMENT, BUT WHAT I CAN SAY IS THAT I RARELY COME ACROSS

10:49AM    4      THEM IN THE MARKETPLACE.     AND WHEN I DO, LIKE I SAID, IT'S IN

10:49AM    5      THE FORM OF, YEAH, WE REALLY WANT TO USE NEO4J, BUT WE NEED TO

10:49AM    6      DO A SOLE SOURCE JUSTIFICATION, WE NEED TO DO AN ANALYSIS OF

10:49AM    7      ALTERNATIVES, CAN YOU HELP ME WITH WHY NEO4J IS BETTER THAN

10:49AM    8      ORACLE'S SPACIAL AND GRAPH PRODUCTS OR BETTER THAN AMAZON'S

10:49AM    9      NEPTUNE, BETTER THAN MICROSOFT'S COSMOS DB.

10:49AM   10           SO THEY ASK FOR HELP IN JUSTIFYING WHY THEY SHOULD BUY

10:49AM   11      NEO4J.

10:49AM   12                   THE COURT:   OKAY.   THANK YOU.   SORRY.

10:49AM   13                   MR. RATINOFF:   THANK YOU, YOUR HONOR.

10:49AM   14      Q.   YOU HAVE A WITNESS BINDER IN FRONT OF YOU, I BELIEVE.

10:49AM   15      THERE ARE SOME TAB NUMBERS WHICH CORRESPOND TO -- NOW YOU DO.

10:50AM   16      A.   I'M LOOKING AROUND.

10:50AM   17      Q.   IF YOU WOULD GO AHEAD AND TURN TO TAB 8, WHICH HAS BEEN

10:50AM   18      PREMARKED AS TRIAL EXHIBIT NUMBER 8.

10:50AM   19           AND DO YOU RECOGNIZE EXHIBIT 8?

10:50AM   20      A.   I DO.    IT'S VERY HELPFUL BECAUSE IT KIND OF SHOWS WHAT I

10:50AM   21      WAS JUST TALKING ABOUT.

10:50AM   22      Q.   OKAY.    HOW SO?

10:50AM   23      A.   SO THIS IS A, THIS IS A PRESS RELEASE THAT WE DID IT LOOKS

10:50AM   24      LINE IN JANUARY 2020 TOUTING OUR SUCCESSES IN 2019.     AND

10:50AM   25      THERE'S A BIG IMAGE.      IN THE CENTER THEY'RE SHOWING NEO4J AS



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10:50AM    1      NUMBER ONE AND THEN A BUNCH OF, YOU KNOW, OTHER GRAPH DATABASES

10:50AM    2      BELOW US.

10:50AM    3           WHAT THIS IS IS IT'S A SNAPSHOT OF AN IMAGE, OR A SNAPSHOT

10:50AM    4      OF THE DB ENGINE'S WEBSITE.       SO DB ENGINE IS A WEBSITE COMMONLY

10:51AM    5      USED IN THE DATABASE INDUSTRY TO SEE WHERE DIFFERENT DATABASES,

10:51AM    6      HOW THEY STACK RANK AGAINST THEIR COMPETITION.

10:51AM    7           AND IT'S BASED ON POPULARITY.      IT'S A POPULARITY SCORE

10:51AM    8      THAT THIS DB ENGINE CREATES BASED ON THINGS LIKE MENTIONS ON

10:51AM    9      SOCIAL MEDIA, STACK OVERFLOW, CONVERSATIONS, THINGS LIKE THAT.

10:51AM   10      IT'S POPULARITY BASED AS OPPOSED TO REVENUE BASED OR SOMETHING

10:51AM   11      LIKE THAT.

10:51AM   12      Q.   AND IT SEEMS LIKE IT'S PUT UP IN THE FRONT OF THIS PRESS

10:51AM   13      RELEASE.    IS THIS SOMETHING THAT WE SHOULD CONSIDER TO BE

10:51AM   14      SIGNIFICANT?

10:51AM   15      A.   YES, VERY SIGNIFICANT.       SO ESPECIALLY EARLY ON IN MY TIME

10:52AM   16      AT NEO4J WHEN WE WERE STILL A YOUNGER COMPANY, MUCH SMALLER.

10:52AM   17      WHEN I STARTED AT NEO4J IN OCTOBER OF 2016, I WAS EMPLOYEE

10:52AM   18      NUMBER 125.    NOW WE'RE CLOSER TO 800 EMPLOYEES.

10:52AM   19           SO WE WERE A SMALL COMPANY GETTING STARTED, NOT AS WELL

10:52AM   20      KNOWN, AND IN MY PRESENTATIONS TO PROSPECTIVE CUSTOMERS, THIS

10:52AM   21      WAS ACTUALLY A SLIDE IN MY SLIDE DECK SHOWING THE RANKING OF

10:52AM   22      NEO4J FOR POPULARITY SHOWING THAT, YOU KNOW, WE'RE THE MARKET

10:52AM   23      LEADER, WE'RE NUMBER ONE.

10:52AM   24           SO I JUST DON'T HAVE TO TELL YOU WE'RE NUMBER ONE, BUT YOU

10:52AM   25      CAN LOOK AT WHAT DB ENGINE IS SAYING, AND IT'S CLEAR FROM THAT



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10:52AM    1      THAT WE'RE THE MOST POPULAR GRAPH DATABASE.

10:52AM    2      Q.   AND IS THERE ANY OTHER PORTIONS OF THIS PRESS RELEASE THAT

10:52AM    3      YOU FIND TO BE A SIGNIFICANT INDICATOR OF NEO4J'S SUCCESS?

10:52AM    4      A.   YES.

10:52AM    5           SO IF YOU GO TO THE SECOND PARAGRAPH BELOW THE IMAGE

10:53AM    6      THERE'S SOME MENTIONS OF SOME ANALYSTS, BIG ANALYST COMPANIES,

10:53AM    7      GARTNER AND FORRESTER, WHO LOOK AT TECHNOLOGY AND WRITE REPORTS

10:53AM    8      AND COMPARE TECHNOLOGIES.    AND IT'S REFERENCING SOME DIFFERENT

10:53AM    9      THINGS LIKE GARTNER PAIR INSIGHTS, GARTNER MAGIC QUADRANT,

10:53AM   10      FORRESTER WAVE.    AND IT'S SHOWING THAT ANALYSTS WHO LOOK AT

10:53AM   11      TECHNOLOGY WERE NOTICING NEO4J.

10:53AM   12           AND BACK IN, YOU KNOW, 2019, YOU KNOW, THAT WAS SORT OF

10:53AM   13      WHEN NEO4J REALLY STARTED GETTING NOTICED, I BELIEVE.     SO

10:53AM   14      THAT'S WHY IT APPEARED IN THIS PRESS RELEASE.

10:53AM   15                  MR. RATINOFF:   YOUR HONOR, I'D LIKE TO MOVE TRIAL

10:53AM   16      EXHIBIT NUMBER 8 INTO EVIDENCE.

10:53AM   17                  THE COURT:   ANY OBJECTION?

10:53AM   18                  MR. BEENE:   NO OBJECTION, YOUR HONOR.

10:53AM   19                  THE COURT:   IT'S ADMITTED.

10:54AM   20           (PLAINTIFFS' EXHIBIT 8 WAS RECEIVED IN EVIDENCE.)

10:54AM   21      BY MR. RATINOFF:

10:54AM   22      Q.   I'D LIKE TO GO AHEAD AND CHANGE GEARS HERE.     ARE YOU

10:54AM   23      FAMILIAR WITH THE VERSION HISTORY OF NEO4J ENTERPRISE?

10:54AM   24      A.   YES.

10:54AM   25      Q.   AND HOW DID YOU COME FAMILIAR WITH THE VERSION HISTORY?



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10:54AM    1      A.   THROUGH MY WORK SELLING NEO4J SOFTWARE, IT'S IMPORTANT TO

10:54AM    2      UNDERSTAND AS WE MAKE NEW RELEASES OF VERSIONS, WHEN WE ADD NEW

10:54AM    3      FEATURES AND CAPABILITIES, WHEN WE FIX BUGS, ET CETERA, WE

10:54AM    4      CREATE NEW VERSIONS OF NEO4J ENTERPRISE.

10:54AM    5           SO THERE'S, YOU KNOW, VERSIONS LIKE 3.1, 3.2, 3.3, WE CALL

10:54AM    6      THOSE DOT RELEASES WHICH ARE RELEASED EVERY -- WELL, BACK IN

10:54AM    7      THE 2019, 2020 TIMEFRAME, THEY WERE TYPICALLY RELEASED EVERY

10:55AM    8      SIX MONTHS, THE DOT RELEASES.

10:55AM    9           AND THEN THERE WERE MINOR RELEASES LIKE 3.2.1, AND 3.2.2,

10:55AM   10      ET CETERA, THAT WERE RELEASED MORE FREQUENTLY, SOMETIMES ON A

10:55AM   11      MONTHLY BASIS.

10:55AM   12      Q.   AND I THINK YOU STOPPED AT NEO4J 3.3?

10:55AM   13      A.   UH-HUH.

10:55AM   14      Q.   WHAT WAS THE NEXT DOT RELEASE AFTER THAT?

10:55AM   15      A.   THAT WAS 3.4.

10:55AM   16      Q.   OKAY.   AND I ASSUME, OR LET ME ASK IT THIS WAY, DO YOU

10:55AM   17      REMEMBER APPROXIMATELY WHEN 3.4 WAS RELEASED BY NEO4J?

10:55AM   18      A.   3.4 WOULD HAVE BEEN RELEASED -- I'M NOT SURE I RECALL.

10:55AM   19      Q.   LET'S GO AHEAD AND HAVE YOU TURN TO --

10:55AM   20      A.   IT'S BEEN A WHILE, I KNOW THAT.

10:55AM   21      Q.   UNDERSTOOD.   THAT'S WHY I'M HERE TO HELP.

10:55AM   22           LET'S GO AHEAD AND TURN TO TAB 4 IN YOUR BINDER.

10:55AM   23      A.   DID YOU SAY 4?

10:55AM   24      Q.   YES, 4.   LET'S GET LANDSCAPE ORIENTED?

10:56AM   25      A.   YES, THIS HELPS.



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10:56AM    1      Q.   AND I JUST WANTED TO POINT TO THIS.     THIS HAS BEEN

10:56AM    2      PREMARKED AS PLAINTIFFS' TRIAL EXHIBIT NUMBER 4.

10:56AM    3           YOU MENTIONED THIS HELPS.    HOW DOES THIS HELP?

10:56AM    4      A.   WELL, IT'S GOT A DATE ON IT.

10:56AM    5      Q.   OKAY.

10:56AM    6      A.   MAY 17TH, 2018.   THIS IS A BLOG POST WRITTEN BY

10:56AM    7      PHILIP RATHLE, OUR VICE PRESIDENT OF PRODUCTS.     IT'S ANNOUNCING

10:56AM    8      THE RELEASE OF NEO4J 3.4.

10:56AM    9      Q.   AND WHEN NEO4J RELEASED 3.4, WHICH EDITIONS WERE RELEASED

10:56AM   10      WITH THAT NOMENCLATURE?

10:56AM   11      A.   BOTH COMMUNITY EDITION AND ENTERPRISE EDITION.

10:56AM   12      GENERALLY -- WELL, I COULD PROBABLY SAY ALWAYS.     WE ALWAYS

10:56AM   13      RELEASE COMMUNITY EDITION VERSION CONCURRENT WITH NEO4J

10:57AM   14      ENTERPRISE EDITION.    SO THERE WOULD HAVE BEEN A 3.4 COMMUNITY

10:57AM   15      EDITION AND A 3.4 ENTERPRISE EDITION.

10:57AM   16      Q.   AND WHAT IS THE PURPOSE OF THIS BLOG POST TO THE EXTENT

10:57AM   17      THAT YOU HAVEN'T ALREADY DISCUSSED -- LET ME STRIKE THAT

10:57AM   18      QUESTION.

10:57AM   19           WHAT WAS THE SIGNIFICANCE OF THIS PARTICULAR BLOG POST?

10:57AM   20      A.   SO I GUESS THE MOST SIGNIFICANT THING IS THAT IT'S KIND OF

10:57AM   21      EXPLAINING THE NEW FEATURES AND IMPROVEMENTS THAT CAME OUT WITH

10:57AM   22      VERSION 3.4 OVER WHAT WAS IN 3.3 AS WELL AS WHICH, YOU KNOW,

10:57AM   23      FEATURES ARE ENTERPRISE ONLY FEATURES INCLUDED IN NEO4J

10:57AM   24      ENTERPRISE EDITION VERSUS, YOU KNOW, NOT INCLUDED IN NEO4J

10:57AM   25      COMMUNITY EDITION.



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10:57AM    1           AROUND THIS TIME WE, MAYBE EVEN A LITTLE BIT BEFORE THIS

10:58AM    2      GOING BACK TO 3.1, 3.2, WE STARTED REALLY DIFFERENTIATING IN

10:58AM    3      WHAT WAS AVAILABLE IN NEO4J ENTERPRISE EDITION VERSUS NEO4J

10:58AM    4      COMMUNITY EDITION TO CREATE MORE VALUE IN THE COMMERCIALLY

10:58AM    5      LICENSED PRODUCT NEO4J ENTERPRISE EDITION.

10:58AM    6      Q.   AND AS FAR AS GOING TO THE NEXT PAGE OF EXHIBIT 4, THERE'S

10:58AM    7      A SECTION THAT SAYS PERFORMANCE IMPROVEMENTS.

10:58AM    8           WHAT IS THAT A REFERENCE TO?

10:58AM    9      A.   SO THERE WERE SOME, YOU KNOW, THERE WAS SOME NEW FEATURES

10:58AM   10      AND IMPROVED FEATURES IN THIS VERSION.

10:58AM   11           YOU CAN SEE HIGHLIGHTED IS FAST BACKUPS ONLY FOR

10:58AM   12      ENTERPRISE TWO TIMES FASTER.

10:58AM   13           ENTERPRISE CYPHER RUN TIME WAS IMPROVED BY 70 PERCENT OVER

10:58AM   14      3.3, WHICH WAS REALLY SIGNIFICANT, AND THERE WERE SOME CHANGES

10:58AM   15      TO THE BULK IMPORTER WHICH IS ONLY RESUMABLE IN THE ENTERPRISE

10:59AM   16      EDITION.

10:59AM   17      Q.   AND DOES THE ENTERPRISE CYPHER RUN TIME UP TO 70 PERCENT

10:59AM   18      FASTER, WHICH EDITION DOES THAT APPLY TO?

10:59AM   19      A.   ONLY THE ENTERPRISE EDITION, THAT'S WHY IT SAYS ENTERPRISE

10:59AM   20      CYPHER RUN TIME.

10:59AM   21      Q.   I'M TURNING TO PAGE -- UNFORTUNATELY, THIS IS NOT BATES

10:59AM   22      NUMBERED SO THERE WOULD BE A BIG GRAPH ABOUT TWO-THIRDS OF THE

10:59AM   23      WAY THROUGH.

10:59AM   24      A.   YES, I'VE FOUND IT.

10:59AM   25      Q.   IT SAYS, IT READS, "DASH NEO4J ENTERPRISE CYPHER RUN



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10:59AM    1      TIME"?

10:59AM    2      A.   YES.

10:59AM    3      Q.   OKAY.    AND DO YOU UNDERSTAND WHAT THIS PARTICULAR GRAPH IS

10:59AM    4      INDICATING?

10:59AM    5      A.   YES.    FOR THE NEO4J ENTERPRISE ONLY, IT'S SHOWING THAT THE

11:00AM    6      ENTERPRISE CYPHER RUN TIME IS 70 PERCENT FASTER IN VERSION 3.4

11:00AM    7      VERSUS 3.3 WHERE INTERESTING, IT ALSO SHOWS THE PREVIOUS

11:00AM    8      RELEASE 3.3 THERE WAS ONLY A 10 PERCENT IMPROVEMENT OVER 3.2.

11:00AM    9      SO 70 PERCENT IMPROVEMENT WAS MASSIVE, AND IT'S SOMETHING THAT

11:00AM   10      WE TALLIED.

11:00AM   11      Q.   AND MAYBE YOU CAN PROVIDE A LITTLE MORE DETAIL OR COULD

11:00AM   12      YOU PLEASE PROVIDE A LITTLE BIT OF DETAIL OF WHAT CYPHER RUN

11:00AM   13      TIME IS?

11:00AM   14      A.   THE CYPHER RUN TIME IS THE ENGINE IN NEO4J THAT BASICALLY

11:00AM   15      ANSWERS THE QUESTIONS THAT THE USERS ARE ASKING OF THE

11:00AM   16      DATABASE, SO THE QUERIES.

11:00AM   17           CYPHER IS THE GRAPH QUERY LANGUAGE WHICH NEO4J INVENTED

11:00AM   18      AND IS USED BY DEVELOPERS TO CREATE QUESTIONS OR QUERIES TO GET

11:01AM   19      INFORMATION OF THE DATABASE.

11:01AM   20           SO THE CYPHER RUN TIME IS A REALLY CRITICAL PART OF NEO4J

11:01AM   21      FOR PERFORMANCE.

11:01AM   22      Q.   AND WERE THERE ANY CHANGES IN THE WAY THAT NEO4J LICENSED

11:01AM   23      BOTH EDITIONS OF NEO4J 3.4?

11:01AM   24      A.   NO CHANGE TO COMMUNITY EDITION.     BUT THIS IS WHEN WE MADE

11:01AM   25      THE CHANGE TO THE LICENSING OF NEO4J ENTERPRISE EDITION ADDING



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11:01AM    1      THE COMMONS CLAUSE TO THE AGPL.

11:01AM    2      Q.   AND WHY DID NEO4J ADD THE COMMONS CLAUSE?

11:01AM    3      A.   WE ADDED THE COMMONS CLAUSE IN ORDER TO PROTECT OUR

11:01AM    4      SOFTWARE AND MAKE IT SO THAT OTHER COMPANIES WOULDN'T BE ABLE

11:01AM    5      TO SELL OUR SOFTWARE, YOU KNOW, KIND OF PACKAGE IT UP AND SELL

11:02AM    6      IT WITHOUT NEO4J ALLOWING THEM TO RESELL ON OUR BEHALF AND

11:02AM    7      GIVING US A LICENSE FEE AS WELL AS TO KEEP, AGAIN, THIRD

11:02AM    8      PARTIES FROM SELLING SERVICES, CUSTOMER SUPPORT SERVICES OR

11:02AM    9      CONSULTING SERVICES, DEVELOPMENT SERVICES ON THE NEO4J

11:02AM   10      ENTERPRISE EDITION.

11:02AM   11      Q.   AT LEAST WITHOUT PAYING FOR A LICENSE?

11:02AM   12      A.   WITHOUT PAYING FOR A LICENSE, CORRECT.

11:02AM   13      Q.   OKAY.    LET'S GO AHEAD AND --

11:02AM   14           ACTUALLY, BEFORE I DO THAT, I WOULD LIKE TO MOVE EXHIBIT 4

11:02AM   15      INTO EVIDENCE.

11:02AM   16                   MR. BEENE:   NO OBJECTION, YOUR HONOR.

11:02AM   17                   THE COURT:   IT'S ADMITTED.

11:02AM   18           (PLAINTIFFS' EXHIBIT 4 WAS RECEIVED IN EVIDENCE.)

11:02AM   19      BY MR. RATINOFF:

11:02AM   20      Q.   AND LET'S GO AHEAD AND TURN TO EXHIBIT OR TAB 6.

11:02AM   21      A.   GOT.

11:02AM   22      Q.   TAB 6 HAS BEEN PREMARKED AS PLAINTIFFS' EXHIBIT 6.

11:03AM   23           DO YOU RECOGNIZE THIS EXHIBIT?

11:03AM   24      A.   I DO.

11:03AM   25      Q.   AND HOW DO YOU RECOGNIZE IT?



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11:03AM    1      A.   IT'S ANOTHER BLOG POST WRITTEN BY OUR VICE PRESIDENT OF

11:03AM    2      PRODUCTS, PHILIP RATHLE, R-A-T-H-L-E, AND IT IS ANNOUNCING OUR

11:03AM    3      NEO4J ENTERPRISE EDITION VERSION 3.5 AND A FURTHER CHANGE TO

11:03AM    4      OUR LICENSING MODEL FOR NEO4J ENTERPRISE EDITION WHERE WE WERE

11:03AM    5      SHIFTING TO AN OPEN CORE MODEL.

11:03AM    6      Q.   AND WHAT DO YOU MEAN BY OPEN CORE MODEL?

11:03AM    7      A.   WITH OPEN CORE, THE CORE DATABASE, WHICH IS NEO4J

11:03AM    8      COMMUNITY EDITION, REMAINED OPEN SOURCE UNDER THE GPL.

11:03AM    9           HOWEVER, NEO4J ENTERPRISE EDITION AT THIS POINT WAS MOVED

11:03AM   10      CLOSED SOURCE, FULLY PROPRIETARY AND ONLY AVAILABLE VIA

11:03AM   11      COMMERCIAL LICENSE.

11:03AM   12      Q.   AND WHEN YOU MEAN ONLY AVAILABLE, WHAT ARE YOU -- HOW DOES

11:04AM   13      THAT APPLY TO THE SOURCE CODE?

11:04AM   14      A.   THE SOURCE CODE IS PROPRIETARY.     SO PRIOR TO 3.5, THE

11:04AM   15      SOURCE CODE WAS AVAILABLE PUBLICALLY ON GITHUB FOR ANYBODY TO

11:04AM   16      REVIEW OUR SOURCE CODE.

11:04AM   17           IT MAY SEEM STRANGE THAT WE HAD THIS

11:04AM   18      NEO4J ENTERPRISE EDITION, THE COMMERCIAL VERSION OF NEO4J THAT

11:04AM   19      WE WERE SELLING PRIOR TO 3.5 WITHIN -- IT WAS DUAL LICENSED

11:04AM   20      UNDER THE AGPL AND LATER AGPL WITH COMMONS CLAUSE FOR OPEN

11:04AM   21      SOURCE WITH THE PRIMARY PURPOSE BEING SO THAT OUR CUSTOMERS,

11:04AM   22      ESPECIALLY BACK WHEN WE WERE A SMALLER COMPANY, HAVING THE

11:04AM   23      COMFORT OF BEING ABLE TO VIEW THE SOURCE CODE.

11:04AM   24           BUT THAT WAS IT.   THAT WAS THE INTENT WAS SO OUR CUSTOMERS

11:05AM   25      WERE COMFORTABLE THAT THE SOURCE CODE WAS AVAILABLE THERE AND



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11:05AM    1      IF NEO4J WENT UNDER AND THEY INVESTED A LOT IN BUILDING

11:05AM    2      APPLICATIONS ON TOP OF NEO4J, THE SOURCE CODE WAS THERE AND

11:05AM    3      THEY COULD HAVE ACCESS TO IT IN GITHUB.

11:05AM    4             WELL, IN 2018, WITH THE RELEASE OF 3.5, WE'RE A

11:05AM    5      WELL-ESTABLISHED COMPANY AND WE DIDN'T HAVE THOSE DISCUSSIONS

11:05AM    6      ANY MORE WITH CUSTOMERS WHERE THEY'RE WORRIED ABOUT NEO4J GOING

11:05AM    7      ORDER, AND WE NO LONGER FELT IT NECESSARY TO HAVE THE SOURCE

11:05AM    8      CODE AVAILABLE.    SO WE WENT FULLY PROPRIETARY SOURCE CODE AND

11:05AM    9      NO LONGER PUBLISHED OUR NEW VERSION STARTING WITH 3.5 ON

11:05AM   10      GITHUB.

11:05AM   11                   THE COURT:   SO DID THE OLD SOURCE CODE REMAIN THEN

11:05AM   12      ON GITHUB?

11:05AM   13                   THE WITNESS:   YES.

11:05AM   14                   THE COURT:   SO THERE WAS LIMITATION TO THE COMMUNITY

11:05AM   15      AS TO THE USE OF THE OLDER VERSION?

11:05AM   16                   THE WITNESS:   CORRECT.

11:05AM   17                   THE COURT:   AND YOU MONETIZED, YOU MADE THE

11:05AM   18      DECISION, THE COMPANY DID, TO CLOSE SOURCE AND THEN ALL OF THE

11:06AM   19      IMPROVEMENTS THAT WOULD FOLLOW 3.5, I GUESS IT WAS, WOULD BE

11:06AM   20      PROPRIETARY?

11:06AM   21                   THE WITNESS:   YES.   I JUST WANT TO EXPLAIN ONE

11:06AM   22      LITTLE CAVEAT OVER WHAT YOU JUST SAID.

11:06AM   23             SO NEO4J ENTERPRISE EDITION WAS NEVER MEANT FOR COMMUNITY

11:06AM   24      USE.    IT WAS OPEN SOURCE, BUT IT WAS -- WE DIDN'T DISTRIBUTE

11:06AM   25      BINARIES FOR ENTERPRISE EDITION.       WE ONLY MADE THE SOURCE



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11:06AM    1      AVAILABLE.

11:06AM    2           AND SOMEONE IN THE COMMUNITY, EVEN IF THEY WANTED TO, THEY

11:06AM    3      WOULD HAVE A REALLY HARD TIME COMPILING NEO4J ENTERPRISE

11:06AM    4      EDITION.    IT ESSENTIALLY WASN'T DONE BY THE COMMUNITY.   IT WAS

11:06AM    5      THERE FOR VIEWING.

11:06AM    6           AS OPPOSED TO NEO4J COMMUNITY EDITION WHERE THE SOURCE

11:06AM    7      CODE WAS THERE AND PROBABLY FAIRLY COMMON FOR THE COMMUNITY TO

11:06AM    8      CHANGE THE SOURCE CODE AND COMPILE THE SOURCE CODE, BUT WE ALSO

11:07AM    9      MADE THE BINARIES, THE EXECUTABLES FOR COMMUNITY EDITION

11:07AM   10      AVAILABLE FROM THE BEGINNING, AND WE STILL DO.

11:07AM   11                   THE COURT:   OKAY.

11:07AM   12      BY MR. RATINOFF:

11:07AM   13      Q.   AND WERE THERE CHANGES IN TERMS OF ADDITIONAL FEATURES TO

11:07AM   14      NEO4J 3.5 ENTERPRISE?

11:07AM   15      A.   YES, CERTAINLY.

11:07AM   16      Q.   AND FEATURES THAT WEREN'T PREVIOUSLY FOUND IN 3.4; IS THAT

11:07AM   17      WHAT YOU MEAN?

11:07AM   18      A.   YES.    WITH EVERY, AGAIN, WITH EVERY DOT RELEASE, WHEN YOU

11:07AM   19      GO FROM 3.3 TO 3.4, WE ADDED NEW FEATURES AND IMPROVEMENTS AND

11:07AM   20      GO FROM 3.4 TO 3.5, THERE'S NEW FEATURES AND IMPROVEMENTS.

11:07AM   21      EVERY NEW RELEASE HAS NEW FEATURES AND IMPROVEMENTS.

11:07AM   22      Q.   WERE THERE ANY SIGNIFICANT NEW FEATURES THAT COME TO MIND

11:07AM   23      WITH 3.5 THAT WERE FIRST INTRODUCED?

11:07AM   24      A.   I DON'T RECALL.      I'M SURE THERE WERE, BUT I DON'T RECALL.

11:07AM   25      LOOKING THROUGH THIS BLOG POST YOU SHOW AS AN EXHIBIT, THIS



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11:08AM    1      BLOG POST AS OPPOSED TO THE LAST ONE WAS REALLY TO ANNOUNCE THE

11:08AM    2      NEW LICENSING MODEL VERSUS ANNOUNCING THE NEW FEATURES BECAUSE

11:08AM    3      PROBABLY THE BIGGEST THING WITH 3.5 WAS THE LICENSING MODEL.

11:08AM    4      BUT THERE CERTAINLY WERE NEW FEATURES, I JUST DON'T REMEMBER

11:08AM    5      WHAT THEY WERE.

11:08AM    6                  MR. RATINOFF:   I WOULD LIKE TO MOVE PLAINTIFFS'

11:08AM    7      EXHIBIT 6 INTO EVIDENCE.

11:08AM    8                  MR. BEENE:   NO OBJECTION, YOUR HONOR.

11:08AM    9                  THE COURT:   IT'S ADMITTED.

11:08AM   10           (PLAINTIFFS' EXHIBIT 6 WAS RECEIVED IN EVIDENCE.)

11:08AM   11      BY MR. RATINOFF:

11:08AM   12      Q.   I'D LIKE TO GO AHEAD AND SWITCH GEARS AGAIN.     DO YOU KNOW

11:08AM   13      WHO JOHN MARK SUHY IS?

11:08AM   14      A.   YES.

11:08AM   15      Q.   AND HOW DO YOU KNOW WHO JOHN MARK SUHY IS?

11:08AM   16      A.   HE WAS THE PRINCIPAL OF A COMPANY CALLED PURETHINK, WHICH

11:08AM   17      WAS A NEO4J PARTNER IN THE FEDERAL SPACE WHEN I STARTED WORKING

11:08AM   18      AT NEO4J IN 2016.

11:08AM   19      Q.   AND IS PURETHINK STILL A NEO4J PARTNER?

11:09AM   20      A.   NO.

11:09AM   21      Q.   AND DID THAT STATUS CHANGE AT SOME POINT DURING YOUR

11:09AM   22      EMPLOYMENT?

11:09AM   23      A.   IT DID.

11:09AM   24      Q.   AND DO YOU RECALL APPROXIMATELY WHEN?

11:09AM   25      A.   I BELIEVE IT WAS IN 2017, PROBABLY THE SUMMER OF 2017.



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11:09AM    1      Q.   AND ARE YOU FAMILIAR WITH A COMPANY CALLED IGOV, INC.?

11:09AM    2      A.   I AM.

11:09AM    3      Q.   AND HOW DID YOU BECOME FAMILIAR WITH IGOV, INC.?

11:09AM    4      A.   AROUND THE TIME THAT WE TERMINATED THE PARTNERSHIP

11:09AM    5      AGREEMENT WITH PURETHINK, YOU KNOW, I WENT TO THE PURETHINK

11:09AM    6      WEBSITE, AND IT BASICALLY ANNOUNCED THAT MR. SUHY HAD CREATED A

11:09AM    7      NEW COMPANY CALLED IGOV AND IT POINTED TO THE IGOV WEBSITE.

11:10AM    8      Q.   OKAY.   CAN YOU PLEASE TURN TO TAB 86 IN YOUR BINDER?

11:10AM    9      A.   I'M THERE.

11:10AM   10      Q.   AND DO YOU MIND PUTTING THE EXHIBIT UP.

11:10AM   11           I'M ALSO GOING TO HAVE AN ELECTRONIC VERSION BECAUSE THIS

11:10AM   12      IS ACTUALLY A LIVE HTML DOCUMENT NATIVE.

11:10AM   13      A.   OKAY.

11:10AM   14      Q.   WE CAN GO AHEAD AND START ON THE PAPER VERSION WHILE HE'S

11:10AM   15      TRYING TO GET IT UP ON THE SCREEN.

11:10AM   16      A.   SURE.

11:10AM   17      Q.   I DON'T WANT TO TAKE UP THE COURT'S TIME UNNECESSARILY.

11:10AM   18           SO WE'RE LOOKING AT EXHIBIT 86?

11:11AM   19      A.   UH-HUH, YES.

11:11AM   20      Q.   DO YOU RECOGNIZE EXHIBIT 86?

11:11AM   21      A.   YES.

11:11AM   22      Q.   AND WHAT IS EXHIBIT 86?

11:11AM   23      A.   IT'S THE PURETHINK WEBSITE THAT I WAS JUST REFERRING TO.

11:11AM   24      Q.   AND THEN YOU HAD MENTIONED THAT THERE WAS A LINK TO THE

11:11AM   25      IGOV WEBSITE I BELIEVE.    IS THAT WHAT YOUR TESTIMONY WAS?



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11:11AM    1      A.   YES.

11:11AM    2      Q.   OKAY.    DANNY, CAN YOU PLEASE PUT THE CURSER OVER THE TOP.

11:11AM    3      IT SAYS GOVERNMENT PACKAGE FOR NEO4J, INC.

11:11AM    4           DO YOU SEE WHERE THAT CURSER IS HOVERING?

11:11AM    5      A.   YEP.    YES, IGOVSOL.COM.    THAT WAS THE GOVERNMENT WEBSITE.

11:11AM    6                   MR. RATINOFF:    I'D LIKE TO MOVE EXHIBIT 86 INTO

11:12AM    7      EVIDENCE, YOUR HONOR.

11:12AM    8                   MR. BEENE:    NO OBJECTION, YOUR HONOR.

11:12AM    9                   THE COURT:    IT'S ADMITTED.

11:12AM   10           (PLAINTIFFS' EXHIBIT 86 WAS RECEIVED IN EVIDENCE.)

11:12AM   11      BY MR. RATINOFF:

11:12AM   12      Q.   LET'S GO AHEAD AND TURN TO TAB 87.      ARE YOU THERE?

11:12AM   13      A.   I'M THERE.

11:12AM   14      Q.   OKAY.    DO YOU RECOGNIZE WHAT IS -- AND EXCUSE ME ONE

11:12AM   15      SECOND.   APOLOGIES.      TECHNICAL ISSUE.

11:12AM   16           IF YOU CAN TAKE A LOOK AT -- I'M SORRY.        DO YOU HAVE

11:12AM   17      EXHIBIT 87 IN FRONT OF YOU?       DO YOU RECOGNIZE EXHIBIT 87?

11:12AM   18      A.   YES, I DO.    THIS IS THE IGOV HOME PAGE OR WEBSITE THAT I

11:12AM   19      WAS REFERRING TO.

11:12AM   20      Q.   AND WHAT WAS YOUR REACTION WHEN YOU SAW THIS WEB PAGE?

11:12AM   21      A.   I WAS I GUESS SURPRISED BECAUSE IT CAME UP VERY, VERY

11:12AM   22      QUICKLY AFTER THE TERMINATION OF PURETHINK AND DISAPPOINTED TO

11:12AM   23      SEE THAT MR. SUHY, BASED ON MY READING OF THIS AND

11:13AM   24      UNDERSTANDING, HAD CREATED A NEW BUSINESS ENTITY WHICH WOULD

11:13AM   25      ALLOW HIM TO CONTINUE TO PROVIDE SERVICES ON



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11:13AM    1      NEO4J ENTERPRISE EDITION WHICH WOULD HAVE BEEN A VIOLATION OF

11:13AM    2      THE PARTNER AGREEMENT BETWEEN NEO4J, INC. AND PURETHINK.

11:13AM    3           SO THE WAY I READ THIS IS THAT MR. SUHY BY PASSED THE

11:13AM    4      RESTRICTIONS IN THE PARTNER AGREEMENT BY SIMPLY CREATING A NEW

11:13AM    5      BUSINESS ENTITY.

11:13AM    6                 MR. BEENE:   YOUR HONOR, DO I SAY OBJECTION HERE

11:13AM    7      OR --

11:13AM    8                 THE COURT:   YOU CAN SAY OBJECTION THERE.

11:13AM    9                 MR. BEENE:   I MOVE TO STRIKE THAT LAST TESTIMONY.

11:13AM   10      THEY HAVE DISMISSED THEIR BREACH OF CONTRACT CLAIM IN THIS

11:13AM   11      ACTION, AND WE WAIVED THE CLAIMS RELATED TO THAT.       AND I THINK

11:14AM   12      THIS IS NOT APPROPRIATE AND IT'S IRRELEVANT.

11:14AM   13                 MR. RATINOFF:   IT'S FOUNDATIONAL.      WE'RE NOT TRYING

11:14AM   14      TO RELITIGATE THE CLAIM.    IT'S FOUNDATIONAL.

11:14AM   15                 THE COURT:   FOR?

11:14AM   16                 MR. RATINOFF:   FOR DAMAGES.

11:14AM   17                 THE COURT:   WELL, THEN IT SOUNDS LIKE IT'S RELEVANT.

11:14AM   18      YOU'RE SAYING IT IS RELEVANT FOR DAMAGES.

11:14AM   19                 MR. RATINOFF:   YEAH, I WOULD APPRECIATE A LITTLE

11:14AM   20      LEEWAY TO GET THROUGH THE TESTIMONY AND IF HE WANTS TO OBJECT

11:14AM   21      THEN, THAT'S FINE.

11:14AM   22                 THE COURT:   WELL, I'LL ALLOW IT TO COME IN AND GIVE

11:14AM   23      IT WHATEVER WEIGHT THE COURT FINDS IS APPROPRIATE, BUT --

11:14AM   24                 MR. RATINOFF:   I CAN ADD, YOUR HONOR, ONE OF THE

11:14AM   25      ISSUES THAT THEY RAISED IS THAT MR. SUHY DOES NOT COMPETE WITH



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11:14AM    1      NEO4J AND THIS EVIDENCE GOES TO COUNTER THAT ASSERTION.

11:14AM    2           ALTHOUGH WE WOULD ACTUALLY, YOU KNOW, WE BELIEVE THAT'S

11:14AM    3      ALREADY BEEN ESTABLISHED, BUT THEY'VE DISPUTED IT SO IT'S

11:14AM    4      SOMETHING THAT NEEDS TO COME IN.

11:14AM    5                   THE COURT:   WELL, MY PAUSING WAS WHETHER OR NOT THIS

11:15AM    6      WITNESS IS QUALIFIED TO TESTIFY ABOUT HIS BELIEF ABOUT THE

11:15AM    7      BREACH OR WHETHER IT WAS VIOLATIVE IN ANY WAY.

11:15AM    8           BUT THAT WASN'T THE OBJECTION.      THE OBJECTION WAS

11:15AM    9      RELEVANCE.

11:15AM   10                   MR. BEENE:   IT WAS RELEVANCE.   I DON'T WANT TO HAVE

11:15AM   11      TO COME IN AND TALK ABOUT IT'S AN ILLEGAL CLAUSE, THIS STUFF.

11:15AM   12      IT'S GONE.    SO ONCE THINGS ARE GONE, THEY SHOULDN'T COME BACK.

11:15AM   13      SO IT'S IRRELEVANT IS MY POSITION.

11:15AM   14                   THE COURT:   OKAY.   WELL, I'LL PERMIT IT JUST FOR

11:15AM   15      THIS, AND YOU'RE GOING TO MOVE ON FOR -- THIS IS FOUNDATIONAL

11:15AM   16      TO ANOTHER QUESTION.

11:15AM   17                   MR. RATINOFF:   YES, YOUR HONOR, AND A THEME.      SO

11:15AM   18      WE'RE NOT GOING TO DWELL ON THE CONTRACT AT ALL.

11:15AM   19                   THE COURT:   OKAY.

11:15AM   20      BY MR. RATINOFF:

11:15AM   21      Q.   AND THEN -- I'M SORRY.       DID YOU FINISH YOUR ANSWER?

11:15AM   22      A.   I DON'T KNOW.

11:15AM   23                   THE COURT:   I THINK HE DID.   YOU CAN ASK ANOTHER

11:15AM   24      QUESTION.

11:15AM   25      BY MR. RATINOFF:



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11:15AM    1      Q.   OKAY.    ALL RIGHT.     AND I WAS ASKING YOU ABOUT WHAT YOUR

11:15AM    2      REACTION WAS TO THIS WEBSITE.

11:15AM    3           IN ADDITION YOU REFERENCE A CONTRACT.      WAS THERE ANYTHING

11:16AM    4      ELSE ABOUT THIS WEBSITE THAT BOTHERED YOU?

11:16AM    5      A.   WELL, I MEAN, I WAS BOTHERED TO FIND THAT MR. SUHY WAS

11:16AM    6      INTENDING TO CONTINUE TO COMPETE WITH NEO4J WITH THIS NEW

11:16AM    7      BUSINESS ENTITY.

11:16AM    8      Q.   AND WHEN YOU SAY, "COMPETE WITH NEO4J," WHAT DO YOU MEAN

11:16AM    9      BY "COMPETE"?

11:16AM   10      A.   WELL, IGOV WAS, YOU KNOW, INTENDING TO SELL SERVICES

11:16AM   11      AROUND NEO4J ENTERPRISE EDITION, AND PART OF MY JOB WAS SELLING

11:16AM   12      SERVICES AROUND NEO4J ENTERPRISE EDITION.      SO IGOV WAS IN

11:16AM   13      DIRECT COMPETITION WITH THE PRODUCTS AND SERVICES THAT I WAS

11:16AM   14      SELLING.

11:16AM   15                   MR. RATINOFF:    YOUR HONOR, I'D LIKE TO MOVE

11:16AM   16      EXHIBIT 87 INTO EVIDENCE.

11:17AM   17                   MR. BEENE:    NO OBJECTION.

11:17AM   18                   THE COURT:    IT'S ADMITTED.

11:17AM   19           (PLAINTIFFS' EXHIBIT 87 WAS RECEIVED IN EVIDENCE.)

11:17AM   20      BY MR. RATINOFF:

11:17AM   21      Q.   LET'S GO AHEAD AND TURN TO EXHIBIT 88.

11:17AM   22           AND DO YOU RECOGNIZE EXHIBIT 88?

11:17AM   23      A.   I DO.

11:17AM   24      Q.   AND WHAT IS EXHIBIT 88?

11:17AM   25      A.   THIS IS ANOTHER PAGE WITHIN THE IGOV WEBSITE AT THE TIME.



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11:17AM    1      Q.   AND YOU LOOKED AT THIS PARTICULAR PAGE I BELIEVE YOU SAID

11:17AM    2      IN THE SUMMER OF 2017?

11:17AM    3      A.   YES.

11:17AM    4      Q.   AND WHAT WAS YOUR REACTION TO THIS PAGE?

11:17AM    5      A.   WELL, NOW THAT I SEE IT, THIS REMINDS ME WHY I SAW IGOV AS

11:17AM    6      COMPETITION, BECAUSE IN THE INDUSTRY, LIKE I MENTIONED, WE HAD,

11:17AM    7      YOU KNOW, A NUMBER OF SMALL COMPANIES THAT WERE TRYING TO

11:17AM    8      COMPETE WITH NEO4J, AND TYPICALLY WHAT A SMALL COMPANY WOULD

11:17AM    9      DO, WOULD BE TO PRESENT COMPETITIVE ANALYSIS OF WHAT THEY CAN

11:18AM   10      PROVIDE VERSUS THE MARKET LEADER.

11:18AM   11           SO NEO4J NEVER PROVIDED -- WELL, AS FAR AS I KNOW, NEVER

11:18AM   12      PROVIDED A COMPETITIVE ANALYSIS AGAINST OTHER GRAPH DATABASES

11:18AM   13      BECAUSE WE'RE THE MARKET LEADER, BUT OTHER COMPANIES DID.

11:18AM   14           TO ME, AS A SALES PROFESSIONAL, I LOOKED AT THIS AND SAW

11:18AM   15      IT AS A COMPETITIVE ANALYSIS CREATED BY IGOV WANTING TO SHOW

11:18AM   16      PROSPECTIVE NEO4J CUSTOMERS WHY THEY WOULD GET BETTER VALUE BY

11:18AM   17      PURCHASING SERVICES FROM IGOV ALONG WITH THE -- I MEAN,

11:18AM   18      BASICALLY WHAT IGOV, MY UNDERSTANDING OF THIS WEBSITE WAS IGOV

11:18AM   19      WAS SUGGESTING TO CUSTOMERS THAT THEY DIDN'T HAVE TO BUY A

11:19AM   20      NEO4J SUBSCRIPTION BECAUSE THEY COULD USE THE, THEY COULD USE

11:19AM   21      THE FREE OPEN SOURCE VERSION AND THEY WOULD PROVIDE SERVICES.

11:19AM   22      Q.   AND WHEN YOU MEAN FREE OPEN SOURCE VERSION, ARE YOU

11:19AM   23      REFERRING TO COMMUNITY OR ENTERPRISE EDITION?

11:19AM   24      A.   I'M REFERRING TO NEO4J ENTERPRISE EDITION.

11:19AM   25      Q.   AND AT THAT TIME DO YOU RECALL WHAT EDITION WAS AVAILABLE,



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11:19AM    1      VERSION WISE?   I APOLOGIZE.

11:19AM    2      A.   VERSION, YES.   UM, I BELIEVE AT THE TIME THIS WOULD HAVE

11:19AM    3      BEEN -- I'M LOOKING TO SEE IF IT SAYS IT -- BUT IT PROBABLY

11:19AM    4      WOULD HAVE BEEN NEO4J VERSION 3.3 OR 3.2.     SOMEWHERE AROUND

11:19AM    5      THERE.

11:19AM    6                  MR. RATINOFF:   I WOULD LIKE TO MOVE EXHIBIT 88 INTO

11:19AM    7      EVIDENCE.

11:19AM    8                  MR. BEENE:   NO OBJECTION.

11:19AM    9                  THE COURT:   IT'S ADMITTED.

11:20AM   10           (PLAINTIFFS' EXHIBIT 88 WAS RECEIVED IN EVIDENCE.)

11:20AM   11      BY MR. RATINOFF:

11:20AM   12      Q.   AND DID YOU CONTINUE TO MONITOR IGOV'S WEBSITE AFTER

11:20AM   13      LOOKING AT IT INITIALLY?

11:20AM   14      A.   I DID, YES.

11:20AM   15      Q.   AND WHY DID YOU DO THAT?

11:20AM   16      A.   BECAUSE I SAW IGOV AS A COMPETITOR.     THEY WERE, THEY WERE,

11:20AM   17      YOU KNOW, TALKING TO THE SAME PROSPECTS THAT I WAS TALKING TO

11:20AM   18      AND TRYING TO SELL NEO4J'S SERVICES AS WELL AS PROVIDE, PROVIDE

11:20AM   19      THE SOFTWARE FOR FREE.

11:20AM   20      Q.   AND ASIDE FROM THE WEBSITE, WERE THERE ANY OTHER

11:20AM   21      INDICATIONS TO YOU THAT IGOV WAS A COMPETITOR?

11:20AM   22      A.   YES.

11:20AM   23      Q.   AND WHAT WERE THOSE INDICATIONS?

11:20AM   24      A.   WELL, IN SEPTEMBER OF 2017 I BECAME AWARE OF A

11:21AM   25      PRE-SOLICITATION NOTICE OR SPECIAL NOTICE OF INTENT TO AWARD



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11:21AM    1      SOLE SOURCE CONTRACT BY THE IRS TO PURETHINK.

11:21AM    2      Q.   AND HOW DID YOU DISCOVER THAT?

11:21AM    3      A.   I BELIEVE -- YOU KNOW, THERE'S -- THOSE SOLICITATIONS ARE

11:21AM    4      PUBLICLY POSTED, SO I SAW IT ON THE INTERNET.

11:21AM    5      Q.   IS THAT SOMETHING THAT YOU DO AS PART OF YOUR JOB IS TO

11:21AM    6      MONITOR GOVERNMENT SOLICITATIONS.

11:21AM    7      A.   I DO, I MONITOR GOVERNMENT SOLICITATIONS, YES.

11:21AM    8      Q.   AND WHY IS THAT?

11:21AM    9      A.   IT GIVES ME INFORMATION TO KNOW WHEN THERE'S A

11:21AM   10      SOLICITATION THAT I SHOULD BE BIDDING ON.

11:21AM   11      Q.   AND WHAT DID YOU DO ONCE YOU SAW THAT SPECIAL NOTICE?

11:21AM   12      A.   I IMMEDIATELY CONFERRED WITH THE LEADERSHIP TEAM AT NEO4J

11:21AM   13      AND RECOMMENDED THAT WE PROTEST THE IMPENDING SOLE SOURCE

11:22AM   14      AWARD.

11:22AM   15      Q.   AND DID NEO4J PROTEST THAT AWARD?

11:22AM   16      A.   WE DID.

11:22AM   17      Q.   IF YOU COULD GO AHEAD AND TURN TO EXHIBIT 57.

11:22AM   18      A.   I'M THERE.

11:22AM   19      Q.   OKAY.   AND IF YOU WOULD GO AHEAD AND TURN TO THE THIRD

11:22AM   20      PAGE OF THE EXHIBIT, IT'S ACTUALLY PAGE 1 OF THE LETTER FROM

11:22AM   21      ARNOLD & PORTER.

11:22AM   22           DO YOU SEE THAT?

11:22AM   23      A.   I DO, YES.

11:22AM   24      Q.   AND DO YOU RECOGNIZE THIS PORTION OF THE EXHIBIT?

11:22AM   25      A.   YES.



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11:22AM    1      Q.   AND WHAT IS IT?

11:22AM    2      A.   IT IS THE PROTEST LETTER THAT NEO4J SENT TO THE IRS.

11:22AM    3      Q.   AND AT THE TIME, WHAT SOFTWARE WAS THE IRS USING FOR GRAPH

11:22AM    4      DATABASE TO YOUR KNOWLEDGE?

11:22AM    5      A.   AT THE TIME THEY WERE USING NEO4J ENTERPRISE EDITION.

11:22AM    6      Q.   AND YOU'LL LOOK IN THE FIRST PAGE OF THIS LETTER THERE'S A

11:23AM    7      REFERENCE TO THE IGOV GRAPH DATABASE AND RELATED SERVICES

11:23AM    8      INTENDED TO SUPPORT THE AGENCY'S CDW KNOWLEDGE GRAPH

11:23AM    9      ENVIRONMENT AND THEN IN PARENS AND QUOTES CKGE.

11:23AM   10           DO YOU SEE THAT?

11:23AM   11      A.   I DO, YES.

11:23AM   12      Q.   AND DO YOU HAVE AN UNDERSTANDING OF WHAT THAT IS IN

11:23AM   13      REFERENCE TO?

11:23AM   14      A.   I DO.   IT WAS, IT WAS -- I REMEMBER IT BEING A LITTLE

11:23AM   15      STRANGE BECAUSE IT WAS NOTICE OF INTENT TO AWARD A CONTRACT TO

11:23AM   16      PURETHINK I BELIEVE, BUT YET THEY REFERENCED AN IGOV GRAPH

11:23AM   17      DATABASE.

11:23AM   18           AND I -- YOU KNOW, I NEVER HEARD OF AN IGOV GRAPH

11:23AM   19      DATABASE, BUT I ASSUMED THAT THAT MEANT NEO4J ENTERPRISE BEING

11:23AM   20      DELIVERED TO THE IRS BY IGOV.

11:24AM   21      Q.   AND THEN LOOKING AT PAGE 5 OF THE LETTER, NOT THE EXHIBIT.

11:24AM   22      A.   THE BIG NUMBERS AT THE TOP?

11:24AM   23      Q.   YEAH, YEAH.

11:24AM   24      A.   YES.

11:24AM   25      Q.   SORRY ABOUT THAT.   ARE YOU -- DO YOU SEE WHERE THERE'S A



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11:24AM    1      ROMAN NUMERAL III, GROUNDS OF PROTEST?

11:24AM    2      A.   YES.

11:24AM    3      Q.   AND WHAT IS THIS IN REFERENCE TO PURETHINK IS -- I'M

11:24AM    4      SORRY.   DID YOU SEE THIS LETTER BEFORE IT WAS FILED WITH THE

11:24AM    5      GOVERNMENT?

11:24AM    6      A.   I DID.   I REVIEWED IT PRIOR TO ITS SUBMISSION TO THE

11:24AM    7      GOVERNMENT.

11:24AM    8      Q.   AND WHAT WAS YOUR UNDERSTANDING OF THIS PARTICULAR ROMAN

11:24AM    9      NUMERAL III, SECTION A, AND THEN THERE'S A REFERENCE TO

11:24AM   10      BUSINESS SERVICES IN THE SECOND PARAGRAPH?

11:24AM   11      A.   UH-HUH, YES.

11:24AM   12      Q.   AND IT SAYS, "HERE THE SPECIAL NOTICE STATES THAT

11:24AM   13      PURETHINK IS THE ONLY PROVIDER OF BUSINESS SERVICES NEEDED FOR

11:25AM   14      THE AGENCY'S CDW," CHARLIE, DAVID, WILCOX, "KNOWLEDGE GRAPH

11:25AM   15      ENVIRONMENT."

11:25AM   16           DO YOU SEE THAT?

11:25AM   17      A.   YES, I DO.

11:25AM   18      Q.   AND WHAT IS THAT IN REFERENCE TO?

11:25AM   19      A.   SO THE -- PART OF THE SOLE SOURCE JUSTIFICATION IN THE

11:25AM   20      SPECIAL NOTICE WAS SAYING THAT PURETHINK WAS THE ONLY PROVIDER

11:25AM   21      OF BUSINESS SERVICES WHICH WAS NEEDED BY THE CKGE.     CKGE IS

11:25AM   22      SHORT FOR CDW KNOWLEDGE GRAPH ENVIRONMENT.

11:25AM   23      Q.   SO SINCE IT'S A MOUTHFUL, CAN WE JUST CALL IT CKGE?

11:25AM   24      A.   ABSOLUTELY.

11:25AM   25      Q.   I THINK COUNSEL WOULD PROBABLY AGREE TO THAT.



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11:25AM    1      A.   SO THIS IS, YOU KNOW, STATING OUR -- THAT, YOU KNOW, WE

11:25AM    2      DIDN'T BELIEVE THAT IT WAS TRUE THAT PURETHINK WAS THE ONLY

11:26AM    3      PROVIDER OF BUSINESS SERVICES NEEDED BY THE CKGE.

11:26AM    4           WE SHARED NEO4J WAS CAPABLE OF DOING THAT, ATOM RAIN,

11:26AM    5      A-T-O-M   R-A-I-N, TWO WORDS; GRAPH AWARE, AWARE, A-W-A-R-E.     I

11:26AM    6      CAN READ THEM, BUT THERE ARE THREE OTHER COMPANIES THAT WERE I

11:26AM    7      BELIEVE NEO4J PARTNERS AT THE TIME THAT WOULD HAVE BEEN

11:26AM    8      PERFECTLY CAPABLE OF PROVIDING BUSINESS SERVICES.

11:26AM    9                  MR. RATINOFF:   AND I'D LIKE TO GO AHEAD AND MOVE

11:26AM   10      EXHIBIT 57 INTO EVIDENCE?

11:26AM   11                  THE COURT:   ANY OBJECTION?

11:26AM   12                  MR. BEENE:   NO OBJECTION.

11:26AM   13                  THE COURT:   IT'S ADMITTED.

11:26AM   14           (PLAINTIFFS' EXHIBIT 57 WAS RECEIVED IN EVIDENCE.)

11:26AM   15      BY MR. RATINOFF:

11:26AM   16      Q.   NOW, I THINK YOU MENTIONED AT THE TIME THAT YOU THOUGHT

11:26AM   17      3.3 WAS THE CURRENT VERSION OF NEO4J; IS THAT CORRECT?

11:27AM   18      A.   YES.

11:27AM   19      Q.   AND WE DID TALK ABOUT NEO4J 3.4 EARLIER, I BELIEVE.

11:27AM   20      A.   CORRECT.

11:27AM   21      Q.   AND ONCE NEO4J RELEASED NEO4J ENTERPRISE 3.4 IN I BELIEVE

11:27AM   22      NOVEMBER OF 2018 -- NO, I'M SORRY, MAY OF 2018, WAS THAT THE

11:27AM   23      CORRECT DATE?

11:27AM   24           LET'S STRIKE THAT QUESTION.    I DON'T WANT TO CONFUSE YOU.

11:27AM   25      A.   THERE WERE A LOT OF DATES BACK THEN.     IT'S BEEN A LONG



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11:27AM    1      TIME.

11:27AM    2      Q.   I KNOW IT WAS A LONG TIME AGO.

11:27AM    3           SO I'M GOING TO TURN YOU BACK TO AN EXHIBIT.

11:27AM    4           LET'S GET IT CORRECT.

11:27AM    5                 MR. BEENE:   EXCUSE ME, YOUR HONOR.     I APOLOGIZE.   DO

11:27AM    6      YOU EVER TAKE A BREAK DURING THE DAY?

11:27AM    7                 THE COURT:   WELL, WE BEGAN EVIDENCE AT 10:00.    I

11:27AM    8      THOUGHT WE WOULD GO UNTIL NOON.

11:27AM    9                 MR. BEENE:   OKAY.

11:28AM   10                 THE COURT:   BUT IF WE NEED A BREAK, IF ANYBODY NEEDS

11:28AM   11      A BREAK FOR JUST A MOMENT, I'M HAPPY TO TAKE ONE NOW IF YOU

11:28AM   12      WOULD LIKE.

11:28AM   13                 MR. BEENE:   I WOULD APPRECIATE IT.

11:28AM   14                 THE COURT:   LET'S TAKE TEN MINUTES.

11:28AM   15                 MR. BEENE:   I CAN'T SPEAK FOR OTHERS.

11:28AM   16                 THE COURT:   SURE.     LET'S TAKE TEN MINUTES AND THEN

11:28AM   17      WE'LL COME BACK.   YOU CAN STAND DOWN, SIR.

11:28AM   18                 THE WITNESS:    SURE.

11:28AM   19                 THE COURT:   AND WE'LL SEE YOU IN TEN MINUTES.

11:28AM   20           (RECESS FROM 11:28 A.M. UNTIL 11:40 A.M.)

11:40AM   21                 THE COURT:   PLEASE BE SEATED.    THANK YOU.

11:40AM   22           THE WITNESS CAN RESUME THE STAND, PLEASE.

11:41AM   23           ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN.

11:41AM   24           I THOUGHT WE WOULD GO UNTIL 12:30 IF THAT'S OKAY.

11:41AM   25                 MR. RATINOFF:   THAT'S FINE, YOUR HONOR.    I'M



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11:41AM    1      ACTUALLY ALMOST DONE WITH THIS PARTICULAR PORTION OF HIS

11:41AM    2      TESTIMONY.    I THINK WE CAN ALSO, WITH YOUR PREFERENCE, WE CAN

11:41AM    3      STOP AT NOON OR A LITTLE BIT AFTER NOON.

11:41AM    4                   THE COURT:   OKAY.   ALL RIGHT.   WELL, LET'S SEE WHERE

11:41AM    5      YOU GO.

11:41AM    6                   MR. RATINOFF:   I'LL LET YOU KNOW IF I'M AT A

11:41AM    7      STOPPING POINT AND IF YOU WANT TO TAKE A BREAK, THEN I'M FINE

11:41AM    8      WITH THAT.

11:41AM    9      Q.   I THINK WHERE WE LEFT OFF WE WERE TALKING ABOUT ONGDB 3.4,

11:41AM   10      AND WE WERE TRYING TO FIGURE OUT WHAT DATE THAT CAME OUT.

11:41AM   11           AND I WANT YOU TO JUST GO AHEAD AND LOOK AT EXHIBIT 4,

11:41AM   12      PLEASE.

11:42AM   13                   THE CLERK:   THAT'S ALREADY IN EVIDENCE.

11:42AM   14                   THE COURT:   IT'S BEEN ADMITTED, AND WE CAN PUBLISH

11:42AM   15      THIS.

11:42AM   16                   THE WITNESS:    MAY 17TH, 2018.   WE ALREADY TALKED

11:42AM   17      ABOUT THIS SOME MORE AND I COULDN'T REMEMBER.

11:42AM   18      BY MR. RATINOFF:

11:42AM   19      Q.   I WAS ASKING YOU APPROXIMATELY WHEN THE 3.4 WAS RELEASED?

11:42AM   20      A.   YES.

11:42AM   21      Q.   DOES THIS DOCUMENT HELP REFRESH YOUR RECOLLECTION?

11:42AM   22      A.   YES, YES, MAY 2018.

11:42AM   23      Q.   OKAY.    AND SO AT THIS TIME DID YOU STILL VIEW IGOV AS A

11:42AM   24      COMPETITOR?

11:42AM   25      A.   YES, I DID.



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11:42AM    1      Q.   AND WHY IS THAT?

11:42AM    2      A.   I VIEWED THEM AS A COMPETITOR BECAUSE THEY WERE -- AT THIS

11:42AM    3      POINT WHEN WE INTRODUCED THE COMMONS CLAUSE, I BELIEVE IGOV WAS

11:42AM    4      DISTRIBUTING BINARIES FOR NEO4J ENTERPRISE EDITION.     SO

11:43AM    5      BASICALLY PROVIDING A COMPILED VERSION OF

11:43AM    6      NEO4J ENTERPRISE EDITION TO CUSTOMERS FOR FREE AND THEN

11:43AM    7      PROVIDING SERVICES.

11:43AM    8           SO THAT WAS EATING INTO MY SALES OPPORTUNITIES BECAUSE I

11:43AM    9      WAS CHARGING FOR MY SOFTWARE AND IGOV WAS GIVING IT AWAY.

11:43AM   10      Q.   AND IN ADDITION TO THE BINARIES, WERE THERE ANY OTHER

11:43AM   11      CHANGES IN THE WAY THAT IGOV IS COMPETING OR STARTING TO

11:43AM   12      COMPETE WITH NEO4J?

11:43AM   13      A.   YES.    THEY WERE SELLING SERVICES AS WELL.

11:43AM   14      Q.   AND DID THEY MAKE ANY CHANGES TO THEIR SOFTWARE AT THAT

11:43AM   15      TIME?

11:43AM   16      A.   YES, THEY DID.   AS A MATTER OF FACT, I BELIEVE -- YEAH,

11:43AM   17      THIS WAS WHEN ONGDB WAS CREATED AND THEY STARTED DISTRIBUTING

11:44AM   18      ONGDB, WHICH IS BASICALLY A PIRATED VERSION OF NEO4J.     THEY

11:44AM   19      MODIFIED THE LICENSE CODE AND REMOVED THE COMMONS CLAUSE, AND,

11:44AM   20      THAT'S RIGHT, THIS IS WHEN THEY -- THEY WERE DELIVERING A

11:44AM   21      PIRATED VERSION OF OUR SOFTWARE FOR FREE ALONG WITH SERVICES.

11:44AM   22      Q.   OKAY.   AND JUST TO BE CLEAR, WHAT DO YOU MEAN BY "PIRATED

11:44AM   23      SOFTWARE"?

11:44AM   24      A.   WELL, THEY STARTED WITH NEO4J LICENSED SOFTWARE, THEY

11:44AM   25      MODIFIED THE LICENSE, AND COMPILED IT IN STRANGE WAYS AND



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11:44AM    1      DELIVERED IT TO CUSTOMERS TELLING THEM THAT IT WAS A FREE

11:44AM    2      DROP-IN REPLACEMENT FOR NEO4J ENTERPRISE EDITION.      IT DIDN'T

11:44AM    3      HAVE A PROPER LICENSE.       I CALL THAT PIRATED.

11:45AM    4      Q.   AND THEN IF YOU WOULD TURN TO EXHIBIT 89.

11:45AM    5           DO YOU RECOGNIZE EXHIBIT 89?

11:45AM    6      A.   I DO.

11:45AM    7      Q.   AND WHAT IS EXHIBIT 89?

11:45AM    8      A.   IT'S A LATER VERSION OF THE IGOV WEBSITE WHERE THEY ARE

11:45AM    9      INDICATING THAT THEY SUPPORT ONGDB ENTERPRISE, WHICH IS THE

11:45AM   10      PIRATED VERSION OF NEO4J ENTERPRISE EDITION THAT I MENTIONED.

11:45AM   11                   MR. RATINOFF:    I'D LIKE TO MOVE EXHIBIT 89 INTO

11:45AM   12      EVIDENCE.

11:45AM   13                   MR. BEENE:   NO OBJECTION.

11:45AM   14                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:45AM   15           (PLAINTIFFS' EXHIBIT 89 WAS RECEIVED IN EVIDENCE.)

11:45AM   16      BY MR. RATINOFF:

11:45AM   17      Q.   AND YOU MENTIONED ONGDB.      WHETHER WAS ONGDB -- I'M SORRY.

11:46AM   18      DID YOU LOOK AT THE SOFTWARE ON ONGDB?

11:46AM   19      A.   I DID.    I LOOKED AT THE SOURCE CODE ON GITHUB.

11:46AM   20      Q.   AND WHAT DID YOU FIND?

11:46AM   21      A.   I FOUND THAT THE COMMONS CLAUSE WAS REMOVED FROM THE

11:46AM   22      LICENSE.    SO IT WAS VERSION 3.4 OF NEO4J ENTERPRISE EDITION,

11:46AM   23      BUT INSTEAD OF HAVING THE PROPER NEO4J AGPL PLUS COMMENTS

11:46AM   24      CLAUSE LICENSE, IT JUST HAD THE STANDARD AGPL LICENSE.

11:46AM   25      Q.   AND THEN MOVING ON TO NEO4J 4.5, WE TALKED ABOUT THAT A



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11:46AM    1      LITTLE BIT EARLIER?

11:46AM    2      A.   UH-HUH.

11:46AM    3      Q.   AND IF YOU WOULD GO AHEAD -- I WON'T TEST YOU ON THE DATE.

11:46AM    4      IF YOU WOULD GO AHEAD AND TURN TO EXHIBIT 6, AND I BELIEVE THIS

11:46AM    5      HAS ALREADY BEEN ADMITTED.

11:46AM    6      A.   YES, NOVEMBER 2018.

11:46AM    7      Q.   OKAY.    SO AT THAT TIME, AND -- STRIKE THAT.

11:47AM    8           ANY TIME AFTER THAT, DID YOU CONTINUE TO VIEW IGOV AS A

11:47AM    9      COMPETITOR?

11:47AM   10      A.   YES.

11:47AM   11      Q.   AND WHY IS THAT?

11:47AM   12      A.   WELL, THEY CONTINUED TO DISTRIBUTE ONGDB AND SELL SERVICES

11:47AM   13      ON ONGDB, BUT THEY WENT FROM ONGDB 3.4 TO ONGDB 3.5, WHICH

11:47AM   14      REALLY SHOULDN'T HAVE BEEN POSSIBLE BECAUSE 3.5, REMEMBER, WAS

11:47AM   15      WHEN WE MOVED TO THE FULLY PROPRIETARY CLOSED SOURCE MODEL FOR

11:47AM   16      THE NEO4J ENTERPRISE EDITION.

11:47AM   17           SO WHEN I SAW THAT IGOV WAS CONTINUING TO DISTRIBUTE

11:47AM   18      NEO4J ENTERPRISE EDITION WITH A 3.5 VERSION, I WAS SURPRISED

11:47AM   19      AND DISAPPOINTED OF COURSE.       IT SHOULDN'T HAVE BEEN POSSIBLE.

11:48AM   20           SO I WENT BACK TO GITHUB AND LOOKED AT THE SOURCE CODE

11:48AM   21      AND FOUND THAT IT WAS SORT OF A MISHMASH OF NEO4J'S VERSIONS

11:48AM   22      PUT TOGETHER AND CALLED ONGDB 3.5.5 WITH AN AGPL LICENSE.

11:48AM   23      Q.   AND YOU SAID IT WAS 3.5.5?      DID YOU SAY IT WAS ONGDB

11:48AM   24      3.5.5?

11:48AM   25      A.   YES.



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11:48AM    1      Q.   AND DID NEO4J HAVE A RELEASE OF NEO4J ENTERPRISE WITH THE

11:48AM    2      VERSION NUMBER 3.5.5?

11:48AM    3      A.   YES, WE DID.

11:48AM    4      Q.   AND THEN IF YOU WOULD GO AHEAD AND PLEASE TURN TO

11:48AM    5      EXHIBIT 91.    I'LL GIVE YOU A SECOND, I'M SORRY.

11:49AM    6      A.   I'M THERE.

11:49AM    7      Q.   OKAY.    DO YOU RECOGNIZE EXHIBIT 91?

11:49AM    8      A.   YES, I DO.

11:49AM    9      Q.   AND WHAT IS EXHIBIT 91?

11:49AM   10      A.   IT'S IGOV'S WEBSITE FROM MARCH OF 2019 ANNOUNCING THAT

11:49AM   11      ONGDB ENTERPRISE 3.5.5 IS READY FOR PRODUCTION.

11:49AM   12                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 91 INTO

11:49AM   13      EVIDENCE.

11:49AM   14                   MR. BEENE:   NO OBJECTION.

11:49AM   15                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:49AM   16           (PLAINTIFFS' EXHIBIT 91 WAS RECEIVED IN EVIDENCE.)

11:49AM   17      BY MR. RATINOFF:

11:49AM   18      Q.   IS THIS WHERE YOU LEARNED ABOUT ONGDB 3.5.5?

11:49AM   19      A.   YES.

11:49AM   20      Q.   AND I THINK YOU ALREADY TESTIFIED.      WHAT DID YOU DO AFTER

11:49AM   21      YOU SAW THIS WEBSITE?

11:49AM   22      A.   I DON'T RECALL.      I'M NOT SURE WHAT YOU'RE ASKING.

11:50AM   23      Q.   I APOLOGIZE.    YOU MENTIONED EARLIER THAT YOU WENT TO

11:50AM   24      GITHUB?

11:50AM   25      A.   OH, YES.



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11:50AM    1      Q.   AND WHAT PROMPTED YOU TO GO TO GITHUB?

11:50AM    2      A.   WELL, THIS IS A LITTLE DIFFERENT HERE THAN THE PREVIOUS

11:50AM    3      PIRATED VERSION OF THE SOFTWARE BECAUSE IT SAYS RIGHT HERE

11:50AM    4      ONGDB 3.5.5 IS NEO4J 3.5.5 CORE PLUS THE ENTERPRISE FEATURES

11:50AM    5      THAT NEO4J, INC., REMOVED FROM THE CODE BASE AS OF VERSION 3.5.

11:50AM    6           SO I TOOK THAT TO MEAN THE NEO4J 3.5.5 CORE, I TOOK THAT

11:50AM    7      TO MEAN THE NEO4J COMMUNITY EDITION 3.5.5, PLUS THE ENTERPRISE

11:51AM    8      FEATURES THAT WE REMOVED FROM THE CODE BASE AS OF 3.5.

11:51AM    9           WHAT I TOOK THIS TO MEAN WAS THAT SINCE NEO4J WAS NO

11:51AM   10      LONGER PUBLISHING SOURCE CODE FOR THE NEO4J ENTERPRISE EDITION

11:51AM   11      FEATURES AS OF 3.5, MR. SUHY SOMEHOW WAS TAKING FEATURES,

11:51AM   12      SOURCE CODE THAT WASN'T PART OF 3.5.5 AND COMPILING IT WITH THE

11:51AM   13      COMMUNITY EDITION 3.5.5 TO CREATE HIS NEWEST PIRATED VERSION OF

11:51AM   14      NEO4J WHICH HE WAS STILL CALLING A DROP-IN REPLACEMENT FOR

11:51AM   15      NEO4J ENTERPRISE EDITION.

11:51AM   16      Q.   AND WAS ONGDB A PROBLEM FOR YOU IN SELLING TO GOVERNMENT

11:52AM   17      AGENCIES?

11:52AM   18      A.   YES, IT WAS.

11:52AM   19      Q.   AND HOW IS IT A PROBLEM?

11:52AM   20      A.   WELL, GOVERNMENT CUSTOMERS WHO BECAME AWARE OF ONGDB, THEY

11:52AM   21      HAD A CHOICE OF PURCHASING THE NEO4J SUBSCRIPTION AS A COST

11:52AM   22      FROM NEO4J, INC., OR -- AND PURCHASING NEO4J SUPPORT AND

11:52AM   23      SERVICES FROM NEO4J, INC., OR GETTING THE FREE PIRATED VERSION

11:52AM   24      FROM IGOV ALONG WITH SERVICES FROM MR. SUHY.

11:52AM   25           AND, YOU KNOW, SOME PEOPLE IN THE GOVERNMENT LIKE IT FREE.



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11:52AM    1      WHO WOULDN'T?

11:52AM    2             SO IT MADE MY JOB A LITTLE MORE DIFFICULT IN CERTAIN

11:52AM    3      CASES.

11:53AM    4                  MR. RATINOFF:   YOUR HONOR, I'M IN A PLACE WHERE I

11:53AM    5      CAN STOP OR IF WE PROCEED, I'LL PROBABLY NEED AT LEAST ANOTHER

11:53AM    6      HALF HOUR OR 45 MINUTES OR SO?

11:53AM    7                  THE COURT:   WELL, I THOUGHT WE WOULD GO TO THE

11:53AM    8      BOTTOM OF THE HOUR JUST TO CAPTURE SOME --

11:53AM    9                  MR. RATINOFF:   -- LOST TIME?

11:53AM   10                  THE COURT:   YES.   SO WHY DON'T WE DO THAT.   WE'LL

11:53AM   11      BREAK ABOUT 12:30 FOR LUNCH.

11:53AM   12                  MR. RATINOFF:   OKAY.

11:53AM   13      Q.     AND ARE YOU FAMILIAR WITH A DIVISION AT THE IRS WITH THE

11:53AM   14      ACRONYM RAAS?

11:53AM   15      A.     YES, I AM.

11:53AM   16      Q.     AND WHAT IS YOUR UNDERSTANDING OF RAAS?

11:53AM   17      A.     RESEARCH, APPLIED ANALYTICS, AND STATISTICS.

11:53AM   18      Q.     AND HOW IS THAT OR WHAT IS THAT IN TERMS OF BEING AT THE

11:53AM   19      IRS?

11:53AM   20      A.     WELL, TO ME, RAAS WAS THE GROUP THAT HAD BEEN USING NEO4J.

11:53AM   21      SINCE PRIOR TO MY ARRIVAL AT NEO4J IN 2016, THEY HAD BEEN USING

11:54AM   22      NEO4J COMMUNITY EDITION.

11:54AM   23             AND THEN THEY, IN 2017, THEY BEGAN USING, YOU KNOW, THE

11:54AM   24      VARIOUS PIRATED VERSIONS OF NEO4J ENTERPRISE VERSION THAT

11:54AM   25      MR. SUHY PROVIDED TO THEM.



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11:54AM    1      Q.   AND THEN YOU MENTIONED BEFORE YOUR ARRIVAL.     DID YOU HAVE

11:54AM    2      ANY PRIOR KNOWLEDGE OF WHAT RAAS WAS BEFORE COMING TO NEO4J?

11:54AM    3      A.   NO, I DIDN'T.

11:54AM    4      Q.   SO YOU LEARNED ABOUT RAAS THROUGH YOUR WORK AT NEO4J?

11:54AM    5      A.   CORRECT.

11:54AM    6      Q.   NOW, I THINK WE ALREADY DISCUSSED THE CKGE AND WHAT IT

11:54AM    7      MEANS?

11:54AM    8      A.   YES.

11:54AM    9      Q.   AND HOW DOES THE CKGE RELATE TO RAAS?

11:54AM   10      A.   RAAS WAS THE ORGANIZATION AT THE IRS THAT WAS RESPONSIBLE

11:54AM   11      FOR THE CKGE PROGRAM.

11:54AM   12      Q.   AND I BELIEVE WE SAW THAT PROGRAM MENTIONED IN THE PROTEST

11:55AM   13      THAT WE LOOKED AT EARLIER; CORRECT?

11:55AM   14      A.   CORRECT.

11:55AM   15      Q.   AND WHAT ENDED UP HAPPENING WITH THAT PROTEST?

11:55AM   16      A.   WELL, WE WON THE PROTEST AND THE IRS, RAAS TEAM, HAD TO

11:55AM   17      WORK WITH THEIR PROCUREMENT FOLKS TO GO BACK AND REWORK THE

11:55AM   18      SOLICITATION THAT WAS FAULTY AS INDICATED BY THE FACT THAT WE

11:55AM   19      WON THE PROTEST.

11:55AM   20           AND THEN IN I BELIEVE IT WAS MAY OF 2018 I CAME ACROSS A

11:55AM   21      PRE-SOLICITATION NOTICE OR INTENT TO AWARD A SOLE SOURCE

11:55AM   22      CONTRACT FOR THE CKGE PROGRAM TO A COMPANY CALLED EGOVERNMENT

11:55AM   23      SOLUTIONS.

11:56AM   24      Q.   AND, AGAIN, WHERE DID YOU LEARN ABOUT THE SOLICITATION?

11:56AM   25      A.   IT WAS PUBLICALLY POSTED ON THE INTERNET.



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11:56AM    1      Q.   THROUGH ONE OF THE SITES THAT YOU MENTIONED EARLIER THAT

11:56AM    2      YOU MONITOR?

11:56AM    3      A.   THAT'S CORRECT.

11:56AM    4      Q.   AND DO YOU KNOW WHO EGOVERNMENT SOLUTIONS IS?

11:56AM    5      A.   I DO.

11:56AM    6      Q.   AND WHO IS EGOVERNMENT SOLUTIONS?

11:56AM    7      A.   IT'S ANOTHER BUSINESS ENTITY OR COMPANY THAT MR. SUHY WAS

11:56AM    8      INVOLVED IN AT THE TIME.

11:56AM    9      Q.   AND HOW DID YOU COME TO LEARN THAT?

11:56AM   10      A.   WELL, WHEN I SAW THE PRE-SOLICITATION NOTICE, I BELIEVE I,

11:56AM   11      YOU KNOW, WENT TO GOOGLE AND SEARCHED EGOVERNMENT SOLUTIONS.

11:56AM   12      Q.   AND ONCE YOU SAW THAT SOLICITATION, WHAT DID YOU DO?

11:56AM   13      A.   WELL, THE FIRST THING I WOULD HAVE DONE WOULD HAVE BEEN TO

11:57AM   14      BROUGHT IT TO THE ATTENTION OF MY LEADERSHIP, AND WE HAD SOME

11:57AM   15      DISCUSSIONS ON HOW TO PROCEED, AND WE DECIDED THAT I WOULD SEND

11:57AM   16      A LETTER VIA EMAIL TO MIKE DUNN, MICHAEL DUNN, D-U-N-N, WHO WAS

11:57AM   17      THE TECHNICAL LEAD AT RAAS ON THE CKGE PROGRAM.

11:57AM   18      Q.   AND WHY WOULD YOU SEND AN EMAIL TO MR. DUNN?

11:57AM   19      A.   I WANTED TO MAKE SURE THAT MR. DUNN AND HIS LEADERSHIP

11:57AM   20      WERE AWARE OF THE NEW LICENSING MODEL FOR NEO4J 3.4 WITH THE

11:57AM   21      COMMONS CLAUSE AND NEO4J'S BELIEF THAT THEIR SOLICITATION WOULD

11:58AM   22      REQUIRE THEIR CONTRACTORS TO VIOLATE THE COMMONS CLAUSE.

11:58AM   23      Q.   WHAT DO YOU MEAN BY VIOLATE THE COMMONS CLAUSE?

11:58AM   24      A.   WELL, THE COMMONS CLAUSE PREVENTED THIRD PARTY COMPANIES

11:58AM   25      FROM PROVIDING PAID SERVICES ON NEO4J VERSION 3.4.     SO THE



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11:58AM    1      WHOLE POINT OF THE SOLICITATION IN MAY OF 2018 WAS TO GET A

11:58AM    2      CONTRACTOR TO PROVIDE SERVICES ON NEO4J ENTERPRISE FOR THE CKGE

11:58AM    3      PROGRAM.

11:58AM    4           SO I THOUGHT THE IRS WOULD WANT TO BE AWARE OF THE

11:58AM    5      CONFLICT THERE.

11:58AM    6      Q.   AND YOU MENTIONED AN EMAIL?

11:58AM    7      A.   YES.

11:58AM    8      Q.   AND DID YOU SEND AN EMAIL TO MR. DUNN?

11:59AM    9      A.   I DID, YES.

11:59AM   10      Q.   AND COULD YOU GO AHEAD AND TURN TO EXHIBIT 126.

11:59AM   11           DO YOU RECOGNIZE EXHIBIT 126?

11:59AM   12      A.   YES.

11:59AM   13      Q.   AND IS THIS THE EMAIL YOU WERE REFERRING TO?

11:59AM   14      A.   YES, THIS IS THE EMAIL I WAS REFERRING TO, YES.

11:59AM   15                  MR. RATINOFF:   I WOULD LIKE TO MOVE EXHIBIT 126 INTO

11:59AM   16      EVIDENCE.

11:59AM   17                  THE COURT:   ANY OBJECTION?

11:59AM   18                  MR. BEENE:   OH, I'M SORRY.   NO OBJECTION.

11:59AM   19                  THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

11:59AM   20           (PLAINTIFFS' EXHIBIT 126 WAS RECEIVED IN EVIDENCE.)

11:59AM   21      BY MR. RATINOFF:

11:59AM   22      Q.   IT'S A LONG EMAIL.     WHAT -- I THINK YOU TALKED ABOUT WHAT

11:59AM   23      YOUR INTENT WAS, BUT WHAT WAS THE HIGH LEVEL SUBSTANCE OF THIS

11:59AM   24      EMAIL?

11:59AM   25      A.   WELL, WHAT I ALREADY MENTIONED IS ON PAGE 2 OF THE EMAIL



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11:59AM    1      WHERE I EXPLAINED, POINT OUT THE COMMONS CLAUSE AND EXPLAIN

12:00PM    2      WHAT IT IS ALL ABOUT.

12:00PM    3           I ALSO, I BELIEVE, EXPLAIN THAT WE BELIEVE THAT IT'S -- IT

12:00PM    4      WOULD BE IMPORTANT FOR THE IRS TO BE USING A SUPPORTED

12:00PM    5      NEO4J ENTERPRISE EDITION, COMMERCIALLY SUPPORTED, SO THAT THEY

12:00PM    6      CAN GET SUPPORT FROM NEO4J ALONG WITH NEW FEATURES AND

12:00PM    7      CAPABILITIES WHEN THEY'RE RELEASED, SECURITY UPDATES, SO ON AND

12:00PM    8      SO FORTH.

12:00PM    9      Q.   AND JUST OUT OF CURIOSITY, IF SOMEONE PURCHASED A LICENSE,

12:00PM   10      A COMMERCIAL LICENSE FOR NEO4J ENTERPRISE, WOULD THEY BE ABLE

12:01PM   11      TO GET SUPPORT FROM SOMEONE ELSE BESIDES NEO4J?

12:01PM   12      A.   YES.

12:01PM   13      Q.   AND GOING TO THE VERY END OF THIS EMAIL, DO YOU SEE THE

12:01PM   14      LAST PARAGRAPH, "WE ARE AVAILABLE TO DISCUSS THE LICENSE

12:01PM   15      CHANGES AND YOUR CURRENT SITUATION AT YOUR EARLIEST

12:01PM   16      CONVENIENCE"?

12:01PM   17      A.   YES.

12:01PM   18      Q.   DID THE IRS RESPOND TO THIS EMAIL?

12:01PM   19      A.   YES, THEY DID.

12:01PM   20      Q.   AND WHAT WAS THAT RESPONSE?

12:01PM   21      A.   I GOT A RESPONSE FROM LISA ROSENMERKEL, AND SHE SENT ME AN

12:01PM   22      EMAIL RESPONSE.

12:01PM   23      Q.   IF YOU WOULD GO AHEAD AND TURN TO EXHIBIT 127 -- I'M

12:02PM   24      SORRY, 128.   IT'S A LENGTHY EMAIL EXCHANGE, SO IF YOU WOULD

12:02PM   25      TAKE A BRIEF MOMENT AND LET ME KNOW WHEN YOU'VE HAD A CHANCE TO



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12:02PM    1      REVIEW IT.

12:02PM    2      A.   YES.    THIS IS THE EMAIL THAT I WAS REFERRING TO THAT

12:02PM    3      STARTS AT THE END WITH THE EMAIL THAT I WROTE TO MIKE DUNN, MY

12:02PM    4      FOLLOW-UP, AND LISA RESPONDING THAT THEY WOULD LIKE TO STICK

12:02PM    5      WITH VERSION 3.2 AT THE TIME BUT SHE INVITED US TO COME IN AND

12:03PM    6      PROVIDE A DEMO OF VERSION 3.4.

12:03PM    7      Q.   I'M GOING TO JUST STOP YOU RIGHT THERE.        I'M GOING TO GET

12:03PM    8      IN TROUBLE.    I JUST WANT TO MAKE SURE THAT I MOVE THIS INTO

12:03PM    9      EVIDENCE BEFORE WE GET YOUR TESTIMONY.

12:03PM   10      A.   SURE.

12:03PM   11                   MR. RATINOFF:   I WANT TO GO AHEAD AND MOVE

12:03PM   12      EXHIBIT 128 INTO EVIDENCE.

12:03PM   13                   MR. BEENE:   NO OBJECTION.

12:03PM   14                   THE COURT:   IT'S ADMITTED.

12:03PM   15           (PLAINTIFFS' EXHIBIT 128 WAS RECEIVED IN EVIDENCE.)

12:03PM   16      BY MR. RATINOFF:

12:03PM   17      Q.   I APOLOGIZE FOR INTERRUPTING.        YOU WERE TALKING ABOUT

12:03PM   18      MOVING TO VERSION NEO4J ENTERPRISE 3.4?

12:03PM   19      A.   YEAH.    SO LISA'S RESPONSE WAS BASICALLY THAT WE ARE

12:03PM   20      INTERESTED IN TALKING TO YOU, NEO4J, AND WE WOULD LIKE TO

12:03PM   21      INVITE YOU TO COME IN AND PRESENT AND DEMO YOUR VERSION 3.4.

12:03PM   22      Q.   OKAY.    DID YOU END UP DOWNLOADING 3.4 WITH THE IRS?

12:04PM   23      A.   YES, WE DID.

12:04PM   24      Q.   OKAY.    AND HOW DID THAT HAPPEN?

12:04PM   25      A.   SO IF YOU CONTINUE IN THE EMAIL, WHERE IT'S THE MAY 25TH



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12:04PM    1      EMAIL FROM ME TO LISA, I ACTUALLY SUGGESTED THAT WE HAVE TWO

12:04PM    2      MEETINGS, THAT WE HAVE A BUSINESS MEETING AND A TECHNICAL

12:04PM    3      MEETING.

12:04PM    4           AND SHE RESPONDED AT THE TOP BOTH MEETINGS WOULD BE GOOD.

12:04PM    5           AND WE EVENTUALLY GOT BOTH MEETINGS SCHEDULED, THE

12:04PM    6      BUSINESS MEETING AND THE TECHNICAL MEETING.

12:04PM    7      Q.   AND WHAT WAS THE PURPOSE OF THE BUSINESS MEETING?

12:04PM    8      A.   THE BUSINESS MEETING WAS TO ADDRESS THE NEW LICENSE MODEL

12:04PM    9      WITH THE COMMONS CLAUSE, MAKE SURE THAT THEY UNDERSTAND IT, AND

12:04PM   10      ALSO ENCOURAGE THEM TO PURCHASE THE COMMERCIALLY AVAILABLE

12:04PM   11      NEO4J ENTERPRISE EDITION.

12:05PM   12      Q.   AND WHICH ENTERPRISE EDITION WAS THAT?

12:05PM   13      A.   3.4.

12:05PM   14      Q.   AND APPROXIMATELY WHEN DID THAT BUSINESS MEETING TAKE

12:05PM   15      PLACE?

12:05PM   16      A.   IT WOULD HAVE BEEN LIKE THE FIRST WEEK OF JUNE.

12:05PM   17      Q.   AND WHO WAS AT THAT MEETING?

12:05PM   18      A.   IT WAS MYSELF; ONE OF MY COLLEAGUES; ON THE IRS SIDE IT

12:05PM   19      WAS LISA ROSENMERKEL, SHE WAS MIKE DUNN'S POSITION AND

12:05PM   20      ASSOCIATE DIRECTOR OF DMD, WHICH IS THE DATA MANAGEMENT

12:05PM   21      DIVISION OF RAAS; AND HER BOSS, JEFF BUTLER, WHO WAS THE

12:05PM   22      DIRECTOR OF THE DATA MANAGEMENT DIVISION, DMD.

12:05PM   23      Q.   AND AGAIN, HOW DOES THE DMD RELATE TO RAAS?

12:05PM   24      A.   IT'S THE DIVISION WITHIN RAAS WHICH WAS RESPONSIBLE FOR

12:06PM   25      THE CKGE.



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12:06PM    1      Q.   AND THEN YOU MENTIONED A TECHNICAL MEETING.     WHAT WAS THE

12:06PM    2      PURPOSE OF THE TECHNICAL MEETING?

12:06PM    3      A.   THE TECHNICAL MEETING IS WHAT LISA ORIGINALLY REQUESTED

12:06PM    4      AND AS FOLLOW-UP TO MY EMAIL FOR NEO4J TO PRESENT THE FEATURES,

12:06PM    5      BENEFITS, AND CAPABILITIES OF NEO4J VERSION 3.4.

12:06PM    6           AND FROM OUR PERSPECTIVE IT WAS ALSO TO GATHER

12:06PM    7      REQUIREMENTS FROM THE RAAS TEAM SO THEY COULD PROVIDE A QUOTE

12:06PM    8      SO WE COULD MAKE A PURCHASE.

12:06PM    9      Q.   AND I ASSUME THAT TOOK PLACE?

12:06PM   10      A.   YES, IT DID.

12:06PM   11      Q.   AND WHEN DID IT TAKE PLACE?

12:06PM   12      A.   THE TECHNICAL MEETING WAS IN THE MIDDLE OF JULY.

12:07PM   13      Q.   AND DO YOU RECALL WHO WAS IN ATTENDANCE AT THAT MEETING?

12:07PM   14      A.   ON THE NEO4J SIDE IT WAS DEFINITELY ME AND OUR PRODUCT

12:07PM   15      VICE PRESIDENT, PHILIP RATHLE.

12:07PM   16           THERE MAY HAVE BEEN -- MY SELLS ENGINEER MAY HAVE BEEN

12:07PM   17      THERE.   THERE MIGHT HAVE BEEN SOMEONE ELSE FROM NEO4J, BUT I

12:07PM   18      DON'T RECALL.

12:07PM   19           ON THE IRS SIDE, LISA ROSENMERKEL WAS THERE; MIKE DUNN WAS

12:07PM   20      THERE.   I REMEMBER THERE WAS A FAIRLY BIG TABLE, SO THERE WERE

12:07PM   21      A BUNCH OF PEOPLE THERE THAT I DON'T RECALL.

12:07PM   22           I DO RECALL THAT JEFF BUTLER WAS NOT THERE.     HE WAS OUT OF

12:07PM   23      TOWN, AND HE COULD NOT MAKE IT.     I REMEMBER THAT BECAUSE LISA

12:07PM   24      HAD TO, YOU KNOW, GET THE SLIDES AND SHARE IT WITH HIM SO THAT

12:07PM   25      WE COULD HAVE A FOLLOW-UP MEETING.



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12:08PM    1      Q.   AND WHAT HAPPENED AFTER THE CONCLUSION OF THAT MEETING?

12:08PM    2      A.   I REMEMBER THERE WAS SOME BACK AND FORTH ON THEIR

12:08PM    3      REQUIREMENTS FOR A QUOTE, AND WE PROVIDED A QUOTE FOR

12:08PM    4      NEO4J ENTERPRISE EDITION.

12:08PM    5      Q.   WOULD YOU PLEASE GO AHEAD AND TURN TO EXHIBIT 131.     AND

12:08PM    6      THIS IS ANOTHER EMAIL EXCHANGE.    SO FEEL FREE TO REVIEW IT

12:08PM    7      QUICKLY OR SLOWLY, WHATEVER IS COMFORTABLE FOR YOU, AND LET ME

12:08PM    8      KNOW WHEN YOU'VE FINISHED.

12:08PM    9      A.   SO I'M STARTING FROM THE BACK AND --

12:08PM   10      Q.   BEFORE WE GET INTO THE DETAILS, I JUST WANT TO MAKE SURE.

12:08PM   11      A.   YES.

12:08PM   12      Q.   I'M TRYING TO STAY OUT OF TROUBLE, SO LET'S JUST START

12:08PM   13      WITH DO YOU RECOGNIZE THIS EXHIBIT?

12:08PM   14      A.   YES.

12:08PM   15      Q.   AND WHAT -- AT A HIGH LEVEL, WHAT IS IT?

12:08PM   16      A.   THIS IS AN EMAIL EXCHANGE BETWEEN LISA ROSENMERKEL AND

12:09PM   17      MYSELF.

12:09PM   18      Q.   AND THIS IS THE -- I'M SORRY, STRIKE THAT.

12:09PM   19           I WOULD LIKE TO GO AHEAD AND MOVE EXHIBIT 131 INTO

12:09PM   20      EVIDENCE.

12:09PM   21                  THE COURT:   ANY OBJECTION?

12:09PM   22                  MR. BEENE:   NO OBJECTION.

12:09PM   23                  THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

12:09PM   24           (PLAINTIFFS' EXHIBIT 131 WAS RECEIVED IN EVIDENCE.)

12:09PM   25      BY MR. RATINOFF:



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12:09PM    1      Q.   ALL RIGHT.   LET'S GO AND WE CAN START WHERE YOU WANTED TO

12:09PM    2      START FROM, WHICH I BELIEVE IS TOWARDS THE END?

12:09PM    3      A.   YES.   SO THIS IS THE EMAIL EXCHANGE THAT I HAD RECALLED

12:09PM    4      AND MENTIONED PREVIOUSLY.

12:09PM    5           AT THE END IT STARTS WITH THE CALENDAR INVITE FOR THE

12:09PM    6      JULY 16TH, 2018, TECHNICAL MEETING.

12:09PM    7      Q.   ALL RIGHT.   SO THAT'S THE DATE THAT THE MEETING OCCURRED?

12:09PM    8      A.   YES.

12:09PM    9      Q.   AND THEN YOU PREVIOUSLY MENTIONED A QUOTE.

12:09PM   10           DO YOU RECOGNIZE THE EMAIL THAT IS DATED JULY 18TH, 2018,

12:09PM   11      AT 4:19 P.M. FROM YOURSELF?

12:09PM   12      A.   YES.   THAT WAS IN RESPONSE TO LISA'S EMAIL BELOW WHERE SHE

12:10PM   13      CLARIFIED THE REQUIREMENTS FOR PRICING.

12:10PM   14           AND I RESPONDED WITH AN EXPLANATION OF HOW I WOULD PROVIDE

12:10PM   15      THEM PRICING FOR A NON-STANDARD CONFIGURATION AND WHAT THAT

12:10PM   16      PRICING WOULD BE.

12:10PM   17      Q.   WHAT DO YOU MEAN BY NON-STANDARD CONFIGURATION?

12:10PM   18      A.   WE HAVE -- SO WE LICENSE OR WE SELL OUR PRODUCT AS A

12:10PM   19      SUBSCRIPTION WHICH INCLUDES LICENSE FOR PRODUCTION MACHINES,

12:10PM   20      FOR TEST AND DEVELOPMENT MACHINES, IT INCLUDES SUPPORT, AND

12:10PM   21      EACH SUBSCRIPTION -- WE HAVE A LIST OF STANDARD SUBSCRIPTION

12:11PM   22      THAT WE TELL THAT HAVE A NUMBER OF PRODUCTION AND TEST MACHINES

12:11PM   23      AND A NUMBER OF CORES, CPU CORES AND MEMORY PER MACHINE.

12:11PM   24           SO WE HAVE DIFFERENT SUBSCRIPTION BUNDLES, THINGS LIKE

12:11PM   25      DISCOVERY BUNDLE, ENTERPRISE BUNDLE AND SO ON.



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12:11PM    1           SO THEIR REQUIREMENT DIDN'T FIT WELL INTO ANY OF OUR

12:11PM    2      STANDARD SUBSCRIPTION BUNDLES.

12:11PM    3           SO WHAT I DID IS I TOOK OUR ENTERPRISE BUNDLE, WHICH IS

12:11PM    4      NORMALLY A THREE MACHINE BUNDLE THAT PROVIDES FOR CLUSTERING,

12:11PM    5      BUT THEY DIDN'T HAVE A REQUIREMENT AT THE TIME FOR A CLUSTER OF

12:11PM    6      THREE MACHINES.   THEY JUST WANTED TO HAVE A SINGLE MACHINE FOR

12:11PM    7      PRODUCTION.

12:11PM    8           AND -- BUT THEIR MACHINE -- WE HAD A BUNDLE CALLED THE

12:12PM    9      DISCOVERY BUNDLE AT THAT TIME WHICH ONLY ALLOWED FOR 4 CPU

12:12PM   10      CORES AND 64 GIGABYTES OF MEMORY AND DIDN'T ALLOW FOR WHAT THEY

12:12PM   11      HAD, WHICH WAS MORE THAN 4 CORES AND 64 GIGABYTES OF MEMORY.

12:12PM   12           WHAT THEY HAD WAS 300 GIGABYTES OF MEMORY IN THEIR CURRENT

12:12PM   13      SYSTEM OR 300 GIGABYTES OF DATA IN THEIR CURRENT SYSTEM, AND

12:12PM   14      OUR ENTERPRISE BUNDLE ALLOWED FOR UP TO 256 GIGABYTES OF

12:12PM   15      MEMORY.

12:12PM   16           SO WHAT WE DID AS THE PRICE LISTED AT THE TIME ALLOWED FOR

12:12PM   17      IS WE STACKED 2 MACHINE LICENSES OF 24 CORES AND 256 ON TOP OF

12:13PM   18      EACH OTHER, SO IT WOULD GIVE THEM A LICENSE FOR ONE MACHINE

12:13PM   19      WITH 48 CORES AND 512 GIGABYTES OF RAM.

12:13PM   20      Q.   AND WHY DID YOU COME UP WITH THAT PARTICULAR BUNDLE?

12:13PM   21      A.   IT WOULD HAVE BEEN REALLY HIGH PRICE TAG THAT I DIDN'T

12:13PM   22      EXPECT THEM TO BE ABLE TO AFFORD AT THE TIME FOR A FULL

12:13PM   23      ENTERPRISE BUNDLE.   SO WE CAME UP WITH SOMETHING NON-STANDARD

12:13PM   24      IN ORDER TO CLOSELY MATCH THEIR NEEDS AND THEIR EXPECTED BUDGET

12:13PM   25      BECAUSE LISA SHARED AT THE TIME THAT THEY DIDN'T HAVE A



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12:13PM    1      SIGNIFICANT BUDGET FOR THIS, AND THEY WANTED SOMETHING SMALL TO

12:13PM    2      START WITH.

12:13PM    3      Q.   AND THEN WHAT HAPPENED AFTER YOU PROVIDED THAT QUOTE?

12:13PM    4      A.   AFTER I PROVIDED THE QUOTE, I'M LOOKING AT THE EMAIL THAT

12:14PM    5      LISA FORWARDED TO JEFF, JEFF BUTLER TO REVIEW, I FOLLOWED UP

12:14PM    6      AGAIN AND FOLLOWED UP AGAIN.

12:14PM    7           AND EVENTUALLY AT THE TOP SHE RESPONDED THANKING ME FOR

12:14PM    8      THE QUOTE OR THE PRICING AND INDICATED THAT IT WAS USEFUL FOR

12:14PM    9      PLANNING PURPOSES BUT LOOKING AT THEIR OPTIONS AND THEIR

12:14PM   10      CURRENT BUDGET, THEY HAD DECIDED NOT TO MAKE A PURCHASE AT THAT

12:14PM   11      TIME.

12:14PM   12      Q.   AND WHAT WAS YOUR REACTION TO LISA'S EMAIL OF JULY 27,

12:14PM   13      2018?

12:14PM   14      A.   MY REACTION WAS OBVIOUSLY DISAPPOINTED BECAUSE I FELT LIKE

12:15PM   15      I HAD BUILT A DECENT RAPPORT WITH LISA AND SHE SEEMED TO

12:15PM   16      UNDERSTAND THINGS.

12:15PM   17           AND I FELT LIKE THEY WERE GOING TO DO WHAT WAS IN MY

12:15PM   18      OPINION THE RIGHT THING AND MAKE A PURCHASE.

12:15PM   19           BUT, YOU KNOW, LOOKING AT THE EMAIL WHERE SHE SAYS

12:15PM   20      CONSIDERING OUR OPTIONS AND OUR BUDGET, I TOOK THAT TO MEAN,

12:15PM   21      WELL, I COULD MAKE A PURCHASE FROM YOU NEO4J, OR I COULD USE

12:15PM   22      THE FREE PIRATED VERSION OF NEO4J ONGDB OR WHATEVER VERSION OF

12:15PM   23      NEO4J ENTERPRISE EDITION THAT JOHN MARK SUHY WAS PROVIDING THEM

12:15PM   24      AT THE TIME.

12:15PM   25      Q.   DID YOU SUSPECT JOHN MARK SUHY HAD PROVIDED ONGDB TO THE



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12:15PM    1      IRS?

12:15PM    2      A.     WELL, LOOKING AT THE DATE, I THINK THIS WAS LIKE LITERALLY

12:15PM    3      JUST BEFORE ONGDB WAS RELEASED, BUT I WAS AWARE THAT HE WAS

12:16PM    4      PROVIDING NEO4J ENTERPRISE EXECUTABLES TO THE IRS BASED ON

12:16PM    5      VERSION 3.2, NEO4J ENTERPRISE 3.2 BECAUSE THAT'S WHAT THEY WERE

12:16PM    6      COMPARING.    THAT'S WHAT THEY -- I MEAN, SHE WAS TELLING ME,

12:16PM    7      WELL, YOU KNOW, PREVIOUSLY IN THE EMAIL, SHE SAID, WELL, WE'RE

12:16PM    8      GOING TO, WE'RE PROBABLY GOING TO STICK WITH VERSION 3.2, MAYBE

12:16PM    9      IT WAS THE PREVIOUS EMAIL, NEO4J ENTERPRISE 3.2, BUT WE'LL LOOK

12:16PM   10      AT 3.4 FOR PLANNING PURPOSES.

12:16PM   11             SO I KNEW THEY WERE USING NEO4J ENTERPRISE 3.2 AND THAT

12:16PM   12      MR. SUHY HAD PROVIDED IT.

12:16PM   13      Q.     AND YOU PREVIOUSLY MENTIONED USING RESELLERS; IS THAT

12:17PM   14      CORRECT?

12:17PM   15      A.     THAT'S CORRECT.

12:17PM   16      Q.     AND HAD THEY ACCEPTED THAT QUOTE, WOULD YOU HAD USED A

12:17PM   17      RESELLER?

12:17PM   18      A.     YES, WE DO ALL OF OUR BUSINESS WITH THE FEDERAL GOVERNMENT

12:17PM   19      THROUGH RESELLERS.

12:17PM   20      Q.     AND WHY IS THAT?

12:17PM   21      A.     IT'S -- FRANKLY, IT'S EASIER AND LESS RISKY FOR A SOFTWARE

12:17PM   22      COMPANY TO WORK WITH RESELLERS THAN HAVE TO DEAL WITH THE

12:17PM   23      FEDERAL GOVERNMENT AND THEIR COMPLICATED PROCUREMENT PROCESS

12:17PM   24      AND THE FEDERAL ACQUISITION REGULATIONS AND ALL OF THAT.

12:17PM   25             SO IT'S COMMON IN THE SOFTWARE INDUSTRY FOR SOFTWARE



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12:17PM    1      VENDORS TO SELL THROUGH RESELLERS.

12:17PM    2      Q.   AND WAS NEO4J WORKING WITH A RESELLER OR RESELLERS AT THAT

12:17PM    3      TIME?

12:17PM    4      A.   LET'S SEE.    SO THIS WAS JULY OF 2018.   SO AT THE TIME WE

12:17PM    5      HAD JUST BROUGHT ON A RESELLER CALLED INTELLIPEAK IN MAY OF

12:17PM    6      2018.   INTELLIPEAK, I-N-T-E-L-L-I-P-E-A-K.

12:18PM    7      Q.   AND WOULD INTELLIPEAK, WOULD THEY HAVE RECEIVED A RESELLER

12:18PM    8      FEE IN CONJUNCTION WITH THAT TRANSACTION HAD IT GONE THROUGH?

12:18PM    9      A.   YES.   YES, THEY WOULD HAVE.   THEIR FEDERAL RESELLER

12:18PM   10      AGREEMENT WITH NEO4J INCLUDED A 7 PERCENT MARGIN OR DISCOUNT.

12:18PM   11      SO THEY WOULD HAVE GOTTEN 7 PERCENT OF THE 1 YEAR FEE OR THE

12:18PM   12      3 YEAR FEE, WHATEVER THE IRS DECIDED TO PURCHASE, THEY WOULD

12:18PM   13      HAVE GOTTEN 7 PERCENT OF THAT PRICE THAT THE IRS PAID TO THEM

12:18PM   14      AND THEY WOULD HAVE PAID US TO -- WHATEVER THE PRICE THAT THE

12:18PM   15      IRS PAID TO THEM LESS 7 PERCENT.

12:19PM   16      Q.   YOU MENTIONED PRICING STRUCTURE BY BUNDLES.     IS THERE A --

12:19PM   17      DOES NEO4J HAVE POLICIES THAT SET THE PRICES FOR THOSE BUNDLES?

12:19PM   18      A.   YES, WE DO.

12:19PM   19      Q.   AND HOW ARE THOSE POLICIES COMMUNICATED TYPICALLY?

12:19PM   20      A.   WE HAVE AN INTERNAL NEO4J PRICE LIST.

12:19PM   21      Q.   SO AT THIS TIME I'M GOING TO INTRODUCE AN EXHIBIT.      THIS

12:19PM   22      IS AN EXHIBIT THAT WAS DESIGNATED ATTORNEYS' EYES ONLY, AND WE

12:19PM   23      WISH TO MAINTAIN THAT DESIGNATION.

12:19PM   24           SO I'VE ASKED ONCE IT'S SUBMITTED, THAT WE KEEP IT FROM

12:19PM   25      PUBLIC DISPLAY.



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12:19PM    1                 THE COURT:    IT WON'T BE PUBLISHED.

12:19PM    2           WHAT IS THE EXHIBIT NUMBER?

12:19PM    3                 MR. RATINOFF:    I'M GOING TO START WITH TRIAL

12:19PM    4      EXHIBIT 16.

12:19PM    5           AND THE NEXT, I BELIEVE, FOUR SUCCESSIVE EXHIBITS I

12:19PM    6      BELIEVE ARE DESIGNATED AS AEO.

12:19PM    7                 THE COURT:    OKAY.

12:19PM    8                 MR. RATINOFF:    THE ONLY ISSUE IS THAT MR. SUHY IS AT

12:19PM    9      COUNSEL TABLE AND HE WOULD BE ABLE TO SEE IF COUNSEL IS ABLE TO

12:19PM   10      SEE THE DOCUMENT.

12:19PM   11           SO I KNOW THEY HAVE A BINDER WITH A PAPER VERSION.        IF

12:20PM   12      IT'S OKAY, IS THERE A WAY WE CAN TURN OFF THAT MONITOR SO THEY

12:20PM   13      CAN LOOK AT THE PAPER VERSION?

12:20PM   14                 THE COURT:    IS THAT OKAY WITH YOU COUNSEL?

12:20PM   15                 MR. BEENE:    IN YOUR AO -- I PULLED THEM ALL OUT OF

12:20PM   16      YOUR EXHIBITS BECAUSE I HAVE A SEPARATE BINDER ALREADY.

12:20PM   17                 MR. RATINOFF:    OKAY.

12:20PM   18                 MR. BEENE:    WHAT IS IT THAT YOU DON'T WANT HIM TO

12:20PM   19      LOOK AT, THE EXHIBIT THAT YOU SHOW?

12:20PM   20                 MR. RATINOFF:    CORRECT.    I JUST DON'T WANT IT

12:20PM   21      DISPLAYED ON THE SCREEN.

12:20PM   22                 MR. BEENE:    THAT'S FINE.   WE HAVE NOT SHOWN HIM ANY

12:20PM   23      OF THIS.

12:20PM   24                 MR. RATINOFF:    SO DOES IT MAKE MORE SENSE TO WORK

12:20PM   25      OFF PAPER THEN?



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12:21PM    1             (DISCUSSION OFF THE RECORD.)

12:21PM    2                     THE COURT:   THERE'S A MONITOR.

12:21PM    3      BY MR. RATINOFF:

12:21PM    4      Q.     ALL RIGHT.    LET'S GO AHEAD AND TURN BACK TO EXHIBIT 16.

12:21PM    5      A.     YES, I'M THERE.

12:21PM    6      Q.     OKAY.    DO YOU RECOGNIZE WHAT HAS BEEN MARKED AS

12:21PM    7      EXHIBIT 16?

12:21PM    8      A.     YES, I DO.

12:21PM    9      Q.     AND VERY BRIEFLY, WHAT IS EXHIBIT 16?

12:21PM   10      A.     THIS IS THE NEO4J INTERNAL PRICE LIST DATED OCTOBER 1,

12:21PM   11      2017.

12:21PM   12                     MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 16 IN

12:21PM   13      EVIDENCE.

12:22PM   14                     MR. BEENE:   NO OBJECTION.

12:22PM   15                     THE COURT:   IT'S ADMITTED.

12:22PM   16             (PLAINTIFFS' EXHIBIT 16 WAS RECEIVED IN EVIDENCE.)

12:22PM   17      BY MR. RATINOFF:

12:22PM   18      Q.     NOW, AT A MORE DETAIL LEVEL, WHAT IS EXHIBIT 16?

12:22PM   19      A.     WELL, THIS IS OUR PRICE LIST, WHICH WOULD HAVE BEEN USED

12:22PM   20      AT THE TIME OF THE DISCUSSIONS AND THE QUOTE, PRICING TO THE

12:22PM   21      IRS.

12:22PM   22             IT SHOWS THE VARIOUS BUNDLES LIKE I DESCRIBED.      IT SHOWS

12:22PM   23      THE ENTERPRISE BUNDLE, IT SHOWS THE DISCOVERY BUNDLE, IT SHOWS

12:22PM   24      SOME OTHER THINGS THAT WE WERE SELLING, INCLUDING SERVICES AT

12:22PM   25      THE TIME.



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12:22PM    1      Q.   AND JUST FOR THE RECORD, WHERE ARE YOU REFERRING TO THE

12:22PM    2      ENTERPRISE BUNDLE PAGE WAS?

12:22PM    3      A.   THAT WOULD BE PAGE 2 OF 14.

12:22PM    4      Q.   AND THEN YOU MENTION THAT WITH THE IRS THERE IS A PORTION

12:22PM    5      OF THIS BUNDLE THAT YOU BASE THE PRICING ON; IS THAT CORRECT?

12:22PM    6      A.   THAT'S CORRECT.

12:22PM    7      Q.   AND WHERE IS THAT IN THIS DOCUMENT?

12:22PM    8      A.   SO, AGAIN, SINCE THEY ONLY HAD ONE MACHINE IN THIS BUNDLE

12:23PM    9      STANDARD AND IT COMES WITH THREE MACHINES, I DIDN'T USE THE

12:23PM   10      PRICE FOR THE ENTIRE BUNDLE, I USED UNDER ADDITIONAL PRODUCTION

12:23PM   11      CAPACITY WHERE IT SAYS ADDITIONAL MACHINE LICENSES, I USED THE

12:23PM   12      PRICE FOR THE ADDITIONAL MACHINE LICENSES.

12:23PM   13           AND THEN IT SAYS MACHINE LICENSES CAN BE STACKED EITHER

12:23PM   14      VERTICALLY OR HORIZONTALLY.       SO I STACKED TWO OF THOSE MACHINE

12:23PM   15      LICENSES VERTICALLY TO GET TO THE 48 CORES AND 512 GIGABYTES OF

12:23PM   16      MEMORY WHICH MET THEIR REQUIREMENTS.      SO TWO TIMES THE PRICE

12:23PM   17      SHOWN THERE FOR AN ADDITIONAL MACHINE LICENSE.

12:23PM   18           AND THEN IF YOU GO DOWN TO A LA CARTE OPTIONS, THEY HAVE

12:23PM   19      THE STATED REQUIREMENT FOR KERBEROS, WHICH IS AN ADD-ON

12:23PM   20      SECURITY FEATURES AND INCLUDED THE PRICE THAT IT SHOWS THERE

12:24PM   21      PER MACHINE.

12:24PM   22      Q.   AND YOU HAD MENTIONED -- I THINK YOU ALREADY DESCRIBED IN

12:24PM   23      DETAIL ABOUT MACHINES, CORES, AND MEMORY.

12:24PM   24           I HEARD YOU MENTION TEST MACHINES, BUT NOT EXPLAIN WHAT

12:24PM   25      THOSE ARE.   SO COULD YOU PLEASE EXPLAIN THE DIFFERENCE BETWEEN



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12:24PM    1      A PRODUCTION MACHINE AND A TEST MACHINE?

12:24PM    2      A.   SURE.    A PRODUCTION MACHINE IS A MACHINE THAT A CUSTOMER

12:24PM    3      USES WITH REAL DATA AND USERS AND IT PROVIDES SOME BUSINESS

12:24PM    4      VALUE TO THE CUSTOMER.

12:24PM    5           A TEST MACHINE CAN BE, FOR OUR PURPOSES, A MACHINE THAT A

12:24PM    6      CUSTOMER IS USING FOR TEST PURPOSES OR DEVELOPMENT PURPOSES,

12:24PM    7      TYPICALLY NOT WITH REAL PRODUCTION DATA AND NOT USED BY USERS

12:25PM    8      OF THE APPLICATION THAT IS BUILT ON THE NEO4J.

12:25PM    9      Q.   AND THEN MOVING ON TO EXHIBIT 17.      IT SHOULD BE THE NEXT

12:25PM   10      TAB IN YOUR BINDER.

12:25PM   11      A.   I'VE GOT IT.

12:25PM   12      Q.   DO YOU RECOGNIZE EXHIBIT 17?

12:25PM   13      A.   YES, I DO.

12:25PM   14      Q.   AND VERY BRIEFLY, WHAT IS EXHIBIT 17?

12:25PM   15      A.   THIS IS THE APRIL 1, 2019, VERSION OF THE NEO4J INTERNAL

12:25PM   16      PRICE LIST.

12:25PM   17                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 17 INTO

12:25PM   18      EVIDENCE.

12:25PM   19                   MR. BEENE:   NO OBJECTION.

12:25PM   20                   THE COURT:   IT'S ADMITTED.   IT WON'T BE PUBLISHED.

12:25PM   21           (PLAINTIFFS' EXHIBIT 17 WAS RECEIVED IN EVIDENCE.)

12:25PM   22                   MR. RATINOFF:   THANK YOU, YOUR HONOR.

12:25PM   23      Q.   YOU MENTIONED THE DATE OF -- EFFECTIVE DATE OF APRIL 1ST,

12:25PM   24      2019; IS THAT CORRECT?

12:25PM   25      A.   THAT'S CORRECT.



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12:25PM    1      Q.   AND WAS THIS THE PRICE LIST THAT SUPERSEDED THE LAST ONE

12:26PM    2      THAT WE WERE LOOKING AT, EXHIBIT 16?

12:26PM    3      A.   YES, IT WAS.

12:26PM    4      Q.   AND WERE THERE ANY SIGNIFICANT CHANGES IN YOUR MIND WITH

12:26PM    5      THE PRICING?

12:26PM    6      A.   YES, THERE WERE.    THERE WAS CHANGES TO THE ENTERPRISE

12:26PM    7      BUNDLE.   OUR STANDARD ENTERPRISE BUNDLE WENT FROM 24 CORES PER

12:26PM    8      MACHINE TO 12 CORES PER MACHINE, AND WE ALSO WENT AWAY FROM

12:26PM    9      THAT STACKED CONCEPT FOR MACHINES THAT WERE BIGGER THAN THE

12:26PM   10      STANDARD MACHINE, AND WE HAD THE ABILITY TO INDEPENDENTLY ADD

12:26PM   11      CPU CORES AND MEMORY FOR LICENSING PURPOSES.

12:26PM   12      Q.   AND WHAT WAS THE REASON FOR THAT?

12:26PM   13      A.   TO MAKE IT SO THAT -- MORE FLEXIBLE FOR CUSTOMERS.     SO IF

12:26PM   14      THEY HAD MORE CORES, THEY COULD ONLY PAY FOR THE MORE CORES; IF

12:27PM   15      THEY HAD MORE MEMORY, THEY COULD ONLY PAY FOR MORE MEMORY OR

12:27PM   16      PAY FOR BOTH.   WHATEVER THEIR CONFIGURATION REQUIREMENTS WERE,

12:27PM   17      IT WAS MORE FLEXIBLE.

12:27PM   18      Q.   AND WERE THERE ANY CHANGES WITH RESPECT TO ANYTHING ELSE

12:27PM   19      WITH THE ENTERPRISE BUNDLE?

12:27PM   20      A.   WE CHANGED THE PRICE FOR THE ADDITIONAL MACHINE LICENSES.

12:27PM   21      IT WENT DOWN A BIT.

12:27PM   22      Q.   ANYTHING ELSE?

12:27PM   23      A.   ANOTHER THING WE DID AT THIS TIME WAS MADE OUR -- THE WAY

12:27PM   24      WE SOLD BUNDLES WAS WE ALWAYS INCLUDED ONE TEST MACHINE PER

12:27PM   25      PRODUCT MACHINE -- PER PRODUCTION MACHINE IN THE STANDARD



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12:27PM    1      BUNDLES THAT WE PRICED FOR OUR CUSTOMERS.

12:27PM    2      Q.   AND WHY THAT CHANGE?

12:27PM    3      A.   WE FOUND THAT CUSTOMERS IN GENERAL HAD AT LEAST ONE TEST

12:27PM    4      OR DEVELOPMENT ENVIRONMENT IN ADDITION TO THEIR PRODUCTION

12:28PM    5      ENVIRONMENT.

12:28PM    6           SO RATHER THAN GIVING THEM A PRICE THAT DIDN'T INCLUDE IT

12:28PM    7      UP-FRONT, WE JUST GAVE THEM THE FULL BUNDLE PRICE, INCLUDING

12:28PM    8      THE PRODUCTION AND THE TEST AND DEVELOPMENT MACHINES.

12:28PM    9      Q.   NOW, TURNING TO PAGE 8 OF 19 OF EXHIBIT 17.

12:28PM   10      A.   I'M ALMOST THERE.   WHOOPS.    THERE ARE SOME BLANK PAGES.

12:28PM   11      LET'S SEE IF I'VE GOT AN 18.

12:28PM   12           WAIT, YOU SAID 8 OF 19.      YES, I HAVE IT.

12:28PM   13      Q.   AND AT THE TOP IT SAYS NEO4J DISCOVERY BUNDLE?

12:28PM   14      A.   YES.

12:28PM   15      Q.   AND WERE THERE ANY CHANGES IN PRICING WITH THE LAST LIST

12:28PM   16      IN THE DISCOVERY BUNDLE?

12:28PM   17      A.   I BELIEVE THERE WERE.    SO THERE WAS A SIGNIFICANT CHANGE

12:29PM   18      TO THE DISCOVERY BUNDLE WHEREAS PRIOR TO 2019 WE OFFERED ONLY A

12:29PM   19      SMALL DISCOVERY BUNDLE WITH 4 CORES AND 64 GIGABYTES.

12:29PM   20           WITH THE 2019 PRICE LIST WE ADDED ANOTHER OPTION FOR

12:29PM   21      DISCOVERY BUNDLE WHICH WAS 12 CORES AND 256 GIGABYTES OF

12:29PM   22      MEMORY, WHICH CAME WITH A HIGHER PRICE.

12:29PM   23      Q.   AND --

12:29PM   24      A.   AND IT ALL -- I'M SORRY.     GO AHEAD.

12:29PM   25      Q.   NO, GO AHEAD.



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12:29PM    1      A.   OH.    I ALSO WANTED TO ADD WITH THE 2017 PRICE LIST AND

12:29PM    2      PRIOR, WE ALLOWED ADDITIONAL CORES BUT NOT ADDITIONAL MEMORY

12:29PM    3      WITH THE DISCOVERY BUNDLE.

12:29PM    4           SO AS YOU CAN SEE HERE WITH THE 2019 PRICE LIST, A

12:29PM    5      CUSTOMER COULD ADD ADDITIONAL CORES OR THEY COULD ADD

12:30PM    6      ADDITIONAL MEMORY, OR BOTH, WITH THE DISCOVERY BUNDLE.

12:30PM    7      Q.   AND DID YOU FIND THOSE -- OR HOW DID THOSE CHANGES IN

12:30PM    8      PRICING AFFECT YOU?

12:30PM    9      A.   INTERESTING.    I JUST NOTICED ONE OTHER THING.   PRIOR TO

12:30PM   10      THIS, THERE WAS NO KERBEROS OPTION.     OH, YES, THERE WAS.   I

12:30PM   11      APOLOGIZE.    YOU CAN STRIKE THAT.

12:30PM   12      Q.   ALL RIGHT.

12:30PM   13      A.   HOW DID THE CHANGES AFFECT ME?     IT MADE IT MORE -- IT MADE

12:30PM   14      THE PRICING MORE FLEXIBLE.

12:30PM   15      Q.   AND DID THAT PLAY OUT IN PRACTICE?

12:30PM   16      A.   OH, YES.

12:30PM   17      Q.   IN YOUR EXPERIENCE?

12:30PM   18      A.   YES.

12:30PM   19      Q.   AND LET'S GO AHEAD AND TURN TO EXHIBIT 18.

12:30PM   20                   THE COURT:   WELL, WHY DON'T WE TAKE OUR LUNCH RECESS

12:30PM   21      NOW WITH EXHIBIT 18.      WE'LL TAKE AN HOUR FOR LUNCH AND START AT

12:31PM   22      1:30.   MY SENSE IS TO GO UNTIL 4:30 TODAY AND END AT 4:30, 5:00

12:31PM   23      OR SOMETHING LIKE THAT.

12:31PM   24           I ALSO WANT TO CALL TO YOUR ATTENTION EXHIBIT 131 I

12:31PM   25      BELIEVE WAS PUBLISHED.     THAT DID CONTAIN SOME PRICING, AND I



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12:31PM    1      DON'T KNOW IF YOU WANTED TO LEAVE THAT IN OR STRIKE THAT.

12:31PM    2      THAT'S THE EMAIL.

12:31PM    3                 MR. RATINOFF:    YOUR HONOR, THAT WAS ORIGINALLY

12:31PM    4      DESIGNATED AEO, BUT IT WAS ORIGINALLY FILED WITH OUR SUMMARY

12:31PM    5      JUDGMENT MOTION SO WE ALLOWED IT TO BE PUBLISHED.

12:31PM    6                 THE COURT:    OKAY.    GREAT.

12:31PM    7                 MR. RATINOFF:    THANK YOU FOR THAT.

12:31PM    8                 THE COURT:    GREAT.   HAVE A GOOD LUNCH.   WE'LL SEE

12:31PM    9      YOU IN AN HOUR.

12:31PM   10           (LUNCH RECESS TAKEN AT 12:31 P.M.)

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12:31PM    1                                 AFTERNOON SESSION

01:38PM    2

01:38PM    3            (COURT CONVENED AT 1:38 P.M.)

01:38PM    4                    THE COURT:   WE'RE BACK ON THE RECORD.   ALL PARTIES

01:38PM    5      PREVIOUSLY PRESENT ARE PRESENT AGAIN.

01:38PM    6            LET'S ASK THE WITNESS TO RESUME THE STAND, PLEASE.

01:39PM    7            I'LL REMIND YOU YOU'RE STILL UNDER OATH, MR. ZAGALSKY.

01:39PM    8            I THINK YOU WERE GOING TO TAKE UP EXHIBIT 18.

01:39PM    9                    MR. RATINOFF:   THAT'S CORRECT, YOUR HONOR.    TO

01:39PM   10      CONFIRM, WE'RE STILL UNDER AEO AND SO THIS WON'T BE PUBLISHED.

01:39PM   11      Q.    OKAY.    I BELIEVE WE LEFT OFF LOOKING AT EXHIBIT 18.

01:39PM   12            DO YOU RECOGNIZE EXHIBIT 18?

01:39PM   13      A.    YES, I DO.

01:39PM   14      Q.    AND BRIEFLY WHAT IS EXHIBIT 18?

01:39PM   15      A.    THIS IS NEO4J INTERNAL PRICE LIST EFFECTIVE APRIL 1ST,

01:39PM   16      2020.

01:39PM   17                    MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 18 INTO

01:39PM   18      EVIDENCE, PLEASE.

01:39PM   19                    MR. BEENE:   NO OBJECTION.

01:39PM   20                    THE COURT:   IT'S ADMITTED.   IT WILL NOT BE

01:39PM   21      PUBLISHED.

01:39PM   22            (PLAINTIFFS' EXHIBIT 18 WAS RECEIVED IN EVIDENCE.)

01:39PM   23      BY MR. RATINOFF:

01:39PM   24      Q.    WAS THIS THE SUCCEEDING OR SUCCESSOR TO WHAT WE LOOKED AT

01:39PM   25      AS EXHIBIT 17?



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01:39PM    1      A.    YES, IT WAS.

01:39PM    2      Q.    AND WERE THERE ANY SIGNIFICANT CHANGES FOR INSTANCE IN THE

01:40PM    3      ENTERPRISE BUNDLE FROM THE PRIOR PRICE LIST?

01:40PM    4      A.    NO, I DON'T THINK THERE'S ANYTHING DIFFERENT.

01:40PM    5      Q.    AGAIN, IS THIS A PRICE LIST THAT YOU WOULD USE IN

01:40PM    6      CONDUCTING GOVERNMENT SALES?

01:40PM    7      A.    YES.

01:40PM    8      Q.    AND THEN TURNING TO THE DISCOVERY BUNDLE, WHICH I BELIEVE

01:40PM    9      IS ON PAGE 8 OF 22.

01:40PM   10            LET ME KNOW WHEN YOU ARE THERE.

01:40PM   11      A.    OKAY.

01:40PM   12      Q.    AND WERE THERE ANY SIGNIFICANT CHANGES TO THE DISCOVERY

01:40PM   13      BUNDLE FROM THE PRIOR PRICE LIST?

01:40PM   14      A.    YES.

01:40PM   15      Q.    AND WHAT WERE THOSE CHANGES?

01:41PM   16      A.    THERE WAS A SMALL PRICE INCREASE ON THE DISCOVERY BUNDLE

01:41PM   17      TO THE LARGE BUNDLE.     ACTUALLY THEY CHANGED THE NAME, TOO.

01:41PM   18      THEY CHANGED IT FROM REGULAR TO LARGE AND SO A PRICE CHANGE.

01:41PM   19      Q.    I'M SORRY, YOU SAID THEY CHANGED IT FROM LARGE TO REGULAR?

01:41PM   20      A.    YES.    THE PRIOR PRICE LIST WAS SMALL AND LARGE AND THEN

01:41PM   21      THE 2020 PRICE IT WAS SMALL AND REGULAR.

01:41PM   22      Q.    AND THEN TURNING TO THE NEXT PAGE OF EXHIBIT 18, PAGE 9 OF

01:41PM   23      22 AND THERE'S A PRODUCT OR A NAME NEO4J GRAPH DATA SCIENCE

01:41PM   24      BUNDLE?

01:41PM   25      A.    YES.



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01:41PM    1      Q.    AND WHAT IS THE NEO4J GRAPH DATA SCIENCE BUNDLE?

01:41PM    2      A.    IT WAS A NEW BUNDLE THAT WAS INCLUDED FOR THE FIRST TIME

01:42PM    3      IN APRIL OF 2020 IN OUR PRICE LIST.        IT WAS A BUNDLE OF THREE

01:42PM    4      NEO4J PRODUCTS, INCLUDING THE NEO4J ENTERPRISE EDITION, WHICH

01:42PM    5      WAS THE GRAPH DATABASE, BLOOM, WHICH IS OUR GRAPH DATATIZATION

01:42PM    6      TOOL, AND GRAPH DATA SCIENCE LIBRARY, WHICH WAS A COLLECTION OF

01:42PM    7      GRAPH ALGORITHMS AND TOOLING FOR AI AND MACHINE LEARNING,

01:42PM    8      ARTIFICIAL INTELLIGENCE AND MACHINE LEARNING.       THAT WAS A NEW

01:42PM    9      PRODUCT THAT WE RELEASED AS A COMMERCIAL LICENSED PRODUCT IN

01:42PM   10      2020.   SO THE PRICE LIST WAS UPDATED TO REFLECT THAT.

01:42PM   11      Q.    AND WHAT WAS THE PURPOSE OF THIS NEW BUNDLE?

01:43PM   12      A.    IN ORDER TO PROVIDE A BUNDLE THAT INCLUDES THOSE THREE

01:43PM   13      PRODUCTS SO WE COULD SELL IT TO OUR CUSTOMERS.

01:43PM   14      Q.    AND THEN TURNING TO WHAT HAS BEEN PREMARKED AS EXHIBIT 19?

01:43PM   15      A.    YES.

01:43PM   16      Q.    AND DO YOU RECOGNIZE EXHIBIT 19?

01:43PM   17      A.    YES, I DO.

01:43PM   18      Q.    AND BRIEFLY, WHAT IS EXHIBIT 19?

01:43PM   19      A.    IT'S THE NEO4J PRICE LIST EFFECTIVE JULY 1ST, 2021.

01:43PM   20                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 19 INTO

01:43PM   21      EVIDENCE.

01:43PM   22                   MR. BEENE:   NO OBJECTION.

01:43PM   23                   THE COURT:   IT'S ADMITTED.    IT WON'T BE PUBLISHED.

01:43PM   24            (PLAINTIFFS' EXHIBIT 19 WAS RECEIVED IN EVIDENCE.)

01:43PM   25      BY MR. RATINOFF:



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01:43PM    1      Q.    AND DID THIS PRICE LIST, EXHIBIT 19, SUPERSEDE EXHIBIT 18?

01:43PM    2      A.    YES.

01:43PM    3      Q.    AND THEN TURNING TO THE ENTERPRISE BUNDLE WHICH I BELIEVE

01:44PM    4      IS PAGE 4 OF 34.

01:44PM    5      A.    YES.

01:44PM    6      Q.    WAS THERE ANYTHING SIGNIFICANTLY DIFFERENT ABOUT THE

01:44PM    7      ENTERPRISE BUNDLE IN THIS PRICE LIST?

01:44PM    8      A.    NO.

01:44PM    9      Q.    AND THEN TURNING TO THE DISCOVERY BUNDLE LATER ON IN THE

01:44PM   10      PRICE LIST.   I BELIEVE THAT SHOULD BE PAGE 12 OF 34.

01:44PM   11      A.    YES.

01:44PM   12      Q.    WERE THERE ANY CHANGES -- STRIKE THAT.

01:45PM   13            WERE THERE ANY SIGNIFICANT CHANGES OVER THE PRIOR PRICE

01:45PM   14      LIST WITH RESPECT TO THE DISCOVERY BUNDLE?

01:45PM   15      A.    NO.

01:45PM   16      Q.    TURNING TO THE NEXT SECTION STARTING ON PAGE 14 OF 34 IT

01:45PM   17      SAYS NEO4J GRAPH DATA SCIENCE BUNDLE?

01:45PM   18      A.    YES.

01:45PM   19      Q.    AND WERE THERE ANY CHANGES OVER THE PRIOR PRICE LIST WITH

01:45PM   20      RESPECT TO THE NEO4J GRAPH DATA SCIENCE BUNDLE?

01:45PM   21      A.    YES.

01:45PM   22      Q.    AND WHAT WERE THOSE CHANGES?

01:45PM   23      A.    WE ADDED A GRAPH DATA SCIENCE MINI BUNDLE AS A FOURTH

01:45PM   24      OPTION FOR NUMBER OF CPU CORES AND MEMORY INCLUDED WITH THE

01:45PM   25      GRAPH DATA SCIENCE BUNDLE.



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01:45PM    1      Q.    AND DOES THIS PRICE LIST, EXHIBIT 19, IS THIS CURRENTLY

01:45PM    2      STILL IN EFFECT AT NEO4J?

01:45PM    3      A.    YES, IT IS.

01:45PM    4      Q.    TURNING BACK TO THE IRS, HAVE YOU HAD ANY OTHER EXPERIENCE

01:46PM    5      IN SELLING NEO4J COMMERCIAL LICENSES TO THE IRS?

01:46PM    6      A.    YES, I HAVE.

01:46PM    7      Q.    AND HOW MANY APPROXIMATELY DO YOU RECALL?

01:46PM    8      A.    WELL, AT LEAST TWO.

01:46PM    9      Q.    ALL RIGHT.    LET'S START WITH THE FIRST ONE THAT COMES TO

01:46PM   10      MIND.

01:46PM   11            OF THOSE TWO, WHICH ONE DOES COME TO YOUR MIND?

01:46PM   12      A.    IT WAS CSIRC, C-S-I-R-C.

01:46PM   13      Q.    AND WHAT IS CSIRC?

01:46PM   14      A.    IT'S -- I CAN'T -- I'M NOT 100 PERCENT ACTUALLY IF IT'S AN

01:46PM   15      ORGANIZATION WITHIN THE IRS OR A PROGRAM NAME, BUT IT'S CYBER

01:46PM   16      SECURITY USE CASE FOR NEO4J AND THERE'S A PRIME CONTRACTOR

01:47PM   17      CALLED ALPHASIX THAT BROUGHT US THAT OPPORTUNITY AND IT WAS AN

01:47PM   18      ENTERPRISE BUNDLE.

01:47PM   19      Q.    AND DO YOU RECALL APPROXIMATELY WHEN THAT OPPORTUNITY WAS

01:47PM   20      FIRST BROUGHT TO NEO4J?

01:47PM   21      A.    YES, I DO.    IT WAS IN 2019.   IT WAS A ONE YEAR DEAL, AND

01:47PM   22      THEY'RE STILL OUR CUSTOMER SO THEY'VE RENEWED EVERY YEAR AFTER.

01:47PM   23            THERE WAS, I BELIEVE IT WAS 2019, A COUPLE YEARS INTO

01:47PM   24      THEIR BETA CUSTOMER THEY EXPANDED THEIR CONFIGURATION, THEY

01:47PM   25      ADDED CORES AND/OR MEMORY, WHICH INCREASED THEIR SOFTWARE FEE,



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01:48PM    1      AND THEY ALSO AT THAT POINT HAD US PROVIDE PRICING FOR OPTION

01:48PM    2      YEARS SO THEY COULD EASILY RENEW YEAR AFTER YEAR, WHICH THEY'VE

01:48PM    3      CONTINUED TO DO.

01:48PM    4      Q.    OKAY.   SO JUST SO I UNDERSTAND THE TIMELINE, SO

01:48PM    5      ALPHASIX -- I'M SORRY.    YOU SOLD THE SUBSCRIPTION FIRST IN

01:48PM    6      2019; IS THAT CORRECT?

01:48PM    7      A.    THAT'S CORRECT.

01:48PM    8      Q.    AND IT WAS A ONE YEAR SUBSCRIPTION?

01:48PM    9      A.    THAT'S CORRECT.

01:48PM   10      Q.    AND WHAT BUNDLE WAS THAT FOR?

01:48PM   11      A.    THAT WAS FOR THE NEO4J ENTERPRISE EDITION ENTERPRISE

01:48PM   12      BUNDLE.

01:48PM   13      Q.    AND SO IT WOULD HAVE BEEN WHICH PRICE LIST AT THAT POINT?

01:48PM   14      DO YOU RECALL?

01:48PM   15      A.    2019, SO THAT WOULD HAVE BEEN THE 2019 PRICE LIST BECAUSE

01:48PM   16      I BELIEVE IT WAS LIKE SEPTEMBER ORDER, SOMEWHERE AROUND THERE.

01:49PM   17      SO IT -- WELL, THAT -- YEAH, AT THAT POINT I THINK OUR PRICE

01:49PM   18      LISTS CAME OUT IN JULY, SO IT WOULD HAVE BEEN THE 2019 PRICE

01:49PM   19      LIST.

01:49PM   20      Q.    AND THEN YOU MENTIONED EXPANDING CONFIGURATION.    I'M

01:49PM   21      SORRY, BEFORE I GET THERE, YOU MENTIONED IT WAS RENEWALS?

01:49PM   22      A.    YES.

01:49PM   23      Q.    AND AS YOU SIT HERE NOW, DO YOU RECALL HOW MANY RENEWALS

01:49PM   24      THERE WERE?

01:49PM   25      A.    LIKE I MENTIONED, THEY'RE STILL A CUSTOMER TODAY SO IF IT



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01:49PM    1      STARTED IN 2019, IT WOULD HAVE BEEN A RENEWAL IN 2020, 2021,

01:49PM    2      2022, AND 2023, SO FOUR RENEWALS.

01:49PM    3      Q.     AND DID YOU USE A RESELLER IN CONJUNCTION WITH THAT

01:49PM    4      PARTICULAR SALE?

01:49PM    5      A.     YES, WE DID.

01:49PM    6      Q.     AND WHICH RESELLER DID YOU USE?

01:49PM    7      A.     THAT WENT THROUGH COMPSEC, C-O-M-P-S-E-C.

01:50PM    8      Q.     AND WHY COMPSEC?

01:50PM    9      A.     SO THE SALES PROCESS STARTED BACK IN 2017 SHORTLY AFTER I

01:50PM   10      STARTED WITH NEO4J, AND COMPSEC WAS THE FIRST FEDERAL RESELLER

01:50PM   11      THAT I BROUGHT IN TO NEO4J IN 2017.

01:50PM   12             AND -- SO SINCE WE STARTED WITH THEM, THEY PROVIDED THE

01:50PM   13      FIRST QUOTE TO ALPHASIX WHO WAS NOT A NEO4J PARTNER, SO WE HAD

01:50PM   14      TO GO THROUGH COMPSEC AND THEY PROVIDED A QUOTE IN 2017 AND

01:50PM   15      WAS -- YOU KNOW, THEY STRUGGLED TO GET FUNDING IN 2017, '18,

01:50PM   16      FINALLY GOT IT IN '19.      SO COMPSEC PROVIDED MANY QUOTES YEAR

01:50PM   17      AFTER YEAR TO ALPHASIX AND ULTIMATELY FINALLY GOT THE ORDER

01:51PM   18      WITH US IN 2019.

01:51PM   19      Q.     SO THEY WERE ABLE TO GET FUNDING -- OR I SHOULD SAY --

01:51PM   20      STRIKE THAT.   THE IRS WAS ABLE TO GET FUNDING?

01:51PM   21      A.     YES.

01:51PM   22      Q.     AND YOU MENTIONED THERE WAS ANOTHER.      I BELIEVE YOU SAID

01:51PM   23      TWO.    SO WHAT WAS THE SECOND DEAL THAT CAME TO YOUR MIND?

01:51PM   24      A.     THE SECOND ONE WAS CI, OR CRIMINAL INVESTIGATIONS, AT THE

01:51PM   25      IRS.



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01:51PM    1      Q.    AND WHEN DID THAT SALE OCCUR?

01:51PM    2      A.    THAT ONE?   IT WAS DURING COVID.     I BELIEVE IT WAS 2021.

01:51PM    3      Q.    AND DO YOU RECALL WHAT BUNDLE OR SUBSCRIPTION THAT WAS

01:51PM    4      SOLD TO THE CI DIVISION IN THE IRS?

01:51PM    5      A.    YES.   THEY PURCHASED THE GRAPH DATA SCIENCE STARTER

01:52PM    6      BUNDLE.

01:52PM    7      Q.    AND THAT WAS REFLECTED IN THE -- WHICH, THE 2020 PRICE

01:52PM    8      LIST, I BELIEVE?

01:52PM    9      A.    2021 PRICE LIST.

01:52PM   10      Q.    OH, EXCUSE ME.

01:52PM   11      A.    THE JULY 2021 PRICE LIST.     I BELIEVE IT WAS A FALL ORDER

01:52PM   12      IF I RECALL CORRECTLY.

01:52PM   13      Q.    AND DID THE SALE GO THROUGH A RESELLER?

01:52PM   14      A.    IT DID, YES.

01:52PM   15      Q.    AND WHO WAS THE RESELLER ON THAT SALE?

01:52PM   16      A.    IT WAS AFFIGENT.

01:52PM   17      Q.    AND WHO IS AFFIGENT?

01:52PM   18      A.    AFFIGENT IS A RESELLER THAT WE BROUGHT IN AS A NEO4J

01:52PM   19      PARTNER I BELIEVE IN 2020 OR SO.      WE WANTED TO HAVE A PARTNER

01:52PM   20      THAT HAD A SEWP CONTRACT SO THAT WE COULD WORK WITH THEM

01:53PM   21      DIRECTLY WITH CUSTOMERS THAT PURCHASED VIA THE SEWP CONTRACT

01:53PM   22      VEHICLE.     SEWP IS S-E-W-P.   IT'S A CONTRACT VEHICLE THAT'S RUN

01:53PM   23      BY NASA, BUT IT'S VERY COMMONLY USED THROUGHOUT FEDERAL

01:53PM   24      CIVILIAN AGENCIES, INCLUDING IRS.

01:53PM   25            IN MY EXPERIENCE, THE IRS QUITE TYPICALLY USES THE SEWP



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01:53PM    1      VEHICLE TO PURCHASE SOFTWARE.

01:53PM    2            SO WE WANTED TO HAVE AN AUTHORIZED NEO4J RESELLER THAT

01:53PM    3      COULD RESPOND DIRECTLY TO SEWP RFP'S SOLICITATIONS.

01:53PM    4      Q.    AND DOES NEO4J STILL USE AFFIGENT AS A RESELLER?

01:54PM    5      A.    WE DO.   NOT AS OFTEN ANYMORE, BUT WE DO.

01:54PM    6      Q.    AND DO YOU RECALL IF THERE WAS A RESELLER FEE INVOLVED IN

01:54PM    7      THE TRANSACTION?

01:54PM    8      A.    YES.

01:54PM    9      Q.    AND WHAT WAS THE RESELLER FEE FOR AFFIGENT?

01:54PM   10      A.    5 PERCENT.

01:54PM   11      Q.    ALL RIGHT.    I'D LIKE TO SWITCH GEARS AWAY FROM THE IRS.

01:54PM   12      ARE YOU FAMILIAR WITH, MAYBE WE TALKED ABOUT THIS EARLIER BUT

01:54PM   13      IT'S AFTER LUNCH, ARE YOU FAMILIAR WITH THE MARYLAND

01:54PM   14      PROCUREMENT OFFICE?

01:54PM   15      A.    I AM.

01:54PM   16      Q.    ARE YOU FAMILIAR WITH THE ACRONYM MPO?

01:54PM   17      A.    ABSOLUTELY.

01:54PM   18      Q.    SO IF I SAY MPO, YOU UNDERSTAND THAT I'M REFERRING TO THE

01:54PM   19      MARYLAND PROCUREMENT OFFICE?

01:54PM   20      A.    YES.

01:54PM   21      Q.    OKAY.    AND WHAT IS THE MARYLAND PROCUREMENT OFFICE?

01:54PM   22      A.    IT'S THE CONTRACTING OFFICE FOR THE NATIONAL SECURITY

01:54PM   23      AGENCY.

01:54PM   24      Q.    AND HOW DID YOU BECOME FAMILIAR WITH THE MPO?

01:55PM   25      A.    I ACTUALLY STARTED WORKING WITH MPO -- SO WHEN PEOPLE



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01:55PM    1      REFER TO NSA A LOT OF TIMES, WE PREFER TO REFER TO NSA AS MPO

01:55PM    2      BECAUSE YOU DON'T WANT EVERYONE IN THE COMPANY TO KNOW THAT

01:55PM    3      YOU'RE WORKING WITH NSA.

01:55PM    4            SO WHEN I SAY MPO, I DON'T JUST MEAN MARYLAND PROCUREMENT

01:55PM    5      OFFICE AS THE CONTRACTING OFFICE BUT WE'RE TALKING ABOUT NSA.

01:55PM    6            SO I STARTED WORKING WITH MPO AS AN ELECTRICAL ENGINEER

01:55PM    7      WAY BACK IN 1994 WHEN I WAS WORKING FOR ANNAPOLIS MICRO

01:55PM    8      SYSTEMS.     I WAS DOING CONSULTING CONTRACT WORK FOR THE NSA.

01:55PM    9      Q.    AND HAVE YOU HAD ANY SALES EXPERIENCE WITH THE MPO?

01:56PM   10      A.    YES.

01:56PM   11      Q.    PRIOR TO NEO4J?

01:56PM   12      A.    YES.   DURING -- TOWARD THE END OF MY TIME AT ANNAPOLIS

01:56PM   13      MICRO SYSTEMS I MOVED FROM BEING AN ENGINEER, A CONSULTING

01:56PM   14      ENGINEER, TO A SALES ENGINEER AND THEN A SALES REPRESENTATIVE.

01:56PM   15      AND MY ONLY -- MY FULL TERRITORY WHEN I WAS SELLING TO MPO,

01:56PM   16      ANNAPOLIS MICRO SYSTEMS, WAS MPO.

01:56PM   17      Q.    AND DID YOU HAVE ANY OPPORTUNITIES TO SELL PRODUCTS TO THE

01:56PM   18      MPO IN ANY OF YOUR OTHER PRIOR POSITIONS?

01:56PM   19      A.    YES, ALL OF THEM.   THEY WERE IN MY TERRITORY.   I WAS

01:56PM   20      SELLING TO MPO THROUGHOUT MY CAREER.

01:56PM   21      Q.    AND THAT INCLUDES ORACLE?

01:56PM   22      A.    YES, IT INCLUDES ORACLE, IT INCLUDES STELLENT, IT INCLUDES

01:57PM   23      SGI, SILICON GRAPHICS.

01:57PM   24      Q.    OH, SGI.   I DON'T BELIEVE YOU MENTIONED SGI.    DID YOU WORK

01:57PM   25      FOR THERE AS WELL?



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01:57PM    1      A.    DID WE SKIP THAT ONE?   YES.

01:57PM    2      Q.    AND WHAT DOES SGI STAND FOR?

01:57PM    3      A.    SGI STANDS FOR SILICON GRAPHICS, INC.

01:57PM    4      Q.    AND I THINK WE MISSED THAT.    IS SGI A PLACE WHERE YOU

01:57PM    5      WORKED PREVIOUSLY?

01:57PM    6      A.    I DID.   PRIOR TO ORACLE AND PRIOR TO STELLENT I WORKED AT

01:57PM    7      SGI FOR ABOUT THREE YEARS.    THAT'S WHERE I WENT AFTER

01:57PM    8      ANNAPOLIS MICRO SYSTEMS.

01:57PM    9            SO I STARTED MY SALES CAREER AT ANNAPOLIS MICRO SYSTEMS

01:57PM   10      AND THEN MOVED ON TO SGI AS A SALES REPRESENTATIVE.

01:57PM   11      Q.    AND THEN ORACLE AFTER SGI?

01:57PM   12      A.    THAT'S CORRECT.

01:57PM   13      Q.    NOW, ARE YOU FAMILIAR WITH A COMPANY CALLED NEXT, NEXT

01:57PM   14      CENTURY?

01:57PM   15      A.    YES, I AM.

01:57PM   16      Q.    AND WHAT IS NEXT CENTURY?

01:58PM   17      A.    NEXT CENTURY IS A GOVERNMENT CONTRACTOR THAT PROVIDES

01:58PM   18      CONTRACT CONSULTING SERVICES TO THE FEDERAL GOVERNMENT.

01:58PM   19      Q.    AND HOW DID YOU BECOME FAMILIAR WITH NEXT CENTURY?

01:58PM   20      A.    SOMEONE FROM NEXT CENTURY NAMED MICHAEL SMOLYAK REACHED

01:58PM   21      OUT TO NEO4J.    THEY WERE INTERESTED IN GETTING SOME HELP ON

01:58PM   22      EVALUATING NEO4J ENTERPRISE EDITION FOR A PROJECT THAT THEY

01:58PM   23      WERE WORKING ON AT THE TIME.

01:58PM   24      Q.    AND I THINK WE NEED TO SPELL SMOLYAK SO IF YOU WOULDN'T

01:58PM   25      MIND DOING THAT.



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01:58PM    1      A.    LET ME TRY.   S-M-O-L-Y-A-K.

01:59PM    2      Q.    AND TURNING BACK TO WHEN YOU WERE FIRST CONTACTED, WHAT

01:59PM    3      WERE THE CIRCUMSTANCES OF THAT CONVERSATION?

01:59PM    4      A.    MICHAEL WAS WORKING ON A PROJECT FOR A GOVERNMENT

01:59PM    5      CUSTOMER.     I'M NOT SURE I REMEMBER WHICH GOVERNMENT CUSTOMER.

01:59PM    6            BUT HE WAS EVALUATING NEO4J ENTERPRISE EDITION, AND HE HAD

01:59PM    7      SOME QUESTIONS ABOUT NEO4J'S ABILITY TO SCALE TO THE

01:59PM    8      REQUIREMENTS THAT THEY WERE LOOKING AT AND SOME OF THE

01:59PM    9      ENTERPRISE FEATURES OF NEO4J ENTERPRISE EDITION.

01:59PM   10            AND WE ANSWERED HIS TECHNICAL QUESTIONS AND SHARED SOME

01:59PM   11      INFORMATION ABOUT THE LICENSING THAT NEO4J ENTERPRISE EDITION

01:59PM   12      REQUIRED COMMERCIAL LICENSE WITH NEO4J.

02:00PM   13      Q.    AND I'M GOING TO GO AHEAD AND HAVE YOU TURN TO

02:00PM   14      EXHIBIT 103.

02:00PM   15      A.    I'M THERE.

02:00PM   16      Q.    THIS WAS ORIGINALLY DESIGNATED AS CONFIDENTIAL, BUT WE DID

02:00PM   17      GET APPROVAL FROM CACI TO NOT HAVE IT UNDER THE PROTECTIVE

02:00PM   18      ORDER ANY LONGER, SO I'M HAPPY TO PUT THIS BACK INTO THE PUBLIC

02:00PM   19      RECORD.

02:00PM   20            OKAY.   TURNING BACK TO TRIAL EXHIBIT 103.    DO YOU

02:00PM   21      RECOGNIZE THIS EXHIBIT?

02:00PM   22      A.    YES, I DO.

02:00PM   23      Q.    AND VERY BRIEFLY, HOW DO YOU RECOGNIZE IT?

02:00PM   24      A.    THIS WAS THE INITIAL EMAIL THAT I RECEIVED WHEN

02:00PM   25      MICHAEL SMOLYAK AT NEXT CENTURY REACHED OUT TO ME AT NEO4J.



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02:00PM    1                 MR. RATINOFF:    I'D LIKE TO ASK THAT EXHIBIT 103 BE

02:01PM    2      ADMITTED INTO EVIDENCE.

02:01PM    3                 THE COURT:   ANY OBJECTION?

02:01PM    4                 MR. BEENE:   OH.   NO OBJECTION.

02:01PM    5                 THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:01PM    6            (PLAINTIFFS' EXHIBIT 103 WAS RECEIVED IN EVIDENCE.)

02:01PM    7      BY MR. RATINOFF:

02:01PM    8      Q.    AND TURNING BACK TO EXHIBIT 103 THERE'S, IN THE LAST

02:01PM    9      EMAIL, SO IT WOULD BE AT THE VERY TOP, JUNE 6TH -- I'M SORRY,

02:01PM   10      JUNE 14TH, 2018.    AND YOU RESPOND HERE, WHAT ARE YOU REFERRING

02:01PM   11      TO AS "YES, CLUSTERING DOES REQUIRE THE PURCHASE OF AN

02:01PM   12      ENTERPRISE EDITION SUBSCRIPTION"?

02:01PM   13      A.    CLUSTERING IS A NEO4J ENTERPRISE EDITION ENTERPRISE ONLY

02:01PM   14      FEATURE.

02:01PM   15      Q.    AND SO IN JUNE OF 2018 WAS NEO4J 3.4 THE MOST CURRENT

02:02PM   16      VERSION?

02:02PM   17      A.    THAT SOUNDS RIGHT, BUT I WOULD LIKE TO GO BACK TO THAT

02:02PM   18      OTHER EXHIBIT TO CONFIRM.

02:02PM   19      Q.    PLEASE DO TO MAKE SURE YOU HAVE THE CORRECT DATES.    I

02:02PM   20      BELIEVE YOU'RE REFERRING TO EXHIBIT 4?

02:02PM   21      A.    THANK YOU.   SO THIS IS SEPTEMBER -- I'M SORRY, JUNE 2018,

02:02PM   22      AND 3.4 WAS RELEASED IN MAY OF 2018.     SO, YES, 3.4 WAS THE

02:02PM   23      CURRENT VERSION AT THAT TIME?

02:02PM   24      Q.    AND DID YOU OFFER HERE IN THE NEXT PARAGRAPH TO HAVE A

02:02PM   25      CONVERSATION TO DISCUSS THE REQUIREMENTS?     AND I'M



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02:02PM    1      PARAPHRASING.

02:03PM    2      A.    YES.

02:03PM    3      Q.    AND DID YOU HAVE A CONVERSATION WITH MR. SMOLYAK?

02:03PM    4      A.    YES, WE DID.

02:03PM    5      Q.    AND WHAT WAS THE SUBSTANCE OF THAT CONVERSATION?

02:03PM    6      A.    WE TALKED ABOUT THEIR REQUIREMENTS FOR THE PROJECT THAT

02:03PM    7      THEY WERE EVALUATING NEO4J FOR AND ANSWERED SOME QUESTIONS

02:03PM    8      ABOUT THE FEATURES OF NEO4J ENTERPRISE EDITION AND WHICH

02:03PM    9      FEATURES REQUIRED, WHICH FEATURES THAT THEY NEEDED FOR THEIR

02:03PM   10      PROJECT REQUIRED NEO4J ENTERPRISE EDITION.

02:03PM   11            THEY WANTED TO DETERMINE -- THE WHOLE POINT OF THEM

02:03PM   12      REACHING OUT TO US WAS TO DETERMINE WHETHER THEY COULD USE THE

02:03PM   13      FREE OPEN SOURCE VERSION NEO4J COMMUNITY EDITION OR WHETHER

02:03PM   14      THEY WOULD NEED TO PURCHASE A LICENSE FOR THE

02:03PM   15      NEO4J ENTERPRISE EDITION.

02:03PM   16      Q.    AND APPROXIMATELY WHEN DID THAT CONVERSATION TAKE PLACE?

02:03PM   17      A.    WELL, CANDACE WAS PRETTY QUICK ABOUT SCHEDULING MEETINGS

02:04PM   18      AND AT THE BOTTOM OF THE EMAIL IT SAYS -- I ASKED CANDACE TO

02:04PM   19      SCHEDULE A MEETING SO IT WOULD HAVE BEEN PROBABLY THE NEXT WEEK

02:04PM   20      AFTER JUNE 14TH OF 2018.

02:04PM   21      Q.    AND WHAT HAPPENED AFTER THAT CONVERSATION?

02:04PM   22      A.    AFTER THAT CONVERSATION WE DIDN'T HEAR BACK FROM -- I

02:04PM   23      DON'T BELIEVE WE HEARD BACK FROM NEXT CENTURY AGAIN UNTIL LATER

02:04PM   24      IN THAT YEAR WHEN WE DID HAVE CONVERSATIONS WITH MICHAEL AND

02:04PM   25      SOME OTHER PEOPLE AT NEXT CENTURY ABOUT A DIFFERENT PROJECT



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02:04PM    1      WHERE THEY WERE EVALUATING NEO4J ENTERPRISE EDITION, THAT

02:04PM    2      PROJECT WAS FOR THE MPO.

02:04PM    3      Q.    AND WHEN DO YOU RECALL THAT SECOND CONTACT OCCURRED FROM

02:04PM    4      NEXT CENTURY?

02:05PM    5      A.    LIKE I SAID, I'M PRETTY SURE THAT WAS AT THE END OF 2018,

02:05PM    6      MAYBE AROUND DECEMBER.

02:05PM    7      Q.    AND WHAT DID YOU LEARN FROM NEXT CENTURY ABOUT THE PROJECT

02:05PM    8      THAT THEY WERE CONSIDERING USING NEO4J ENTERPRISE?

02:05PM    9      A.    SO WE SPOKE AND EMAILED AND MET IN PERSON, AND MUCH MORE

02:05PM   10      SUBSTANTIAL INTERACTION ON THAT PROJECT.

02:05PM   11            THEY WERE INDEED EVALUATING NEO4J ENTERPRISE EDITION FOR A

02:05PM   12      LARGE PROJECT AT MPO, AND THEY HAD SPECIFIC QUESTIONS AS I

02:05PM   13      RECALL ABOUT NEO4J ENTERPRISE EDITION ENTERPRISE ONLY FEATURES,

02:05PM   14      THINGS LIKE ENTERPRISE SECURITY, CLUSTERING.       THOSE ARE THE

02:06PM   15      FEATURES THAT I RECALL THEY NEEDED.

02:06PM   16            AND THEY ACTUALLY HAD SOME PRETTY IN-DEPTH TECHNICAL

02:06PM   17      QUESTIONS AND TRYING TO GET VARIOUS ENTERPRISE FEATURES

02:06PM   18      WORKING, AND I CONNECTED THEM WITH MY SOLUTION OR SELLS

02:06PM   19      ENGINEER, GARY MANN, AT THE TIME, AND PROVIDED HIM AS A

02:06PM   20      RESOURCE TO THEIR TEAM.

02:06PM   21            GARY WAS A PRE-SELLS ENGINEER.   HE WAS MY TECHNICAL GUY

02:06PM   22      THAT HELPS ME HELP PROSPECTIVE NEO4J CUSTOMERS EVALUATE NEO4J.

02:06PM   23            AND MY EXPECTATION AT THE TIME, SINCE THEY WERE ASKING

02:06PM   24      ABOUT NEO4J ENTERPRISE EDITION FEATURES, WAS THAT THAT WOULD

02:06PM   25      LEAD TO A SALE OF NEO4J ENTERPRISE EDITION.



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02:06PM    1      Q.    OKAY.    LET'S GO AHEAD AND TURN TO EXHIBIT 110.

02:07PM    2            THIS IS A SOMEWHAT LENGTHY DOCUMENT, EMAIL EXCHANGE.         SO

02:07PM    3      TAKE YOUR TIME AND LET ME KNOW WHEN YOU'RE READY.

02:07PM    4      A.    I'M READY.

02:07PM    5      Q.    AND DO YOU RECOGNIZE EXHIBIT 110?

02:07PM    6      A.    I DO.

02:07PM    7      Q.    AND BRIEFLY, HOW DO YOU RECOGNIZE EXHIBIT 110?

02:07PM    8      A.    I WENT ALL OF THE WAY TO THE BACK TO START, AND I WAS

02:07PM    9      HAPPY TO SEE THAT I WAS RIGHT, IT WAS DECEMBER 2018.

02:07PM   10            AND MICHAEL SMOLYAK REACHED OUT TO US AGAIN AND WAS ASKING

02:07PM   11      US FOR SOME TECHNICAL SUPPORT.      HE HAD SOME TECHNICAL QUESTIONS

02:07PM   12      ABOUT NEO4J ENTERPRISE EDITION.

02:07PM   13      Q.    OKAY.    I'M JUST GOING TO PAUSE YOU RIGHT THERE.

02:08PM   14      A.    SURE.

02:08PM   15                    MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 110 INTO

02:08PM   16      EVIDENCE.

02:08PM   17                    MR. BEENE:   NO OBJECTION.

02:08PM   18                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:08PM   19            (PLAINTIFFS' EXHIBIT 110 WAS RECEIVED IN EVIDENCE.)

02:08PM   20      BY MR. RATINOFF:

02:08PM   21      Q.    AND I'M LOOKING AT EXHIBIT 110.       I'M SORRY.   I DIDN'T MEAN

02:08PM   22      TO CUT YOU OFF, I JUST WANT TO MAKE SURE THAT WE GOT THIS IN

02:08PM   23      THE RECORD.

02:08PM   24      A.    YES.

02:08PM   25      Q.    SO DID YOU HAVE ANY ADDITIONAL THOUGHTS ON THIS EMAIL



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02:08PM    1      EXCHANGE?

02:08PM    2      A.    WE'VE BEEN THROUGH IT.      THERE'S A LOT OF BACK AND FORTH

02:08PM    3      BETWEEN GARY AND MICHAEL.     I SEE IT GOES INTO JANUARY.   LOTS OF

02:08PM    4      INTERESTING DETAILS HERE.     KEEP GOING.

02:09PM    5            IT LOOKS LIKE THERE WERE SOME SECURITY ISSUES THAT THEY

02:09PM    6      WERE HAVING GETTING THINGS WORKING.

02:09PM    7            AND GETTING TO JANUARY 14TH, I SEE THAT THIS IS -- IT

02:09PM    8      LOOKS LIKE WHEN I WAS INTRODUCED TO ANOTHER PERSON AT

02:09PM    9      NEXT CENTURY, SHAHAK.

02:09PM   10      Q.    WHO IS SHAHAK?

02:09PM   11      A.    SHAHAK NAGIEL, N-A-G-I-E-L.     HE WAS THE TECHNICAL LEADER

02:09PM   12      OR TECHNICAL DIRECTOR, WHATEVER, OF THE TECHNICAL TEAM THAT WAS

02:09PM   13      EVALUATING NEO4J ENTERPRISE EDITION FOR THE MPO.

02:09PM   14      Q.    AND LOOKING AT THE EMAIL THAT YOU REFERENCED ON

02:10PM   15      JANUARY 14TH, IT LOOKS LIKE YOU HAD A CONVERSATION WITH

02:10PM   16      MR. NAGIEL?

02:10PM   17      A.    YES, I DID.

02:10PM   18      Q.    AND WHAT WAS THAT CONVERSATION ABOUT?

02:10PM   19      A.    I SEE THAT -- YEAH, THIS IS WHEN, IF I RECALL CORRECTLY,

02:10PM   20      BASED ON -- OH, YEAH.    I WROTE IT RIGHT THERE.

02:10PM   21            THEIR FUNDING FOR THEIR EVALUATION OF

02:10PM   22      NEO4J ENTERPRISE EDITION PROJECT WAS EXPIRING IN FEBRUARY AND

02:10PM   23      THEY WERE PUTTING TOGETHER A PROPOSAL, I WAS AWARE THAT THEY

02:10PM   24      WERE PUTTING TOGETHER A PROPOSAL TO THE MPO TO EXTEND THEIR

02:10PM   25      WORK WITH NEO4J TO OPERATIONALIZE, DO THE IMPLEMENTATION OF A



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02:10PM    1      SOLUTION AND APPLICATION ON TOP OF NEO4J ENTERPRISE EDITION.

02:10PM    2            SO I WANTED TO MAKE SURE THAT HE WAS AWARE THAT -- OF THE

02:10PM    3      PRICING FOR NEO4J ENTERPRISE EDITION FOR COMMERCIAL

02:11PM    4      SUBSCRIPTION SO THAT THEY COULD INCLUDE THAT IN THEIR PROPOSAL

02:11PM    5      TO THE MPO SO THAT WHEN THEY GOT THE CONTRACT WORK FROM MPO, IT

02:11PM    6      WOULD INCLUDE FUNDING SO THAT THEY COULD PURCHASE

02:11PM    7      NEO4J ENTERPRISE EDITION ON BEHALF OF THE MPO.

02:11PM    8      Q.    AND DID YOU LEARN ANYTHING ELSE ABOUT THE PROJECT DURING

02:11PM    9      THAT CONVERSATION?

02:11PM   10      A.    I DID.

02:11PM   11      Q.    WHAT WAS THAT?

02:11PM   12      A.    ACTUALLY, IT LOOKS LIKE -- AT THAT POINT HE WASN'T -- HE

02:11PM   13      HADN'T ASKED FOR PRICING YET.

02:11PM   14            I ASKED HIM IN THAT EMAIL AFTER THAT CONVERSATION IF HE

02:12PM   15      WAS INTERESTED IN GETTING PRICING FOR NEO4J.

02:12PM   16      Q.    AND THEN LOOKING AT YOUR FEBRUARY 5TH, 2019 EMAIL?

02:12PM   17      A.    YES.

02:12PM   18      Q.    IT STARTS ON THE FIRST PAGE OF THE EXHIBIT AND IT

02:12PM   19      CONTINUES ON TO THE SECOND?

02:12PM   20      A.    YES.

02:12PM   21      Q.    IN THE TOP PARAGRAPH IT SAYS, "WHEN WE SPOKE BRIEFLY EARLY

02:12PM   22      LAST MONTH, YOU HAD INDICATED THAT YOU WERE USING THE FREE OPEN

02:12PM   23      SOURCE VERSION OF NEO4J."

02:12PM   24      A.    OH, RIGHT.

02:12PM   25      Q.    "AND PLANNED TO CONTINUE."



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02:12PM    1            WHAT IS THAT IN REFERENCE TO?

02:12PM    2      A.    DURING THAT CONVERSATION WE HAD DISCUSSED THAT HE -- THEY

02:12PM    3      WERE USING THE OPEN SOURCE VERSION OF NEO4J, WHICH WOULD -- AT

02:12PM    4      THAT TIME MY EXPECTATION WAS THAT SHOULD HAVE BEEN

02:12PM    5      NEO4J COMMUNITY EDITION, THE FREE OPEN SOURCE VERSION.

02:12PM    6            BUT IT DIDN'T MAKE SENSE BECAUSE, YOU KNOW, FOR THE PAST

02:13PM    7      FEW MONTHS THEY HAD BEEN WORKING WITH GARY ON FEATURES AND

02:13PM    8      CAPABILITIES THAT ONLY EXISTED IN NEO4J ENTERPRISE EDITION.

02:13PM    9      Q.    SO AS OF JANUARY/FEBRUARY 2019, WHAT WAS THE MOST CURRENT

02:13PM   10      VERSION OF NEO4J ENTERPRISE?

02:13PM   11      A.    2019.   I'M GOING TO GO BACK TO THAT EXHIBIT AGAIN SO I

02:13PM   12      DON'T SAY THE WRONG ONE.    I THINK IT WAS 3.5.    LET ME GO BACK

02:13PM   13      AND LOOK.

02:13PM   14            IS THAT EXHIBIT 6?   YEAH.   YES.   THAT WAS 3.5.

02:13PM   15      Q.    AND AT THAT POINT WAS NEO4J OFFERING AN OPEN SOURCE

02:14PM   16      VERSION OF NEO4J ENTERPRISE?

02:14PM   17      A.    NO, WE WEREN'T.

02:14PM   18      Q.    AND THEN YOU RECEIVED A RESPONSE ON IT LOOKS LIKE THE SAME

02:14PM   19      DAY, FEBRUARY 5TH, 2019?

02:14PM   20      A.    YES.

02:14PM   21      Q.    AND THE FIRST PARAGRAPH HE SAYS, "NEO4J'S STRENGTHS HELPED

02:14PM   22      CONVINCE US AND THE CUSTOMER THAT IT IS THE RIGHT GRAPH PRODUCT

02:14PM   23      FOR THEIR REQUIREMENTS."

02:14PM   24            DO YOU SEE THAT?

02:14PM   25      A.    YES, I DO.



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02:14PM    1      Q.    AND THEN FOLLOWING THAT PARAGRAPH, "INDEED, WE HAVE

02:14PM    2      (ALMOST) REACHED THE END OF THIS TASK ORDER, AND HAVE BEEN

02:14PM    3      DEMONSTRATING OUR INTEGRATION WITH A SMALL NEO4J DEVELOPMENT

02:14PM    4      CLUSTER."

02:14PM    5            AND THEN THE NEXT SENTENCE.   "WE HAVE FOUND THAT THE OPEN

02:14PM    6      SOURCED (NON-COMMERCIAL) BUILDS FROM THE NEO4J SOURCE CODE

02:14PM    7      PROVIDE THE CLUSTERING AND SECURITY REQUIREMENTS NEEDED IN OUR

02:14PM    8      ENVIRONMENT."

02:14PM    9            AND WHAT DID YOU UNDERSTAND THAT TO MEAN?

02:15PM   10      A.    WELL, THAT HELPED ME UNDERSTAND WHY THINGS SEEMED STRANGE

02:15PM   11      BEFORE THAT WHEN HE SAID HE WAS USING THE FREE OPEN SOURCE

02:15PM   12      VERSION, AND I KNEW THAT WE WERE HELPING HIM WITH NEO4J

02:15PM   13      ENTERPRISE EDITION.

02:15PM   14            SO WHAT THAT MEANT TO ME IS THAT THE ONLY WAY THAT HE

02:15PM   15      COULD BE USING WHAT HE THOUGHT WAS A FREE OPEN SOURCED VERSION,

02:15PM   16      HE SAID OPEN SOURCE NON-COMMERCIAL BUILDS FROM THE NEO4J SOURCE

02:15PM   17      CODE, THAT HAD TO BE ONGDB.

02:15PM   18      Q.    AND WHY DID YOU THINK IT WAS ONGDB?

02:15PM   19      A.    WELL, THERE WAS NO -- AT THAT TIME THERE WAS NO FREE OPEN

02:15PM   20      SOURCE VERSION OF NEO4J ENTERPRISE EDITION.

02:15PM   21            THE ONLY THING OUT THERE THAT HE COULD HAVE BEEN USING WAS

02:15PM   22      ONGDB.

02:15PM   23      Q.    BECAUSE AT THAT TIME HE HADN'T PURCHASED A -- OR I

02:16PM   24      SHOULDN'T SAY HE, BUT NEXT CENTURY HAD NOT PURCHASED A

02:16PM   25      COMMERCIAL LICENSE NEO4J ENTERPRISE EDITION?



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02:16PM    1      A.    THAT'S CORRECT.

02:16PM    2      Q.    AND WHAT DID YOU DO AFTER YOU RECEIVED THAT EMAIL?

02:16PM    3      A.    AFTER THIS EMAIL I FOLLOWED UP WITH SHAHAK, TRIED TO

02:16PM    4      FOLLOW UP WITH SHAHAK, THE EMAIL, TO FURTHER DISCUSS, YOU KNOW,

02:16PM    5      HIS APPARENT DECISION TO USE ONGDB INSTEAD OF

02:16PM    6      NEO4J ENTERPRISE EDITION.

02:16PM    7      Q.    AND WERE YOUR EFFORTS WITH SHAHAK SUCCESSFUL?

02:16PM    8      A.    NOT IMMEDIATELY.   I HAD TO GO AROUND HIM.

02:16PM    9      Q.    WHAT DO YOU MEAN YOU HAD TO GO AROUND HIM?

02:16PM   10      A.    EVENTUALLY I HAD TO GET TO THE CTO OF NEXT CENTURY AND HAD

02:17PM   11      A MEETING WITH THE CTO.

02:17PM   12      Q.    DO YOU RECALL THE CTO'S NAME?

02:17PM   13      A.    I BELIEVE IT WAS TODD HUGHES.

02:17PM   14      Q.    AND WHAT WAS THE NATURE OF YOUR CONVERSATIONS WITH

02:17PM   15      MR. HUGHES?

02:17PM   16      A.    WELL, WE WANTED TO MEET WITH THEM BECAUSE WE WERE

02:17PM   17      CONCERNED ABOUT THE FACT THAT THEY WERE USING ONGDB, WHICH WAS

02:17PM   18      IMPROPERLY LICENSED, UNLICENSED, AND WE WANTED TO MAKE SURE

02:17PM   19      THAT THEY UNDERSTOOD THE RESTRICTIONS OF THE COMMONS CLAUSE

02:17PM   20      WHICH HAD BEEN IMPROPERLY REMOVED FROM ONGDB AND THE RISKS THAT

02:17PM   21      THEY WERE PUTTING THEMSELVES AND THEIR CUSTOMER IN BY CHOOSING

02:17PM   22      TO USE THE FREE ONGDB VERSUS USING NEO4J ENTERPRISE EDITION AND

02:18PM   23      HAVING THE CUSTOMER PURCHASE A SUBSCRIPTION.

02:18PM   24      Q.    DID MR. HUGHES CONFIRM YOUR SUSPICIONS AT THAT POINT THAT

02:18PM   25      THEY WERE USING ONGDB, THEY BEING THE NSA AND NEXT CENTURY?



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02:18PM    1      A.    I DON'T BELIEVE HE DID, NO.     HE DIDN'T AT THAT TIME.

02:18PM    2      Q.    LET'S GO AHEAD AND TURN TO EXHIBIT 116.

02:18PM    3      A.    OKAY.

02:18PM    4      Q.    LET ME KNOW WHEN YOU'VE HAD A CHANCE TO REVIEW

02:18PM    5      EXHIBIT 116.

02:19PM    6      A.    OKAY.

02:19PM    7      Q.    AND DO YOU RECOGNIZE EXHIBIT 116?

02:19PM    8      A.    YES, I DO.

02:19PM    9      Q.    AND WHAT IS EXHIBIT 116, VERY BRIEFLY?

02:19PM   10      A.    IT'S AN EMAIL THREAD BETWEEN MYSELF AND TODD HUGHES AND

02:19PM   11      SHAHAK NAGIEL IN MARCH AND APRIL OF 2019.

02:19PM   12                    MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 116 IN

02:19PM   13      EVIDENCE.

02:19PM   14                    THE COURT:   ANY OBJECTION?

02:19PM   15                    MR. BEENE:   NO OBJECTION.

02:19PM   16                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:19PM   17            (PLAINTIFFS' EXHIBIT 116 WAS RECEIVED IN EVIDENCE.)

02:19PM   18      BY MR. RATINOFF:

02:19PM   19      Q.    AND I WANT TO TURN YOUR ATTENTION TO THE BEGINNING OF THE

02:19PM   20      EMAIL THREAD.     I BELIEVE IT'S ON THE SECOND TO THE LAST PAGE,

02:19PM   21      MARCH 20TH, 2019, EMAIL.

02:19PM   22            FROM TODD HUGHES?

02:20PM   23      A.    YES.

02:20PM   24      Q.    DOES THAT HELP REFRESH YOUR RECOLLECTION OF WHEN YOU

02:20PM   25      LEARNED THAT THE MPO AND NEXT CENTURY WERE USING ONGDB?



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02:20PM    1      A.    YES.

02:20PM    2      Q.    SO DO YOU HAVE AN UNDERSTANDING OF WHAT HE'S REFERRING TO

02:20PM    3      "AFTER OUR CONVERSATION ON MARCH 8TH"?

02:20PM    4      A.    YES.

02:20PM    5      Q.    AND WHAT IS YOUR UNDERSTANDING OF THAT CONVERSATION?

02:20PM    6      A.    DURING THE CONVERSATION, LIKE I SAID, WE WERE DISCUSSING

02:20PM    7      THE RISKS OF USING ONGDB AND THAT THEY WERE USING ONGDB ON THE

02:20PM    8      MPO PROJECT, AND FOLLOWING THAT CONVERSATION THEY WERE

02:20PM    9      CONVINCED THAT THEY NEEDED TO HAVE A CONVERSATION WITH THE

02:20PM   10      CUSTOMER ABOUT NEO4J ENTERPRISE EDITION VERSUS ONGDB AND THAT

02:21PM   11      THE CUSTOMER IS NOW WILLING TO CONSIDER A QUOTE FROM NEO4J --

02:21PM   12      FOR NEO4J ENTERPRISE EDITION.

02:21PM   13      Q.    AND WHAT HAPPENED AFTER YOU RECEIVED THAT MARCH 8TH -- I'M

02:21PM   14      SORRY, THE MARCH 20TH EMAIL?

02:21PM   15      A.    WELL, THEY ALSO ASKED TO SCHEDULE A MEETING TO LEARN MORE

02:21PM   16      ABOUT THE UPCOMING NEO4J ENTERPRISE EDITION 4.0 RELEASE.

02:21PM   17            AND WE DID SCHEDULE A MEETING, AND WE ALSO PROVIDED

02:21PM   18      INFORMATION TO THEM VIA EMAIL OF HOW WE LICENSE

02:21PM   19      NEO4J ENTERPRISE EDITION, AND THEY SHARED WITH US BASED ON US

02:22PM   20      PROVIDING WHAT KIND OF INFORMATION WE WOULD NEED TO PROVIDE A

02:22PM   21      QUOTE, THEY PROVIDED TO US THE CONFIGURATION OF THE STAGING OR

02:22PM   22      TEST ENVIRONMENT THAT THEY CURRENTLY HAD OR THEY WERE CURRENTLY

02:22PM   23      BUILDING ACCORDING TO THE MARCH 22ND, MARCH 22, 2019 EMAIL FROM

02:22PM   24      SHAHAK TO ME, THEY WERE IN THE PROCESS AT THAT POINT OF

02:22PM   25      BUILDING A STAGING ENVIRONMENT.



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02:22PM    1            AND HE DESCRIBES -- HE PROVIDES THE INFORMATION FOR THAT

02:22PM    2      STAGING ENVIRONMENT TO ME SO THAT I CAN PROVIDE PRICING.

02:22PM    3      Q.    OKAY.   AND DID YOU END UP -- I THINK YOU MENTIONED THERE

02:22PM    4      WAS A MEETING.    DID YOU END UP HAVING A MEETING WITH OR

02:22PM    5      SCHEDULING A MEETING WITH THE MPO AND NEXT CENTURY?

02:22PM    6      A.    YES, WE DID.

02:22PM    7      Q.    AND DO YOU RECALL APPROXIMATELY WHEN THAT OCCURRED?

02:22PM    8      A.    WELL, AT THE TOP OF THIS EMAIL, THE EMAIL DATED APRIL 1ST

02:23PM    9      INDICATES THAT WE WERE SCHEDULING THE MEETING FOR APRIL 15TH.

02:23PM   10            SO -- AND I'M GUESSING THAT WE HAD IT ON APRIL 15TH BASED

02:23PM   11      ON -- I'M SURMISING FROM THE EMAIL THAT WE HAD IT ON

02:23PM   12      APRIL 15TH, AND I DO REMEMBER HAVING THE MEETING.

02:23PM   13      Q.    AND WHO WAS PRESENT AT THAT MEETING?

02:23PM   14      A.    FROM NEO4J IT WAS MYSELF, AND PHILIP RATHLE, AND POSSIBLY

02:23PM   15      GARY MANN AS WELL.     I DON'T REMEMBER IF GARY WAS THERE FOR

02:23PM   16      SURE.

02:23PM   17            ON THE NEXT CENTURY SIDE IT WAS JIM WEYANT, AND I BELIEVE

02:23PM   18      SHAHAK NAGIEL WAS THERE.      I'M NOT SURE IF SHAHAK WAS THERE, BUT

02:23PM   19      I KNOW JIM WAS THERE.

02:23PM   20      Q.    AND I DON'T KNOW IF WE COVERED THIS WITH YOU, BUT WHO WAS

02:24PM   21      JIM WEYANT?

02:24PM   22      A.    JIM WEYANT WAS I BELIEVE SHAHAK'S MANAGER.     SHAHAK IS

02:24PM   23      S-H-A-H-A-K.    HE WAS SHAHAK'S MANAGER, AND HE WAS A VICE

02:24PM   24      PRESIDENT AT NEXT CENTURY.      AND WEYANT IS SPELLED W-E-Y-A-N-T.

02:24PM   25      Q.    AND WAS THERE ANYONE ELSE AT THE MEETING BESIDES THE



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02:24PM    1      INDIVIDUALS -- I'M SORRY, THE INDIVIDUALS THAT YOU'VE ALREADY

02:24PM    2      LISTED?

02:24PM    3      A.    YES.   THE MPO TECHNICAL DIRECTOR FOR THE PROJECT THAT

02:24PM    4      NEXT CENTURY WAS WORKING FOR THEM, HIS NAME WAS MATT

02:24PM    5      RICHARDSON.

02:24PM    6      Q.    AND WHAT DID YOU DISCUSS AT THAT MEETING?

02:24PM    7      A.    WE DISCUSSED THE FEATURES AND CAPABILITIES COMING OUT WITH

02:25PM    8      THE NEW VERSION OF NEO4J 4.0, NEO4J ENTERPRISE EDITION 4.0.

02:25PM    9            THERE WERE A LOT OF CHANGES IN 4.0, AND HE THOUGHT HE

02:25PM   10      SHOULD KNOW ABOUT WHAT IS IN 4.0, BECAUSE IF HE WAS GOING TO

02:25PM   11      CONTINUE TO USE ONGDB, IT WASN'T GOING TO BE POSSIBLE FOR HIM

02:25PM   12      TO GET THE 4.0 ENTERPRISE FEATURES BECAUSE NEO4J 3.5 AND

02:25PM   13      BEYOND, INCLUDING 4.0, WERE FULLY CLOSED SOURCE.

02:25PM   14            AND WE ALSO DISCUSSED THE IMPROPER LICENSING OF ONGDB AND

02:25PM   15      THE RISKS THAT WE SAW THAT HE WOULD BE PUTTING ON NEXT CENTURY

02:25PM   16      AND THE MPO BY CONTINUING TO USE ONGDB.

02:26PM   17            AND SO WE TALKED ABOUT AGAIN THE REQUIREMENTS THAT THEY

02:26PM   18      HAD FOR NEO4J.

02:26PM   19            AND AT THE END OF THE MEETING THE CUSTOMER ASKED FOR A

02:26PM   20      QUOTE, AND I REMEMBER IT LIKE IT WAS YESTERDAY.     AFTER WE WERE

02:26PM   21      WALKING OUT OF THE MEETING, AFTER THE CUSTOMER ALREADY LEFT,

02:26PM   22      JIM AND I WERE WALKING TOGETHER AND HE SAID SOMETHING TO ME

02:26PM   23      LIKE, SO JUST SEND US A PROPOSAL, AND WE WILL MAKE SURE IT GETS

02:26PM   24      TO MATT, BECAUSE I DIDN'T HAVE MATT'S CONTACT INFORMATION.

02:26PM   25      Q.    AND DID YOU END UP PREPARING A PROPOSAL?



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02:26PM    1      A.    YES, I DID.

02:26PM    2      Q.    AND DID YOU SEND THAT PROPOSAL TO JIM?

02:26PM    3      A.    I SENT IT TO SHAHAK, I BELIEVE.

02:26PM    4      Q.    ALL RIGHT.

02:26PM    5      A.    WHO WORKED FOR JIM?

02:26PM    6      Q.    ALL RIGHT.    LET'S TURN TO EXHIBIT 118.

02:27PM    7            ACTUALLY, BEFORE WE DO, THIS ONE HAS BEEN MARKED AS AEO,

02:27PM    8      SO I WOULD ASK THAT WE GO AHEAD AND KEEP IT FROM THE PUBLIC

02:27PM    9      RECORD.

02:27PM   10                  THE COURT:   OKAY.    IT'S 118?

02:27PM   11                  MR. RATINOFF:   CORRECT, 118.

02:27PM   12      Q.    DO YOU RECOGNIZE WHAT HAS BEEN PREMARKED AS EXHIBIT 118?

02:27PM   13      A.    YES, I DO.

02:27PM   14      Q.    AND WHAT IS IT?

02:27PM   15      A.    IT'S AN EMAIL FROM ME TO SHAHAK COPIED TO JIM DATED

02:27PM   16      APRIL 19, 2019.

02:27PM   17                  MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 118 INTO

02:27PM   18      EVIDENCE.

02:27PM   19                  THE COURT:   ANY OBJECTION?

02:27PM   20                  MR. BEENE:   NO OBJECTION.

02:27PM   21                  THE COURT:   IT'S ADMITTED.   IT WON'T BE PUBLISHED.

02:27PM   22            (PLAINTIFFS' EXHIBIT 118 WAS RECEIVED IN EVIDENCE.)

02:27PM   23      BY MR. RATINOFF:

02:27PM   24      Q.    AND THEN IT LOOKS LIKE THERE'S AN ATTACHMENT TO THIS

02:27PM   25      EMAIL.



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02:27PM    1            WHAT IS THE ATTACHMENT?

02:27PM    2      A.    IT'S THE PROPOSAL THAT I PREPARED FOR THE KMS PROJECT,

02:28PM    3      WHICH WAS THE PROJECT THAT NEXT CENTURY WAS WORKING ON FOR MPO.

02:28PM    4      Q.    AND I'M GOING TO ASK YOU SOME SPECIFIC QUESTIONS ABOUT THE

02:28PM    5      PRICING, SO IF THERE'S ANYTHING THAT YOU FEEL LIKE YOU DON'T

02:28PM    6      WANT IN THE PUBLIC RECORD OR FOR MR. SUHY TO HEAR, JUST LET ME

02:28PM    7      KNOW AND WE CAN, I THINK, AGREE THAT HE CAN STEP OUT FOR A

02:28PM    8      MINUTE OR TWO.

02:28PM    9      A.    OKAY.    I DON'T WANT TO MENTION ANY OF THE PRICING IN THE

02:28PM   10      PUBLIC RECORD.

02:28PM   11      Q.    OKAY.

02:28PM   12                    MR. RATINOFF:   YOUR HONOR, I WOULD ASK AT THIS POINT

02:28PM   13      THAT ONLY PERSONS WHO ARE ENTITLED TO VIEW NEO4J ENTERPRISE AEO

02:28PM   14      MATERIAL BE ALLOWED TO HEAR THE TESTIMONY.

02:28PM   15            I BELIEVE THAT WOULD BE COUNSEL FOR THE DEFENDANTS AND IT

02:28PM   16      LOOKS LIKE EVERYONE ELSE FROM THIS SIDE FOR NEO4J ARE FROM OUR

02:28PM   17      OFFICE.

02:28PM   18                    THE COURT:   OKAY.

02:28PM   19                    MR. BEENE:   YES.

02:28PM   20                    THE COURT:   ALL RIGHT.   IF THOSE PARTIES COULD LEAVE

02:28PM   21      THE COURTROOM NOW, AND WE WILL INDICATE WHEN THEY CAN RETURN.

02:29PM   22            THIS IS SEALED, AND IT'S NOT BEING DISPLAYED ON OUR

02:29PM   23      MONITORS.

02:29PM   24            (SEALED PROCEEDINGS PAGES 127 - 129.)

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02:29PM    1      ///

02:34PM    2      ///

02:34PM    3            (OPEN COURT.)

02:34PM    4      BY MR. RATINOFF:

02:34PM    5      Q.    AND THEN WHAT HAPPENED AFTER YOU SENT THAT PROPOSAL TO

02:34PM    6      NEXT CENTURY?

02:34PM    7      A.    I FOLLOWED UP WITH SHAHAK ASKING, YOU KNOW, HOW THE

02:35PM    8      CUSTOMER RESPONDED TO THE QUOTE IN AN EMAIL.

02:35PM    9      Q.    AND DID YOU GET A RESPONSE FROM SHAHAK?

02:35PM   10      A.    AS I RECALL IT WASN'T IMMEDIATE, BUT I KEPT FOLLOWING UP,

02:35PM   11      AND I DID GET A RESPONSE.

02:35PM   12      Q.    AND DO YOU RECALL WHAT THAT RESPONSE WAS?

02:35PM   13      A.    YES.    THE RESPONSE WAS THAT THEY WEREN'T GOING TO PURCHASE

02:35PM   14      NEO4J ENTERPRISE EDITIONS.

02:35PM   15      Q.    OKAY.    AND LET ME TURN YOU TO EXHIBIT 119.

02:35PM   16      A.    I'M THERE.

02:35PM   17      Q.    JUST LET ME KNOW WHEN YOU'VE HAD A CHANCE TO LOOK AT 119.

02:35PM   18      A.    YES, I'M LOOKING AT IT.     I'LL GO TO THE BACK.   IT'S JUST

02:35PM   19      TWO PAGES.     SO, YES, I SEE IT.

02:36PM   20      Q.    AND DO YOU RECOGNIZE EXHIBIT 119?

02:36PM   21      A.    I DO.

02:36PM   22      Q.    AND WHAT IS EXHIBIT 119?

02:36PM   23      A.    IT'S AN EMAIL EXCHANGE BETWEEN MYSELF AND SHAHAK REGARDING

02:36PM   24      THE PRICING PROPOSAL THAT I HAD PROVIDED.

02:36PM   25                    MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 119 INTO



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02:36PM    1      EVIDENCE.

02:36PM    2                  MR. BEENE:   NO OBJECTION.

02:36PM    3                  THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:36PM    4            (PLAINTIFFS' EXHIBIT 119 WAS RECEIVED IN EVIDENCE.)

02:36PM    5      BY MR. RATINOFF:

02:36PM    6      Q.    AND I'LL TURN YOUR ATTENTION TO THE FILING ON THE CHAIN.

02:36PM    7      IT SHOULD BE THE TOP OF THE FIRST PAGE.

02:36PM    8            AND WHAT DID YOU UNDERSTAND MR. NAGIEL TO MEAN THAT "WE

02:36PM    9      CONTINUE TO USE ONGDB FOR OUR DEVELOPMENT PURPOSES BASED ON THE

02:36PM   10      CUSTOMER'S DIRECTION"?

02:36PM   11      A.    I UNDERSTOOD THAT MATT RICHARDSON HAD TOLD NEXT CENTURY TO

02:36PM   12      CONTINUE TO USE ONGDB AND BECAUSE THEY DIDN'T WANT TO SPEND

02:37PM   13      MONEY ON NEO4J ENTERPRISE EDITION LICENSING WHEN THEY COULD GET

02:37PM   14      ONGDB FOR FREE.

02:37PM   15      Q.    AND TO YOUR KNOWLEDGE DID THEY, AFTER THIS -- I'M SORRY.

02:37PM   16      STRIKE THAT.

02:37PM   17            AFTER THIS COMMUNICATION, WHAT ELSE TRANSPIRED BETWEEN

02:37PM   18      NEO4J AND NEXT CENTURY?

02:37PM   19      A.    I BELIEVE I FOLLOWED UP AGAIN, AND I WANTED TO HAVE

02:37PM   20      PROBABLY FURTHER CONVERSATIONS ABOUT THEIR DECISION.     I'M SURE

02:37PM   21      I RESPONDED TO THE EMAIL OR SOMETHING TO THAT EFFECT.

02:37PM   22      Q.    AND ULTIMATELY DID NEXT CENTURY COME BACK AND ACCEPT THE

02:38PM   23      PROPOSAL THAT YOU PROVIDED THEM?

02:38PM   24      A.    NO, THEY NEVER DID.

02:38PM   25      Q.    HAD YOU CLOSED THAT SALE, WHICH -- OR WOULD YOU HAVE USED



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02:38PM    1      A RESELLER?

02:38PM    2      A.    YES, I WOULD HAVE.

02:38PM    3      Q.    OKAY.   AND AT THAT TIME IN APRIL OF 2019, WHICH RESELLER

02:38PM    4      WOULD YOU HAVE USED?

02:38PM    5      A.    AT THAT TIME I WOULD HAVE USED I BELIEVE INTELLIPEAK.

02:38PM    6      Q.    AND WHY INTELLIPEAK?

02:38PM    7      A.    THEY WERE A PARTNER THAT WE HAD RECENTLY BROUGHT ON TO

02:38PM    8      RESELL INTO THE INTELLIGENCE COMMUNITY.

02:38PM    9      Q.    AND WOULD THERE HAVE BEEN A RESELLER FEE INVOLVED WITH

02:39PM   10      INTELLIPEAK?

02:39PM   11      A.    YES.

02:39PM   12      Q.    AND DO YOU KNOW WHAT THAT RESELLER FEE WOULD HAVE BEEN?

02:39PM   13      A.    YES, 7 PERCENT.

02:39PM   14      Q.    NOW, YOU MENTIONED YOU HAD A LONG HISTORY WITH MPO.      I

02:39PM   15      DON'T THINK WE GOT INTO YOUR HISTORY AT NEO4J.

02:39PM   16            HAVE YOU EVER BEEN ABLE TO -- I'M SORRY.       STRIKE THAT.

02:39PM   17            HAVE YOU MADE ANY OTHER SALES TO THE MPO WHILE AT NEO4J?

02:39PM   18      A.    YES, I HAVE.

02:39PM   19      Q.    AND DO YOU RECALL APPROXIMATELY HOW MANY SALES YOU'VE

02:39PM   20      MADE?

02:39PM   21      A.    AT LEAST THREE OR FOUR.

02:39PM   22      Q.    AND TO THE BEST OF YOUR RECOLLECTION, DO YOU -- LET'S

02:39PM   23      START WITH THE FIRST ONE THAT COMES TO YOUR MIND.

02:39PM   24            WHAT SALE IS THAT?

02:39PM   25      A.    YES.    I REMEMBER THE FIRST ONE VERY WELL BECAUSE IT WAS



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02:39PM    1      ALMOST IMMEDIATELY AFTER I JOINED NEO4J IN OCTOBER OF 2016 I

02:39PM    2      GOT IN CONTACT WITH A PROGRAM CALLED GRAND ALCHEMY AT THE MPO

02:40PM    3      AND FAIRLY QUICKLY CLOSED A DEAL.

02:40PM    4             THEY HAD ALREADY BEEN USING THE NEO4J COMMUNITY EDITION,

02:40PM    5      THEY NEEDED SOME ENTERPRISE FEATURES INCLUDING CLUSTERING AND

02:40PM    6      ENTERPRISE SECURITY, SO THEY WANTED TO MOVE TO

02:40PM    7      NEO4J ENTERPRISE EDITION.      AND IT WAS PROBABLY AROUND THE

02:40PM    8      MIDDLE OF THE SUMMER OF 2018 THAT I CLOSED THAT FIRST DEAL WITH

02:40PM    9      THE MPO.

02:40PM   10      Q.     AND DO YOU RECALL WHAT THE DEAL WAS FOR PRODUCT WISE?

02:40PM   11      A.     IT WAS, IT WAS A FAIRLY SMALL DEAL, BUT THEY NEEDED

02:40PM   12      CLUSTERING, SO IT MUST HAVE BEEN THE BUSINESS BUNDLE.

02:40PM   13      Q.     AND WAS IT A MULTI YEAR OR A ONE YEAR DEAL?

02:40PM   14      A.     IT WAS A MULTI YEAR DEAL.

02:41PM   15      Q.     AND DO YOU RECALL ANY OTHER SALES THAT YOU MADE TO THE

02:41PM   16      MPO?

02:41PM   17      A.     YES, I DO.

02:41PM   18      Q.     OKAY.   WHAT IS THE NEXT ONE THAT COMES TO MIND?

02:41PM   19      A.     THE NEXT ONE IS A PROGRAM CALLED ROCK STAR.    IT WAS A

02:41PM   20      SMALLER DEAL.      IT WAS A DISCOVERY BUNDLE.   AND I REMEMBER THEY

02:41PM   21      RENEWED AT LEAST -- THEY RENEWED ONCE, ONE YEAR, I BELIEVE.

02:41PM   22      Q.     AND WERE THERE ANY OTHER DEALS WITH THE MPO THAT YOU WERE

02:41PM   23      ABLE TO CLOSE THAT COME TO MIND?

02:41PM   24      A.     YES.    THE NEXT ONE WAS A PROGRAM CALLED VIGILANT TIGER.

02:41PM   25      Q.     AND WHAT WAS VIGILANT TIGER AS FAR AS THE DEAL?



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02:41PM    1      A.    YEAH.    IT WAS GRAPH DATA SCIENCE LARGE BUNDLE, SO IT WAS A

02:41PM    2      PRETTY BIG DEAL.     AND THEY'RE STILL A CUSTOMER.     THEY'VE

02:42PM    3      RENEWED -- LET'S SEE.      THEY'VE RENEWED TWICE.    WE GOT THE

02:42PM    4      SECOND RENEWAL THIS YEAR IN 2023.       SO THE FIRST RENEWAL WAS IN

02:42PM    5      2022, SO WE MUST HAVE DONE THE FIRST DEAL IN 2021.       YEAH, IT

02:42PM    6      WAS A COVID DEAL, YEP, 2021.

02:42PM    7      Q.    SO I UNDERSTAND, THE VIGILANT TIGER THEN IS STILL AN

02:42PM    8      ACTIVE SUBSCRIPTION?

02:42PM    9      A.    YES, THEY'RE STILL A CUSTOMER.

02:42PM   10                    MR. RATINOFF:   YOUR HONOR, I HAVE NO FURTHER

02:42PM   11      QUESTIONS AT THIS TIME.

02:42PM   12                    THE COURT:   CROSS-EXAMINATION?

02:42PM   13                    MR. BEENE:   YOUR HONOR, WOULD IT BE APPROPRIATE TO

02:42PM   14      TAKE A LITTLE BREAK RIGHT NOW?

02:42PM   15                    THE COURT:   SURE.   WE CAN TAKE ABOUT 12 MINUTES.

02:42PM   16                    MR. BEENE:   PERFECT.

02:42PM   17                    THE COURT:   DOES THAT WORK?

02:42PM   18                    MR. BEENE:   THANK YOU.

02:42PM   19                    THE COURT:   AND THEN WE'LL RETURN FOR

02:42PM   20      CROSS-EXAMINATION.

02:43PM   21            (RECESS FROM 2:43 P.M. UNTIL 3:03 P.M.)

03:03PM   22                    THE COURT:   WE'RE BACK ON THE RECORD.   ALL PARTIES

03:03PM   23      PREVIOUSLY PRESENT ARE PRESENT AGAIN.

03:03PM   24            SIR, IF YOU WOULD TAKE THE STAND AGAIN.

03:03PM   25            MR. BEENE, YOU HAVE CROSS-EXAMINATION?



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03:04PM    1                    MR. BEENE:   YES, YOUR HONOR.

03:04PM    2            AND I UNDERSTAND I'M SUPPOSED TO STAND HERE FOR THIS

03:04PM    3      (INDICATING)?

03:04PM    4                    THE COURT:   WHEREVER YOU WOULD LIKE.   AT A LECTERN.

03:04PM    5      THAT ONE IS FINE.     YOU'LL BE CLOSER.

03:04PM    6                    MR. BEENE:   NO PROBLEM.

03:04PM    7                                 CROSS-EXAMINATION

03:04PM    8      BY MR. BEENE:

03:04PM    9      Q.    GOOD AFTERNOON, SIR.

03:04PM   10      A.    GOOD AFTERNOON.

03:04PM   11      Q.    HOW ARE YOU DOING?

03:04PM   12      A.    I'M DOING WELL.      HOW ARE YOU.

03:04PM   13      Q.    I'M DOING OKAY.

03:04PM   14            AS I TOLD YOUR COUNSEL BEFORE THE BREAK, I WANTED TO ASK

03:04PM   15      YOU SOME GENERAL QUESTIONS TO SEE IF WE CAN GET THROUGH THINGS

03:04PM   16      EASILY, AND IF NOT, THEN WE'LL GO THROUGH THIS DOCUMENTS.

03:04PM   17            OKAY?

03:04PM   18      A.    OKAY.

03:04PM   19      Q.    SO FIRST, YOU TESTIFIED THAT NEO4J AND MR. SUHY'S ENTITIES

03:04PM   20      COMPETE?

03:04PM   21      A.    YES.

03:04PM   22      Q.    BECAUSE YOU BOTH SUPPORT ENTERPRISE; RIGHT?

03:05PM   23      A.    YES.

03:05PM   24      Q.    OKAY.    NOW, THE THING IS, IS ENTERPRISE ONE IS A

03:05PM   25      COMMERCIAL VERSION; RIGHT?



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03:05PM    1      A.    I DON'T UNDERSTAND YOUR QUESTION.

03:05PM    2                    MR. RATINOFF:   OBJECTION.   VAGUE.

03:05PM    3                    THE COURT:   I'M SORRY, YOU DON'T UNDERSTAND THE

03:05PM    4      QUESTION?

03:05PM    5                    THE WITNESS:    I DON'T UNDERSTAND HIS QUESTION.

03:05PM    6            CAN YOU BE MORE SPECIFIC?

03:05PM    7      BY MR. BEENE:

03:05PM    8      Q.    DOES NEO4J SELL SOFTWARE LICENSES?

03:05PM    9      A.    YES.

03:05PM   10      Q.    OKAY.    AND IS THAT A COMMERCIAL TRANSACTION?

03:05PM   11      A.    YES.

03:05PM   12      Q.    OKAY.    SO I'M TALKING ABOUT ENTERPRISE THAT'S LICENSED

03:05PM   13      COMMERCIALLY?

03:05PM   14      A.    YES.

03:05PM   15      Q.    AND THAT'S WHAT NEO4J U.S.A. SUPPORTS; CORRECT?

03:05PM   16      A.    YES.

03:05PM   17      Q.    OKAY.    NOW, MR. SUHY DOESN'T SUPPORT THAT VERSION OF

03:05PM   18      ENTERPRISE, DOES HE?

03:05PM   19                    MR. RATINOFF:   OBJECTION AS VAGUE, YOUR HONOR.

03:05PM   20                    THE COURT:   IT'S CALLING ON HIS KNOWLEDGE, IF HE

03:06PM   21      KNOWS THAT.

03:06PM   22                    MR. BEENE:   YES.

03:06PM   23                    THE COURT:   DO YOU UNDERSTAND THE QUESTION, SIR?

03:06PM   24                    THE WITNESS:    I DON'T UNDERSTAND THE QUESTION.

03:06PM   25      BY MR. BEENE:



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03:06PM    1      Q.    OKAY.    SO --

03:06PM    2                    THE COURT:    WHY DON'T YOU RE-ASK THE QUESTION.

03:06PM    3                    MR. BEENE:    YES, I WILL.

03:06PM    4      Q.    SO YOU SAID THAT NEO4J AND MR. SUHY COMPETE BECAUSE YOU

03:06PM    5      BOTH SUPPORT ENTERPRISE; CORRECT?

03:06PM    6      A.    I DON'T THINK I SAID IT THAT WAY, NO.

03:06PM    7      Q.    OKAY.    HOW DO THEY COMPETE THEN?

03:06PM    8      A.    WELL, NEO4J, INC., SELLS COMMERCIAL SUBSCRIPTIONS FOR

03:06PM    9      NEO4J ENTERPRISE EDITION AND SELLS SERVICES ON

03:06PM   10      NEO4J ENTERPRISE EDITION.

03:06PM   11            AND MR. SUHY AND HIS COMPANIES OVER THE YEARS HAVE

03:06PM   12      PROVIDED VERSIONS, PIRATED VERSIONS OF NEO4J ENTERPRISE EDITION

03:07PM   13      ALONG WITH SERVICES THAT HE WAS SELLING ON THOSE PIRATED

03:07PM   14      NEO4J ENTERPRISE EDITION.

03:07PM   15      Q.    AND THE PIRATED VERSIONS, THE SOFTWARE IS BASED ON

03:07PM   16      NEO4J AB'S SOFTWARE; CORRECT?

03:07PM   17      A.    I DON'T UNDERSTAND WHAT YOU MEAN BY NEO4J AB'S SOFTWARE.

03:07PM   18      Q.    OKAY.    HAVE YOU EVER HEARD OF THE AGPL LICENSE?

03:07PM   19      A.    YES.

03:07PM   20      Q.    AND DO YOU KNOW WHO NEO4J AB IS?

03:07PM   21      A.    YES.

03:07PM   22      Q.    AND THAT'S A SWEDISH COMPANY; RIGHT?

03:07PM   23      A.    THAT'S CORRECT.

03:07PM   24      Q.    AND THEY LICENSE NEO4J SOFTWARE UNDER A AGPL LICENSE;

03:07PM   25      RIGHT?



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03:07PM    1      A.    THEY LICENSE NEO4J COMMUNITY EDITION UNDER A GPL LICENSE.

03:07PM    2      Q.    RIGHT, BUT IT'S NEO4J SOFTWARE; RIGHT?

03:08PM    3      A.    YES.

03:08PM    4      Q.    AND THEY ALSO LICENSE NEO4J SOFTWARE UNDER THE AGPL

03:08PM    5      LICENSE; RIGHT?

03:08PM    6      A.    TODAY THEY DO NOT LICENSE SOFTWARE UNDER THE AGPL LICENSE.

03:08PM    7      Q.    OKAY.    THEY DID BEFORE, DIDN'T THEY?

03:08PM    8      A.    YES.    THERE WAS A PREVIOUS TIME WHEN NEO4J LICENSED

03:08PM    9      NEO4J ENTERPRISE EDITION UNDER THE AGPL, AND THEN THERE WAS A

03:08PM   10      TIME THAT THEY LICENSED NEO4J UNDER THE AGPL WITH A COMMONS

03:08PM   11      CLAUSE.

03:08PM   12      Q.    RIGHT.    SO THE VERSION -- WHAT WAS IT, VERSION 3.5, WAS

03:08PM   13      THAT THE LAST AGPL VERSION THAT NEO4J AB LICENSED?

03:08PM   14      A.    NO.

03:08PM   15      Q.    WHAT WAS THE LAST VERSION?

03:08PM   16      A.    THE LAST VERSION OF NEO4J THAT WAS AGPL WITHOUT THE

03:09PM   17      COMMONS CLAUSE WAS NEO4J ENTERPRISE EDITION 3.3.

03:09PM   18      Q.    AND SO MY QUESTION WAS WHAT WAS THE LAST VERSION OF THE

03:09PM   19      SOFTWARE UNDER THE AGPL?      I DIDN'T RESTRICT IT WITH COMMONS

03:09PM   20      CLAUSE.

03:09PM   21      A.    OH, I THINK I CORRECTLY ANSWERED THAT THE LAST VERSION OF

03:09PM   22      NEO4J LICENSED UNDER THE AGPL WAS 3.3.

03:09PM   23      Q.    OKAY.    AND WHAT WAS THE LAST VERSION BEFORE THE COMMONS

03:09PM   24      CLAUSE WAS ADDED?

03:09PM   25                    MR. RATINOFF:   OBJECTION.   ASKED AND ANSWERED.



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03:09PM    1                    THE COURT:    I DON'T THINK IT WAS.      OVERRULED.

03:09PM    2                    MR. BEENE:    I'M SORRY.

03:09PM    3                    THE COURT:    OVERRULED.   YOU CAN ANSWER THE QUESTION.

03:09PM    4                    THE WITNESS:    I'LL SAY IT AGAIN.       THE LAST VERSION

03:09PM    5      LICENSED UNDER THE NEO4J -- SORRY.        THE LAST VERSION OF

03:09PM    6      NEO4J ENTERPRISE UNDER THE AGPL WITHOUT THE COMMONS CLAUSE WAS

03:10PM    7      NEO4J ENTERPRISE EDITION VERSION 3.3.

03:10PM    8      BY MR. BEENE:

03:10PM    9      Q.    OKAY.    OKAY.    SO I'M NOT HEARING CORRECTLY.

03:10PM   10            WHAT IS THE VERSION WHERE THE COMMONS CLAUSE WAS PUT ON

03:10PM   11      THE AGPL SOFTWARE?

03:10PM   12      A.    NEO4J ENTERPRISE EDITION VERSION 3.4.

03:10PM   13      Q.    ALL RIGHT.    AND HOW MANY MORE VERSIONS WERE THERE OF THE

03:10PM   14      AGPL WHICH HAD THE COMMONS CLAUSE IN IT?

03:10PM   15      A.    3.4 AND ALL OF THE 3.4 SUB RELEASES, 3.4.1, 3.4.2 --

03:10PM   16      Q.    SURE.

03:10PM   17      A.    -- WERE UNDER THE AGPL WITH THE COMMONS CLAUSE.

03:11PM   18            3.5 WAS CLOSED SOURCE, NOT AVAILABLE UNDER THE AGPL WITH

03:11PM   19      THE COMMONS CLAUSE.

03:11PM   20            THE EXCEPTION, THERE WAS A PRE-RELEASE 3.5 THAT WAS

03:11PM   21      LICENSED UNDER THE, UNDER THE AGPL WITH COMMONS CLAUSE.

03:11PM   22            BUT WHEN THE RELEASE VERSION OF 3.5 CAME OUT, IT WAS NOT

03:11PM   23      AVAILABLE WITH AGPL AND COMMONS CLAUSE.

03:11PM   24      Q.    OKAY.

03:11PM   25      A.    ONLY THE PRE-RELEASED VERSION WHICH WAS OUT THERE ON



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03:11PM    1      GITHUB.

03:11PM    2      Q.    OKAY.   SO MR. SUHY, THE DEFENDANTS IN THIS CASE, THEY

03:11PM    3      SUPPORT THE AGPL VERSION OF ENTERPRISE; CORRECT?

03:11PM    4      A.    NO.

03:11PM    5      Q.    OKAY.   DO THEY SUPPORT --

03:12PM    6      A.    I APOLOGIZE.    LET ME RE-ANSWER THAT QUESTION.

03:12PM    7            THERE WAS A TIME WHEN MR. SUHY'S, SOME OF HIS COMPANIES

03:12PM    8      SUPPORTED THE NEO4J VERSION WITH AGPL WITHOUT THE COMMONS

03:12PM    9      CLAUSE, AND THEN THERE WERE TIMES, INCLUDING NOW I BELIEVE,

03:12PM   10      WHERE MR. SUHY'S COMPANIES SUPPORTED IN SUPPORT OF

03:12PM   11      NEO4J ENTERPRISE EDITION WITH AGPL AND COMMONS CLAUSE.

03:12PM   12      Q.    BUT EVER SINCE THE PARTNERSHIPS TERMINATED, HE'S NEVER

03:12PM   13      SUPPORTED THE BINARY VERSION THAT NEO4J U.S.A. LICENSES?

03:12PM   14      A.    COULD YOU REPEAT THE QUESTION, PLEASE?

03:13PM   15      Q.    SURE.   SINCE HE WAS TERMINATED AS A PARTNER, OKAY, BEFORE

03:13PM   16      THEN HE WAS SUPPORTING THE NEO4J COMMERCIAL VERSION; RIGHT?

03:13PM   17      A.    YES, THAT'S CORRECT.

03:13PM   18      Q.    AFTER HE WAS TERMINATED, HE NO LONGER SUPPORTS THE

03:13PM   19      COMMERCIAL VERSION; RIGHT?

03:13PM   20      A.    THAT'S CORRECT.

03:13PM   21      Q.    OKAY.   HE SUPPORTS WHAT WE WOULD BE CALLING THE SWEDEN --

03:13PM   22      LET ME START THAT OVER AGAIN.

03:13PM   23            HE SUPPORTS THE NEO4J AB AGPL VERSION AFTER HIS

03:13PM   24      TERMINATION?

03:13PM   25      A.    I WOULDN'T -- NO.    I -- THERE IS NO NEO4J AB VERSION OF



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03:14PM    1      NEO4J ENTERPRISE EDITION.

03:14PM    2            NEO4J AB AND NEO4J, INC., BOTH SELL THE SAME SOFTWARE.

03:14PM    3      Q.    HOW MUCH DOES SWEDEN CHARGE FOR THE AGPL LICENSE?

03:14PM    4      A.    HOW MUCH DO THEY CHARGE FOR THE AGPL LICENSE?

03:14PM    5            NEO4J AB NOR NEO4J, INC., EVER CHARGED FOR SOFTWARE

03:14PM    6      LICENSED UNDER THE AGPL.

03:14PM    7            AT THE TIME WHEN THERE WAS A NEO4J ENTERPRISE UNDER THE

03:14PM    8      AGPL, WE HAD A DUAL LICENSE MODEL.    THE SAME SOFTWARE WAS

03:14PM    9      LICENSED VIA GPL, SORRY, VIA AGPL AND COMMONS CLAUSE AND

03:15PM   10      LICENSED COMMERCIALLY.

03:15PM   11            SO IF YOU WERE A CUSTOMER, THE COMMERCIAL LICENSE APPLIED

03:15PM   12      TO YOU.

03:15PM   13      Q.    AND IF YOU DID NOT WANT TO DO THAT AS THE IRS AND NSA DID

03:15PM   14      NOT WANT TO DO THAT, YOU GO AND DOWNLOAD THE OPEN SOURCE

03:15PM   15      VERSION; RIGHT?

03:15PM   16      A.    NO.

03:15PM   17      Q.    THEY COULDN'T DO THAT?

03:15PM   18      A.    NOT FROM NEO4J.

03:15PM   19      Q.    ANYWHERE?   IS THERE A COPY OF THE NEO4J SOFTWARE OUT THERE

03:15PM   20      ON THE INTERNET?

03:15PM   21      A.    YES, THERE IS.    THERE HAVE BEEN MANY COPIES OF THE NEO4J

03:15PM   22      SOFTWARE WHICH MR. SUHY PRODUCED AND DISTRIBUTED THAT WERE

03:15PM   23      EXECUTABLES GENERATED BY MR. SUHY COMPILING

03:15PM   24      NEO4J ENTERPRISE EDITION SOFTWARE OF VARIOUS FLAVORS AND

03:15PM   25      VERSIONS AND LICENSES.



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03:15PM    1      Q.    AND THOSE WERE AVAILABLE ON THE GRAPH FOUNDATION GITHUB

03:16PM    2      REPOSITORY?

03:16PM    3      A.    THE SOURCE FILES OR THE EXECUTABLES?

03:16PM    4      Q.    THE EXECUTABLES.

03:16PM    5      A.    NO, THE EXECUTABLES -- I DON'T BELIEVE GITHUB INCLUDES

03:16PM    6      EXECUTABLES.   GITHUB IS JUST THE SOURCE CODE.

03:16PM    7            MR. SUHY DISTRIBUTED THE EXECUTABLES VIA HIS VARIOUS

03:16PM    8      WEBSITES, IGOV, GRAPH STACK, GRAPH STACK.IO, AND ALSO VIA THE

03:16PM    9      GRAPH FOUNDATION WEBSITE.

03:16PM   10      Q.    SO THE GRAPH FOUNDATION DID HAVE THE REPOSITORY FOR ONGDB,

03:16PM   11      DIDN'T IT?

03:16PM   12      A.    THE GRAPH FOUNDATION?   WHAT DO YOU MEAN BY REPOSITORY?

03:17PM   13      Q.    DOES NEO4J AB HAVE A REPOSITORY FOR SOFTWARE ON GITHUB?

03:17PM   14      A.    YES.

03:17PM   15      Q.    OKAY.

03:17PM   16      A.    THE SOURCE CODE FOR -- TODAY THE SOURCE CODE FOR

03:17PM   17      NEO4J COMMUNITY EDITION IS AVAILABLE ON GITHUB.

03:17PM   18            THE SOURCE CODE FOR NEO4J ENTERPRISE EDITION AVAILABLE

03:17PM   19      TODAY IS NOT AVAILABLE ON GITHUB TODAY.

03:17PM   20            THERE HAVE BEEN TIMES IN THE PAST WHERE THE

03:17PM   21      NEO4J ENTERPRISE EDITION SOURCE CODE WITH AGPL AND/OR WITH AGPL

03:17PM   22      AND COMMONS CLAUSE WERE AVAILABLE ON GITHUB.

03:17PM   23      Q.    SO YOU KNOW WHAT A REPOSITORY IS, DON'T YOU?

03:17PM   24      A.    YES.

03:17PM   25      Q.    AND ISN'T ONGDB ON GRAPH FOUNDATION'S REPOSITORY?



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03:18PM    1      A.    YES, THE SOURCE CODE FOR ONGDB IS ON GRAPH FOUNDATION'S

03:18PM    2      REPOSITORY.

03:18PM    3            IT'S ALSO ON GRAPH STACK.IO'S REPOSITORY.

03:18PM    4            SO GRAPH FOUNDATION'S REPOSITORY WAS NOT THE ONLY PLACE

03:18PM    5      THAT SOMEBODY COULD GET THE ONGDB SOURCE CODE.

03:18PM    6      Q.    THE COMMUNITY VERSION, THAT'S THE GPL VERSION OF NEO4J;

03:18PM    7      CORRECT?

03:18PM    8      A.    YES.

03:18PM    9      Q.    AND YOU TOLD THE IRS THAT THEY COULD USE THE COMMUNITY

03:18PM   10      VERSION OF NEO4J?

03:18PM   11                   MR. RATINOFF:    OBJECTION.   IT'S VAGUE AS TO TIME.

03:18PM   12                   THE COURT:   DO YOU WANT TO TIME STAMP THAT?

03:18PM   13            DO YOU UNDERSTAND THE QUESTION, WHEN YOU SPOKE TO THE IRS?

03:19PM   14                   THE WITNESS:    I UNDERSTAND THE QUESTION, BUT I DON'T

03:19PM   15      UNDERSTAND THE TIMEFRAME.

03:19PM   16                   THE COURT:   COULD YOU HELP THE WITNESS.

03:19PM   17                   MR. BEENE:   YOU KNOW, I WILL.

03:19PM   18            I'LL HAVE TO GO THROUGH THE DOCUMENTS IF HE CAN'T

03:19PM   19      REMEMBER.    I WAS TRYING TO DO IT QUICKLY, BUT THAT'S NOT GOING

03:19PM   20      TO HAPPEN.

03:19PM   21                   THE COURT:   SURE.

03:19PM   22      BY MR. BEENE:

03:19PM   23      Q.    THE IRS USED THE COMMUNITY VERSION BEFORE PURETHINK WAS

03:19PM   24      INVOLVED IN TRYING TO SELL THE IRS COMMERCIAL LICENSE; CORRECT?

03:19PM   25      A.    YES, THE IRS USED THE NEO4J COMMUNITY EDITION PRIOR TO



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03:19PM    1      WHEN NEO4J AND PURETHINK ATTEMPTED TO SELL THE SOFTWARE TO THE

03:19PM    2      IRS.

03:19PM    3      Q.     SO THE IRS IS ABLE TO MANAGE ITS PLATFORM USING COMMUNITY;

03:19PM    4      CORRECT?

03:19PM    5      A.     EARLY ON BEFORE WE SOLD A SUBSCRIPTION FOR

03:20PM    6      NEO4J ENTERPRISE EDITION TO PURETHINK FOR THE IRS, THEY WERE

03:20PM    7      USING NEO4J COMMUNITY EDITION FOR EARLY DEVELOPMENT RESEARCH

03:20PM    8      EVALUATION OF NEO4J.

03:20PM    9      Q.     TO BE FAIR, SIR, YOU SAID THE IRS.     I DON'T THINK

03:20PM   10      PURETHINK EVER SOLD TO THE IRS A COMMERCIAL VERSION.      IT WAS

03:20PM   11      THE MPO, NSA?

03:20PM   12      A.     SO I GUESS IT DEPENDS ON HOW YOU LOOK AT IT.

03:21PM   13      Q.     SIR, DO YOU HAVE A WHITE BINDER IN FRONT OF YOU?

03:21PM   14      A.     YES, I DO.

03:21PM   15      Q.     COULD YOU PLEASE TURN TO TAB 10127?

03:21PM   16      A.     10127?

03:21PM   17      Q.     1027?

03:21PM   18      A.     AH, 1027.    GOT IT.

03:21PM   19      Q.     AND ON THE FIRST PAGE OF THIS, THERE'S A BATE STAMP AT THE

03:21PM   20      BOTTOM N4J 019995.

03:21PM   21             DO YOU SEE THAT ON THE BOTTOM OF THE RIGHT COLUMN?

03:21PM   22      A.     YES, I DO.

03:21PM   23      Q.     AND ABOUT THE MIDDLE THERE'S AN EMAIL MAY 22ND, 2018 AT

03:21PM   24      12:19 P.M. FROM JASON ZAGALSKY.

03:22PM   25             DO YOU SEE THAT?



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03:22PM    1      A.    YES, I DO.

03:22PM    2      Q.    AND IS THAT YOUR EMAIL ADDRESS?

03:22PM    3      A.    YES, IT IS.

03:22PM    4      Q.    DID YOU SEND THIS EMAIL TO MR. DUNN ON OR ABOUT MAY 22ND,

03:22PM    5      2018?

03:22PM    6      A.    YES.

03:22PM    7      Q.    YOU AGREE THAT THIS IS A PRETTY LENGTHY EMAIL TO SEND TO A

03:22PM    8      CUSTOMER, ISN'T IT?

03:22PM    9      A.    ABSOLUTELY AGREED, YES.

03:22PM   10      Q.    AND ON THE LAST PAGE ABOVE YOUR SIGNATURE IN THE SECOND

03:22PM   11      FULL PARAGRAPH?

03:22PM   12      A.    THE ONE THAT STARTS "WE EXPECT"?

03:22PM   13      Q.    NO.    "IN LIGHT OF ALL OF THE INFORMATION"?

03:22PM   14      A.    YES.

03:22PM   15      Q.    THE SECOND SENTENCE HERE STATES, "WE WOULD LIKE TO SEE,"

03:22PM   16      CORRECTION.     I'LL STRIKE THAT.

03:22PM   17            YOUR HONOR, I WOULD LIKE TO MOVE EXHIBIT 1027 INTO

03:23PM   18      EVIDENCE.

03:23PM   19                   THE COURT:   ANY OBJECTION?

03:23PM   20                   MR. RATINOFF:    NO OBJECTION, YOUR HONOR.

03:23PM   21                   THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

03:23PM   22            (DEFENDANTS' EXHIBIT 1027 WAS RECEIVED IN EVIDENCE.)

03:23PM   23      BY MR. BEENE:

03:23PM   24      Q.    SO BACK TO MY PUBLICATION.     IT SAYS, "WE WOULD LIKE TO SEE

03:23PM   25      YOU TRANSITION YOUR CURRENT APPROACH OF USING



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03:23PM    1      NEO4J ENTERPRISE EDITION WITHOUT A COMMERCIAL LICENSE TO BECOME

03:23PM    2      A LICENSEE OR THAT YOU MOVE TO NEO4J COMMUNITY EDITION, WHICH

03:23PM    3      IS A FULLY OPEN SOURCE UNDER THE GPL V3," PERIOD.

03:24PM    4            DO YOU SEE THAT?

03:24PM    5      A.    YES, I DO.

03:24PM    6      Q.    SO AS FAR AS MATTER OF TIME IN 2018 YOU TOLD THE IRS THAT

03:24PM    7      THEY CAN USE THE COMMUNITY EDITION?

03:24PM    8      A.    THAT'S CORRECT.

03:24PM    9      Q.    AND YOU TOLD THE NSA THE SAME, HAVEN'T YOU?

03:24PM   10      A.    YES.

03:24PM   11      Q.    AND THAT'S A COMMON MANTRA THAT YOU TOLD CUSTOMERS?

03:24PM   12      A.    YES, IT IS.

03:24PM   13      Q.    ON THE RIGHT PAGE OF THAT SAME EXHIBIT, THAT'S PAGE 19996,

03:24PM   14      YOU CITE THE COMMONS CLAUSE IN THE LETTER TO MR. DUNN; RIGHT?

03:24PM   15      A.    YES.

03:24PM   16      Q.    SO HERE YOU'RE TELLING MR. DUNN ABOUT THE COMMONS CLAUSE;

03:24PM   17      RIGHT?

03:24PM   18      A.    THAT'S CORRECT.

03:24PM   19      Q.    ANY DOUBT THAT MR. DUNN, PEOPLE AT THE IRS, OR THE PEOPLE

03:25PM   20      AT THE NSA, MPO, OR NEXT CENTURY HAD ANY CONFUSION ABOUT THE

03:25PM   21      COMMONS CLAUSE?

03:25PM   22      A.    IS THERE ANY DOUBT THAT ANY OF THOSE PEOPLE HAD ANY

03:25PM   23      CONFUSION ABOUT THE COMMONS CLAUSE?

03:25PM   24            THAT'S KIND OF A DOUBLE NEGATIVE SO I'M TRYING TO FIGURE

03:25PM   25      OUT WHAT YOU'RE ASKING.



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03:25PM    1      Q.    WELL, YOU TOLD -- LET ME DO THAT OVER AGAIN.    YOU TOLD

03:25PM    2      MR. DUNN AT THE IRS, COMMONS CLAUSE LICENSE CONDITION; RIGHT?

03:25PM    3      A.    YES.

03:25PM    4      Q.    AND THIS IS IN EXHIBIT 1027 IN BOLD?

03:25PM    5      A.    YES.

03:25PM    6      Q.    OKAY.    AND YOU'VE TOLD NSA ABOUT THE COMMONS CLAUSE AS

03:25PM    7      WELL; RIGHT?

03:25PM    8      A.    THAT'S CORRECT.

03:25PM    9      Q.    AND PERHAPS NEXT CENTURY, MPO?

03:26PM   10      A.    THAT'S CORRECT, YES.

03:26PM   11      Q.    OKAY.    IN THE COMMONS CLAUSE THE SECOND SENTENCE OF THIS

03:26PM   12      SAYS, "WITHOUT LIMITING OTHER CONDITIONS IN THE LICENSE, THE

03:26PM   13      GRANT OF RIGHTS UNDER THE LICENSE WILL NOT EXCLUDE, AND THE

03:26PM   14      LICENSEE DOES NOT GRANT YOU THE RIGHT TO SELL THE SOFTWARE,"

03:26PM   15      PERIOD.

03:26PM   16            RIGHT?

03:26PM   17      A.    YES, IT DOES.

03:26PM   18      Q.    AND YOUR COPY OF THE COMMONS CLAUSE WAS A VERBATIM COPY OF

03:26PM   19      THE COMMONS CLAUSE THAT IS IN THE NEO4J AB LICENSE; RIGHT?

03:26PM   20      A.    YES.

03:26PM   21      Q.    OKAY.    I'M SORRY.   IT'S NOT A TRICK QUESTION, IT'S JUST A

03:26PM   22      FORMAL THING.

03:26PM   23      A.    OKAY.

03:26PM   24      Q.    AND YOU AGREE THAT THE IRS DOES NOT SELL THE SOFTWARE,

03:26PM   25      NEO4J SOFTWARE?



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03:26PM    1      A.    I AGREE THAT THE IRS DOES NOT SELL THE NEO4J SOFTWARE BUT

03:27PM    2      ALSO THE SELL IN THE COMMONS CLAUSE IS FURTHER DEFINED IN THE

03:27PM    3      NEXT SENTENCE.

03:27PM    4      Q.    OKAY.   LET ME BREAK THIS DOWN.   DO YOU AGREE -- I'M SORRY.

03:27PM    5      YOU'RE LOOKING OVER AT YOUR ATTORNEY FOR INSTRUCTIONS?

03:27PM    6      A.    NO.

03:27PM    7      Q.    OKAY.   YOU AGREE THAT THE NSA DOES NOT SELL NEO4J

03:27PM    8      SOFTWARE, DOESN'T IT?

03:27PM    9      A.    I AGREE THAT THE NSA DOES NOT SELL NEO4J SOFTWARE, YES.

03:27PM   10      Q.    OKAY.   AND THE DEFINITION OF SELL, IT OFTEN INCLUDES

03:27PM   11      SERVICES; RIGHT?

03:27PM   12      A.    YES, THAT'S RIGHT.

03:27PM   13      Q.    AND THE NSA DOESN'T PROVIDE SERVICES FOR SELL, DOESN'T

03:27PM   14      SELL SERVICES USING THE NEO4J SOFTWARE, DOES IT?

03:27PM   15      A.    THAT'S CORRECT, YES.

03:27PM   16      Q.    THE IRS DOESN'T MAKE MONEY SELLING SERVICES WITH THE NEO4J

03:28PM   17      SOFTWARE, DOES IT?

03:28PM   18      A.    YES, THAT'S CORRECT.

03:28PM   19      Q.    ON THE NSA, NEXT CENTURY, MPO, THAT SCENARIO, I THINK WE

03:28PM   20      SORT OF ENDED YOUR TESTIMONY THERE, SO LET ME START THERE AND

03:28PM   21      THEN GO TO THE IRS.   HOW'S THAT?

03:28PM   22      A.    THAT'S FINE WITH ME.

03:28PM   23      Q.    OKAY.   DO YOU KNOW IF MR. SUHY OR ANY OF HIS ENTITIES DID

03:28PM   24      ANY WORK UNDER THE NSA, NEXT CENTURY, YOU KNOW, THAT

03:29PM   25      TRANSACTION THAT YOU TESTIFIED ABOUT?



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03:29PM    1      A.     YOU'RE ASKING IF I TESTIFIED ABOUT MR. SUHY DOING ANY WORK

03:29PM    2      RELATED TO THAT TRANSACTION?     IS THAT YOUR QUESTION?

03:29PM    3      Q.     LET ME BE MORE PRECISE.

03:29PM    4             YOU TESTIFIED ABOUT A TRANSACTION WHERE YOU WERE TRYING TO

03:29PM    5      SELL LICENSES TO NEXT CENTURY FOR THE NSA; RIGHT?

03:29PM    6      A.     RIGHT, NEXT CENTURY.

03:29PM    7      Q.     NEXT CENTURY, SORRY.

03:29PM    8      A.     YES.

03:29PM    9      Q.     AND THEY DIDN'T DO A DEAL WITH NEO4J, DID THEY?

03:29PM   10      A.     THAT'S CORRECT.

03:29PM   11      Q.     AND MR. SUHY DIDN'T DO A DEAL WITH -- ON THAT TRANSACTION,

03:29PM   12      DID HE?

03:29PM   13      A.     I DON'T KNOW.   I'M NOT GOING TO BE PRIVY TO THAT.

03:29PM   14      Q.     AND THAT'S MPO OR NSA, YOU NEVER HEARD THAT HE DID OR

03:30PM   15      THESE ENTITIES DID ANY DEAL WITH HIM ON THAT TRANSACTION, DID

03:30PM   16      YOU?

03:30PM   17      A.     IF YOU MEAN BY DOING A DEAL YOU'RE ASKING IF I'M AWARE OF

03:30PM   18      HIM SELLING ANY SERVICES TO NEXT CENTURY AND MPO AROUND THAT

03:30PM   19      PROJECT, IS THAT YOUR QUESTION?

03:30PM   20      Q.     YES.

03:30PM   21      A.     I'M NOT AWARE OF HIM SELLING ANY SERVICES TO THEM, NO.

03:30PM   22      Q.     AND DID HE SELL ANY SOFTWARE?

03:30PM   23      A.     HE DIDN'T SELL ANY SOFTWARE, BUT HE WAS RESPONSIBLE FOR

03:30PM   24      PUTTING THE SOFTWARE THAT THEY USED IN THE PUBLIC DOMAIN SO

03:30PM   25      THAT THEY COULD USE IT.



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03:30PM    1            SO HE DIDN'T SELL IT, BUT HE PROVIDED IT.

03:30PM    2      Q.    WELL, THE SOFTWARE WAS PUT IN THE PUBLIC DOMAIN BY NEO4J

03:31PM    3      SWEDEN, WASN'T IT?

03:31PM    4      A.    NOT THE SOFTWARE THAT THEY USED, NO.

03:31PM    5      Q.    THE SOFTWARE THAT THEY USED WAS DERIVED FROM NEO4J

03:31PM    6      SWEDEN'S SOFTWARE; RIGHT?

03:31PM    7      A.    THE SOFTWARE THAT THEY USED WAS COMPILED AND DISTRIBUTED

03:31PM    8      IN EXECUTABLE FORMAT BY MR. SUHY AND PUT IN THE PUBLIC DOMAIN,

03:31PM    9      AND THAT'S THE SOFTWARE THAT THEY USED.

03:31PM   10      Q.    AND DOWNLOADABLE FROM THE -- WHERE DID THEY DOWNLOAD IT

03:31PM   11      FROM?

03:31PM   12      A.    THEY WOULD HAVE HAD TWO CHOICES.    THEY COULD HAVE

03:31PM   13      DOWNLOADED IT FROM ONE OF MR. SUHY'S WEBSITES, THEY COULD HAVE

03:31PM   14      GOTTEN IT FROM IGOV, GRAPH STACK.IO OR GRAPH FOUNDATION.

03:31PM   15      Q.    SO YOU DON'T KNOW?

03:31PM   16      A.    NO, I DON'T KNOW.

03:31PM   17      Q.    ALL RIGHT.   HAD THE NSA TOLD YOU THAT THEY DIDN'T DO THE

03:32PM   18      DEAL BECAUSE THEY DIDN'T HAVE THE BUDGET; RIGHT?

03:32PM   19      A.    NO NOT SPECIFICALLY, NO, THEY DIDN'T TELL ME THAT.

03:32PM   20      Q.    THEY TOLD YOU THAT THEY DIDN'T WANT TO SPEND THE MONEY,

03:32PM   21      THEY DIDN'T HAVE THE MONEY FOR IT, IT COST TOO MUCH?

03:32PM   22      A.    NO, THEY NEVER TOLD ME THAT.

03:32PM   23      Q.    OKAY.   DO YOU HAVE THE BLUE BINDER IN FRONT OF YOU,

03:32PM   24      EXHIBIT 128?

03:32PM   25      A.    IS THIS BLUE (INDICATING)?



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03:32PM    1      Q.     WELL, I GUESS.       WHAT IS THAT, YOUR -- THAT'S IT.

03:32PM    2      A.     WELL, IT'S GREY OR BLACK TO ME.      IS THAT THE ONE YOU'RE

03:32PM    3      REFERRING TO, THE ONE LABELED JASON ZAGALSKY WITNESS BINDER,

03:33PM    4      YES.

03:33PM    5      Q.     YES, THAT WOULD BE IT.

03:33PM    6             COULD YOU TURN TO EXHIBIT 128.

03:33PM    7      A.     128, GOT IT.

03:33PM    8      Q.     ON THE BOTTOM THERE'S A BATES STAMP N4J 20063.

03:33PM    9      A.     SO THE THIRD PAGE OF THAT EXHIBIT.

03:33PM   10      Q.     I PULLED IT OUT TO MAKE IT EASIER FOR YOU.

03:33PM   11      A.     YES, I'VE GOT IT.

03:33PM   12                     MR. BEENE:    YOUR HONOR, THIS IS EXHIBIT 128 THAT HAS

03:33PM   13      ALREADY BEEN OFFERED INTO EVIDENCE TO MY UNDERSTANDING.

03:33PM   14                     THE COURT:    YES, IT'S MY UNDERSTANDING.

03:33PM   15      BY MR. BEENE:

03:33PM   16      Q.     LISA ROSENMERKEL, IRS.      DO YOU SEE THAT?

03:34PM   17      A.     YES.

03:34PM   18      Q.     OH, WAIT A MINUTE, THIS IS THE IRS?

03:34PM   19      A.     CORRECT.

03:34PM   20      Q.     DID THE IRS EVER TELL YOU THAT THEY DIDN'T HAVE A BUDGET?

03:34PM   21      A.     THEY DIDN'T USE THOSE WORDS, NO.

03:34PM   22      Q.     OKAY.    SO LISA ROSENMERKEL ON MAY 23RD, 2018 SAYS, "AS I

03:34PM   23      AM SURE YOU WILL UNDERSTAND GIVEN THE STATE OF THE IRS BUDGET,

03:34PM   24      OUR RESOURCES ARE EXTRAORDINARILY LIMITED IN ALL AVENUES.

03:34PM   25      THOSE RESTRICTED RESOURCES PREVENT US FROM MOVING BEYOND NEO4J



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03:34PM    1      V. 3.2 AT THIS TIME."

03:34PM    2            DO YOU SEE THAT?

03:34PM    3      A.    YES.

03:34PM    4      Q.    SO THE IRS DECIDED FOR BUDGETARY REASONS TO STAY AT NEO4J

03:34PM    5      VERSION 3.2; RIGHT?

03:34PM    6      A.    CORRECT.

03:34PM    7      Q.    THE -- COULD YOU LOOK AT EXHIBIT 117 IN YOUR TRIAL BINDER

03:35PM    8      THERE, PLEASE.

03:35PM    9      A.    GOT IT.

03:35PM   10      Q.    AND ON THE TOP THIS IS AN EMAIL FROM YOU TO MR. RATHLE ON

03:35PM   11      APRIL 29TH, 2019; RIGHT?

03:35PM   12      A.    YES.

03:35PM   13                   MR. BEENE:    YOUR HONOR, THIS HAS ALREADY BEEN MARKED

03:35PM   14      AND ADMITTED INTO EVIDENCE TO MY UNDERSTANDING.

03:35PM   15                   THE COURT:    I DON'T BELIEVE THIS IS IN EVIDENCE YET.

03:35PM   16                   MR. RATINOFF:    I BELIEVE THAT'S CORRECT.   IT WAS NOT

03:35PM   17      USED IN HIS DIRECT.       LET ME SEE.

03:35PM   18                   THE COURT:    I DON'T HAVE IT IN EVIDENCE.

03:35PM   19                   MR. RATINOFF:    I'M SORRY, 118?

03:35PM   20                   MR. BEENE:    117.

03:36PM   21                   THE COURT:    IT'S NOT IN EVIDENCE.

03:36PM   22                   MR. RATINOFF:    WE DON'T HAVE IT IN EVIDENCE EITHER,

03:36PM   23      YOUR HONOR.

03:36PM   24                   THE COURT:    THAT'S WHAT I JUST SAID.

03:36PM   25                   MR. BEENE:    WELL, I WOULD LIKE TO MOVE IT INTO



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03:36PM    1      EVIDENCE.

03:36PM    2                    THE COURT:   ANY OBJECTION?

03:36PM    3                    MR. RATINOFF:   NO OBJECTION.

03:36PM    4                    THE COURT:   IT'S ADMITTED.   AND IT MAY BE PUBLISHED.

03:36PM    5            (DEFENDANTS' EXHIBIT 117 WAS RECEIVED IN EVIDENCE.)

03:36PM    6      BY MR. BEENE:

03:36PM    7      Q.    IN THE FIRST SENTENCE HERE YOU SAY, "WELL, THE CUSTOMER

03:36PM    8      CLEARLY UNDERSTOOD THAT IN HIS OWN WORDS 'ONGDB IS NOT LEGALLY

03:36PM    9      VIABLE,'" AND THAT'S IN QUOTES, "AND YET HE DIRECTED

03:36PM   10      NEXT CENTURY TO CONTINUE USING IT FOR DEVELOPMENT PURPOSES PER

03:36PM   11      BELOW."

03:36PM   12            RIGHT?

03:36PM   13      A.    YES.

03:36PM   14      Q.    SO IN 2019 NSA WAS STILL IN DEVELOPMENT AND NOT IN

03:36PM   15      PRODUCTION USING NEO4J; RIGHT?

03:36PM   16      A.    THAT'S CORRECT.

03:36PM   17      Q.    OKAY.    AND THIS -- THE NSA DISCUSSION STARTED IN 2018,

03:37PM   18      DIDN'T IT?

03:37PM   19      A.    THAT'S CORRECT, YES.

03:37PM   20      Q.    AND IN APRIL OF 2019, IT STILL HADN'T CLOSED, HAD IT?

03:37PM   21      A.    THAT'S CORRECT, YES.

03:37PM   22      Q.    AND WITH THE NSA, YOU PROVIDED THEM AN EVALUATION COPY OF

03:37PM   23      THE ENTERPRISE EDITION?

03:37PM   24      A.    IT DEPENDS ON WHAT YOU MEAN BY "I PROVIDED IT."

03:37PM   25      Q.    THE COMPANY PROVIDED AN EVALUATION OR PROOF OF CONCEPT



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03:37PM    1      VERSION OF THE COMMERCIAL SOFTWARE TO NEXT CENTURY?

03:37PM    2      A.    I DON'T KNOW.   THEY COULD HAVE DOWNLOADED IT FROM OUR

03:37PM    3      WEBSITE AND CLICKED THROUGH THE TRIAL AGREEMENT OR THEY COULD

03:38PM    4      HAVE OR THEY COULD HAVE NOT DOWNLOADED IT FROM OUR WEBSITE, AND

03:38PM    5      THEY MAY HAVE NEVER USED THE NEO4J ENTERPRISE EDITION FROM

03:38PM    6      NEO4J.   THEY MAY HAVE BEEN USING ONGDB ALL ALONG.    I DON'T

03:38PM    7      KNOW.

03:38PM    8      Q.    SO THE EMAILS ABOUT YOUR POC TERMINATING SOON, YOU DON'T

03:38PM    9      KNOW WHY THOSE WERE SENT?

03:38PM   10      A.    I DO KNOW WHY THEY WERE SENT.

03:38PM   11      Q.    WHY?

03:38PM   12      A.    BECAUSE WE HAD BEEN SUPPORTING THEM AT THE TIME UNDER THE

03:38PM   13      IMPRESSION THAT THEY WERE EVALUATING THE COMMERCIAL VERSION OF

03:38PM   14      NEO4J ENTERPRISE EDITION.

03:38PM   15            BUT AT THE END OF THAT CONVERSATION, THEY TOLD US THAT

03:38PM   16      THEY WERE USING THE OPEN SOURCE VERSION WHICH WAS ONGDB.

03:39PM   17            SO I DO NOT HAVE KNOWLEDGE OF WHETHER THEY WERE ACTUALLY

03:39PM   18      USING ONGDB ALL ALONG OR WHETHER THEY MIGHT HAVE DOWNLOADED AND

03:39PM   19      TRIED THE COMMERCIAL VERSION OF THE NEO4J ENTERPRISE EDITION.

03:39PM   20      I DON'T KNOW.   THEY NEVER TOLD ME AS FAR AS I RECALL.

03:39PM   21      Q.    OKAY.

03:39PM   22      A.    I REMEMBER BEING SURPRISED WHEN I GOT SOME OF THOSE EMAILS

03:39PM   23      AND HAVING DISCUSSIONS WITH THEM THEY SAID, OH, WE'RE USING

03:39PM   24      OPEN SOURCE.

03:39PM   25            AND WE'RE GOING, HOW COULD YOU BE USING THE OPEN SOURCE



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03:39PM    1      WHEN WE WERE HELPING YOU WITH ENTERPRISE FEATURES?

03:39PM    2            AND THEN THAT CONFUSION ON OUR PART WAS RESOLVED WHEN WE

03:39PM    3      FOUND OUT THAT THEY WERE ACTUALLY USING ONGDB, WHICH THEY WERE

03:39PM    4      REFERRING TO AS OPEN SOURCE.

03:39PM    5      Q.    AND YOU HAD PROVIDED THEM WITH THE SERVICE PERSON OR

03:39PM    6      SUPPORT PERSON?

03:39PM    7      A.    A PRE-SELLS ENGINEER, YES.

03:40PM    8      Q.    TO ANSWER THEIR QUESTION?

03:40PM    9      A.    THAT'S CORRECT.

03:40PM   10      Q.    AND TELL THEM THE FEATURES OF THE ENTERPRISE VERSION;

03:40PM   11      RIGHT?

03:40PM   12      A.    YES, THAT'S CORRECT.    WELL, NOT TELL THEM THE FEATURES

03:40PM   13      PER SE, BUT TO HELP THEM WITH USING THE FEATURES IN DOING THEIR

03:40PM   14      EVALUATION AND GETTING THEIR SYSTEM UP AND RUNNING AND WORKING.

03:40PM   15            I'M THE ONLY ONE THAT RAN OUT OF WATER, HUH?

03:40PM   16                 THE COURT:   DO YOU NEED SOME WALTER, SIR?    WE'LL GET

03:40PM   17      IT FOR YOU.

03:40PM   18                 THE WITNESS:   THANK YOU.   I SEE EVERYONE ELSE

03:40PM   19      POURING.   THANK YOU SO MUCH.

03:41PM   20                 THE CLERK:   YOU'RE WELCOME.

03:41PM   21                 THE WITNESS:   OH, I DIDN'T KNOW THERE WAS WATER

03:41PM   22      RIGHT THERE.

03:41PM   23            THANK YOU VERY MUCH.

03:41PM   24      BY MR. BEENE:

03:41PM   25      Q.    SIR, AFTER YOU FINISH DRINKING WATER, IN THE WHITE BINDER,



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03:41PM    1      PLEASE TURN TO TAB 1064.

03:41PM    2      A.    I'M THERE.

03:42PM    3      Q.    OKAY.    SO THIS IS AN EMAIL THREAD FROM YOU TO MICHAEL

03:42PM    4      DUNN; IS THAT CORRECT?

03:42PM    5      A.    `YES.

03:42PM    6      Q.    THE BOTTOM IS ONE FROM YOU, THAT'S AUGUST 7, 2017, AND YOU

03:42PM    7      WROTE THE EMAIL TO MR. DUNN TALKING TO HIM ABOUT A NEO4J

03:42PM    8      SUBSCRIPTION; RIGHT?

03:42PM    9      A.    YES.

03:42PM   10      Q.    AND THE TOP PART WAS HIS RESPONSE; RIGHT?

03:42PM   11      A.    YES.

03:42PM   12                    MR. BEENE:   YOUR HONOR, I WOULD LIKE TO MOVE

03:42PM   13      EXHIBIT 1064 INTO EVIDENCE.

03:42PM   14                    THE COURT:   ANY OBJECTION?

03:42PM   15                    MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

03:42PM   16                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:42PM   17            (DEFENDANTS' EXHIBIT 1064 WAS RECEIVED IN EVIDENCE.)

03:42PM   18      BY MR. BEENE:

03:43PM   19      Q.    YOUR EMAIL TO MR. DUNN IN AUGUST OF 2017, YOU WERE TALKING

03:43PM   20      ABOUT UPDATING YOUR FORECAST AND TRYING TO FIGURE OUT WHEN

03:43PM   21      THEY'RE GOING TO LICENSE OR PURSUE A COMMERCIAL NEO4J LICENSE;

03:43PM   22      RIGHT?

03:43PM   23      A.    YES.

03:43PM   24      Q.    OKAY.    AND HE RESPONDS THE NEXT DAY, AUGUST 8TH, THAT HE

03:43PM   25      DOESN'T ANTICIPATE DEALING WITH A COMMERCIAL NEO4J LICENSE;



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03:43PM    1      RIGHT?

03:43PM    2      A.    LET ME JUST CATCH UP.

03:44PM    3            THAT'S CORRECT, YES.

03:44PM    4      Q.    AND IN 2017 THE AGPL DID NOT HAVE THE COMMONS CLAUSE ON

03:44PM    5      IT, DID IT?

03:44PM    6      A.    CAN I CHECK THE PREVIOUS EXHIBIT?

03:44PM    7      Q.    YES, PLEASE.

03:44PM    8      A.    THAT'S RIGHT, THE COMMONS CLAUSE DIDN'T COME OUT UNTIL

03:44PM    9      2018.

03:44PM   10      Q.    SO THE IRS DETERMINED THAT THEY WERE NOT GOING TO USE A

03:44PM   11      COMMERCIAL NEO4J LICENSE BEFORE THERE WAS A COMMONS CLAUSE;

03:45PM   12      CORRECT?

03:45PM   13      A.    YES.

03:45PM   14      Q.    SIR, THIS BLACK BINDER, THIS ONE BY YOUR COUNSEL --

03:46PM   15      A.    YES.

03:46PM   16      Q.    -- COULD YOU TURN TO TAB 110.

03:46PM   17      A.    YES, I'M THERE.

03:46PM   18                    MR. BEENE:   I SUSPECT THAT THIS IS ALREADY MOVED

03:46PM   19      INTO EVIDENCE?

03:46PM   20                    THE COURT:   IT IS.

03:46PM   21      BY MR. BEENE:

03:46PM   22      Q.    OKAY.    ON THE BOTTOM OF THE FIRST PAGE THERE'S AN EMAIL

03:46PM   23      FROM YOU TO SHAHAK NAGIEL, 2019.

03:47PM   24            DO YOU SEE THAT?

03:47PM   25      A.    YES.



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03:47PM    1      Q.    AS WE TURN THE PAGE IN THE THIRD PARAGRAPH YOU STATE, "I

03:47PM    2      UNDERSTAND THAT YOU ARE STILL IN EVALUATION/POC/DEVELOPMENT

03:47PM    3      STAGE OF YOUR PROGRAM, AND WE DO WANT TO SUPPORT YOU, BUT WE

03:47PM    4      WOULD LIKE TO UNDERSTAND YOUR PLANS TO GET FUNDING FROM YOUR

03:47PM    5      CUSTOMER SO THAT YOU ARE PROPERLY LICENSED FOR NEO4J EE."

03:47PM    6            DO YOU SEE THAT?

03:47PM    7      A.    YES.

03:47PM    8      Q.    AT THE TIME YOU WROTE THIS IN 2019, ISN'T IT TRUE THAT THE

03:47PM    9      NEXT CENTURY DIDN'T HAVE FUNDING TO LICENSE AND PAY FOR A

03:47PM   10      SUBSCRIPTION FOR THE COMMERCIAL VERSION OF NEO4J ENTERPRISE?

03:48PM   11      A.    THAT'S CORRECT, AT THAT TIME NEO4J DIDN'T HAVE FUNDING IN

03:48PM   12      THEIR CONTRACT.

03:48PM   13      Q.    NEO4J OR NEXT CENTURY?

03:48PM   14      A.    NEXT CENTURY DIDN'T HAVE FUNDING ON THEIR CONTRACT.

03:48PM   15      Q.    RIGHT.   YOU'VE POINTED OUT THAT THE AGPL HAS BEEN SHUT

03:49PM   16      DOWN; IS THAT CORRECT?

03:49PM   17            THAT'S TOO GENERAL.

03:49PM   18            NEO4J SWEDEN'S REPOSITORY FOR ENTERPRISE AGPL WITH THE

03:49PM   19      COMMONS CLAUSE DOESN'T HAVE THE SOURCE CODE ANYMORE; RIGHT?

03:49PM   20      A.    THE CURRENT VERSIONS OF NEO4J LIKE VERSION 4, VERSION 5,

03:50PM   21      ANYTHING BEYOND VERSION, ANYTHING BEYOND VERSION 3.4.      SO

03:50PM   22      VERSION 3.5 AND BEYOND THERE IS NO SOURCE CODE FOR

03:50PM   23      NEO4J ENTERPRISE EDITION ON GITHUB.

03:50PM   24      Q.    SO IT IS JUST THE BINARY; IS THAT CORRECT?

03:50PM   25      A.    NO.    GITHUB DOESN'T -- I DON'T BELIEVE GITHUB --



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03:50PM    1      Q.    HOLDS BINARIES?

03:50PM    2      A.    -- HOLDS BINARIES.      IT HOLDS SOURCE CODE.

03:50PM    3      Q.    BUT YOU STILL HAVE THE COMMUNITY, THE GPL VERSION

03:50PM    4      AVAILABLE ON GITHUB?

03:50PM    5      A.    THE SOURCE CODE FOR NEO4J COMMUNITY EDITION, ALL OF THE

03:50PM    6      VERSIONS THAT EVER, YOU KNOW, CURRENT VERSIONS, VERSIONS AT

03:51PM    7      THAT TIME ARE AND HAVE BEEN AVAILABLE ON GITHUB, YES.

03:51PM    8      Q.    WITH THE OLDER VERSIONS OF ENTERPRISE BEFORE THERE WAS

03:51PM    9      EVEN A COMMONS CLAUSE, DO THEY STILL WORK?

03:51PM   10      A.    I DON'T UNDERSTAND YOUR QUESTION.

03:51PM   11      Q.    WELL, IF SOMEONE HAD A VERSION OF LET'S SAY 2.9 --

03:51PM   12      A.    UH-HUH.

03:51PM   13      Q.    -- COULD THEY PUT IT ON A COMPUTER AND GET IT TO RUN?

03:51PM   14      A.    PROBABLY NOT.

03:51PM   15      Q.    PROBABLY NOT?

03:51PM   16      A.    WELL, IT WOULD HAVE DEPENDENCIES OF OTHER SOFTWARE THAT IS

03:51PM   17      NOT NEO4J THAT'S REQUIRED FOR NEO4J.      ON A COMPUTER TODAY IT

03:51PM   18      WOULD HAVE NEWER VERSIONS OF OTHER SOFTWARE, AND IT PROBABLY

03:51PM   19      WOULDN'T WORK.

03:51PM   20      Q.    AND NOW THE NEO4J SOFTWARE HAS OPEN SOURCE COMPONENTS,

03:51PM   21      DOESN'T IT?

03:52PM   22      A.    THAT'S CORRECT, SOME OPEN SOURCE COMPONENTS AS FAR AS I

03:52PM   23      KNOW.

03:52PM   24      Q.    AND I'VE SEEN A BUILD FILE AND I'VE SEEN SOME AGPL AND GPL

03:52PM   25      IN THERE.



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03:52PM    1            SO WHAT YOU'RE SAYING IS THAT IF THOSE WERE UPDATED THEN

03:52PM    2      NEO4J MAY NOT WORK OR OTHER ENVIRONMENTAL SOFTWARE MAY NOT

03:52PM    3      WORK?

03:52PM    4      A.    YES, OTHER ENVIRONMENTAL SOFTWARE BEING LIKE JAVA.

03:52PM    5      Q.    LINUX?

03:52PM    6      A.    IF YOU HAVE A CURRENT VERSION TODAY OF JAVA, I HIGHLY

03:52PM    7      DOUBT THAT NEO4J 2.1 COMMUNITY EDITION WOULD WORK.     THERE ARE

03:52PM    8      DEPENDENCIES, AND WE SPELL OUT WHAT THE DEPENDENCIES ARE,

03:52PM    9      VERSIONS OF ALL OF THESE DIFFERENT THINGS.

03:52PM   10      Q.    BUT YOU'VE TALKED TO THE IRS AND YOU'VE TALKED TO THE NSA

03:53PM   11      ABOUT NEW FEATURES?

03:53PM   12      A.    YES.

03:53PM   13      Q.    AND HAVING NEW FEATURES AVAILABLE THAT THEY NEED?

03:53PM   14      A.    YES.

03:53PM   15      Q.    AND I IMAGINE YOU'VE TALKED TO OTHER CUSTOMERS ABOUT ALL

03:53PM   16      OF THESE NEW FEATURES THEY NEED AND THEY DON'T BUY FROM YOU;

03:53PM   17      RIGHT?

03:53PM   18      A.    NO, CUSTOMERS DO BUY IT FROM ME.

03:53PM   19            IF THEY WEREN'T BUYING FROM ME THEY WOULDN'T BE CUSTOMERS,

03:53PM   20      SO I DON'T UNDERSTAND YOUR QUESTION.

03:53PM   21      Q.    WELL, YOU'VE TRIED TO SELL THINGS TO PEOPLE, TOLD THEM ALL

03:53PM   22      OF YOUR NEW FEATURES AND THEY DIDN'T DECIDE TO BUY THEM;

03:53PM   23      CORRECT?

03:53PM   24      A.    TYPICAL SALES MOTION DOESN'T INCLUDE TRYING TO SELL NEW

03:53PM   25      FEATURES TO A PROSPECTIVE CUSTOMER.



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03:53PM    1            A TYPICAL SELLS MOTION, WE SELL THE PROJECT NEO4J TO THE

03:53PM    2      CUSTOMER BUT WE DON'T TALK ABOUT -- IN A TYPICAL SELLS MOTIONS

03:53PM    3      WE DON'T SAY THERE IS THIS NEW FEATURE COMING.      WE SELL WHAT WE

03:54PM    4      HAVE TODAY.    YOU CAN'T ACTUALLY SELL FEATURES BECAUSE THAT

03:54PM    5      DOESN'T WORK WELL LEGALLY IF YOU SELL THEM SOMETHING BASED ON

03:54PM    6      FEATURES THAT DON'T EXIST.

03:54PM    7      Q.    BUT THE NSA YOU WERE TELLING ABOUT THE UPCOMING FEATURES

03:54PM    8      IN NEO4J; RIGHT?

03:54PM    9      A.    NO.    OH, NSA?   WE WERE TALKING ABOUT NSA 4, YES.

03:54PM   10      Q.    RIGHT, THAT WAS COMING OUT AND THEY WOULD WANT; RIGHT?

03:54PM   11      A.    I DON'T RECALL WHETHER THE INITIAL 4.0 WAS COMING OUT OR

03:54PM   12      IF IT WAS ALREADY OUT.

03:54PM   13            BUT IT IS POSSIBLE.     I SAID IT'S NOT A GENERAL SELLS

03:54PM   14      MOTION, BUT IT IS POSSIBLE THAT AT THAT TIME THAT WE WOULD HAVE

03:54PM   15      TALKED ABOUT IT AND I CAN TELL YOU WHY.

03:54PM   16      Q.    I UNDERSTAND REV REC RULES AND WHY YOU DO NOT MAKE

03:54PM   17      PROMISES OF FUTURE DELIVERABLES.

03:55PM   18      A.    YES.

03:55PM   19      Q.    BUT AS YOU'RE READY TO LAUNCH SOMETHING, YOU START TELLING

03:55PM   20      PEOPLE THERE'S A TIME PERIOD; RIGHT?

03:55PM   21      A.    IN SOME CASES, YES.

03:55PM   22            IN THAT CASE WE WANTED TO MAKE THE MPO, NSA AWARE THAT

03:55PM   23      ONGDB WAS GOING TO BE STUCK AT VERSION 3.5 AND 4.0 WAS GOING TO

03:55PM   24      HAVE NEW FEATURES THAT WEREN'T -- THAT WOULD NEVER BE AVAILABLE

03:55PM   25      IN 3.5.



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03:55PM    1            SO IF THEY STARTED WITH 3.5 AND WANTED TO GET THOSE NEW

03:55PM    2      FEATURES, THEY WOULD HAVE TO EVENTUALLY GO TO 4.0.

03:55PM    3            BUT IF 4.0 WASN'T OUT AT THAT TIME, WHICH I DON'T RECALL,

03:55PM    4      BUT IF IT WASN'T OUT AT THAT TIME, I WOULDN'T HAVE BEEN SELLING

03:55PM    5      4.0, I WOULD HAVE BEEN SELLING 3.5 OR 3.7, OR WHATEVER VERSION,

03:56PM    6      WHATEVER COMMERCIALIZED VERSION THAT WE HAD AT THE TIME.

03:56PM    7                 MR. BEENE:   NO FURTHER QUESTIONS.

03:56PM    8                 THE COURT:   ANY REDIRECT?

03:56PM    9                 MR. RATINOFF:      NO, YOUR HONOR.

03:56PM   10                 THE COURT:   MAY THIS WITNESS BE EXCUSED OR IS IT

03:56PM   11      SUBJECT TO RECALL?

03:56PM   12                 MR. BEENE:   YES.

03:56PM   13                 THE COURT:   EXCUSED?

03:56PM   14                 MR. RATINOFF:      YES, YOUR HONOR.

03:56PM   15                 THE COURT:   ALL RIGHT.    YOU CAN BE EXCUSED.

03:56PM   16            DO YOU HAVE ANOTHER WITNESS?

03:56PM   17                 MR. RATINOFF:      I BELIEVE IT'S ONLY, SUBJECT TO

03:56PM   18      CROSS-EXAMINATION, AND IT WOULD TAKE A HALF AN HOUR OR SO.        I

03:56PM   19      WOULD LIKE TO TRY TO GET HER IN TODAY IF POSSIBLE.

03:56PM   20                 THE COURT:   LET'S CALL THE WITNESS, PLEASE.

03:56PM   21                 MR. RATINOFF:      THE PLAINTIFFS WOULD CALL

03:56PM   22      KELLY ZAWALSKI.

03:57PM   23                 THE COURT:   FACE OUR COURTROOM DEPUTY AND RAISE YOUR

03:57PM   24      RIGHT HAND.   SHE HAS A QUESTION FOR YOU.

03:57PM   25            (PLAINTIFFS' WITNESS, KELLY ZAWALSKI, WAS SWORN.)



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03:57PM    1                    THE WITNESS:   I DO.

03:57PM    2                    THE COURT:   HAVE A SEAT HERE.    YOU CAN ADJUST THAT

03:57PM    3      MICROPHONE.     I THINK THAT CHAIR RISES AND GOES DOWN AS YOU

03:57PM    4      NEED.

03:57PM    5            I'LL ENCOURAGE YOU TO SPEAK DIRECTLY INTO THE MICROPHONE.

03:57PM    6      THERE'S SOME WATER THERE FOR YOUR REFRESHMENT IF YOU WOULD

03:57PM    7      LIKE.

03:57PM    8            WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME

03:57PM    9      AND THEN SPELL IT, PLEASE.

03:57PM   10                    THE WITNESS:   KELLY ZAWALSKI, K-E-L-L-Y,

03:57PM   11      Z-A-W-A-L-S-K-I.

03:57PM   12                    THE COURT:   THANK YOU.   COUNSEL.

03:57PM   13                                 DIRECT EXAMINATION

03:57PM   14      BY MR. RATINOFF:

03:57PM   15      Q.    GOOD AFTERNOON.      I APOLOGIZE FOR MISPRONOUNCING YOUR NAME.

03:57PM   16      THANK YOU FOR BEING SO PATIENT.

03:57PM   17            WOULD YOU MIND TAKING A MINUTE AND INTRODUCING YOURSELF TO

03:57PM   18      THE COURT, PLEASE.

03:58PM   19      A.    SURE.    KELLY ZAWALSKI.    I'M THE VP OF FINANCE AT NEO4J.

03:58PM   20            I JOINED THE COMPANY IN SEPTEMBER OF 2019, AND I REPORT TO

03:58PM   21      THE CFO.

03:58PM   22      Q.    OKAY.    AND WHAT TYPE OF JOB RESPONSIBILITIES DO YOU HAVE

03:58PM   23      AS THE VP OF FINANCE?

03:58PM   24      A.    I MANAGE THE CORPORATE ACCOUNTING FUNCTION FOR THE COMPANY

03:58PM   25      ON A WORLDWIDE BASIS.



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03:58PM    1            MY GROUP THAT I MANAGE IS ABOUT 20 PEOPLE.

03:58PM    2      Q.    AND PRIOR TO JOINING NEO4J, WHERE DID YOU WORK?

03:58PM    3      A.    I WORKED AT ARTHUR ANDERSEN, MY FIRST JOB, A PUBLIC

03:58PM    4      ACCOUNTING FIRM FOR FOUR YEARS.

03:58PM    5            AND THEN AFTER THAT I MOVED TO A SERIES OF PRIVATE AND

03:58PM    6      PUBLIC SOFTWARE COMPANIES.

03:58PM    7      Q.    AND WHAT TYPE OF JOB RESPONSIBILITIES IN GENERAL DID YOU

03:58PM    8      HAVE AT THOSE OTHER COMPANIES?

03:59PM    9      A.    I MANAGED THE WHOLE BREADTH OF THE ACCOUNTING FUNCTION.

03:59PM   10      SO THAT INCLUDES REVENUE RECOGNITION, ACCOUNTS RECEIVABLE,

03:59PM   11      ACCOUNTS PAYABLE, GENERAL LEDGER.    REALLY EVERYTHING THAT HAS

03:59PM   12      TO DO WITH THE COMPANY PRODUCING ITS FINANCIAL STATEMENTS.

03:59PM   13      Q.    AND I THINK YOU'VE USED THE WORD "ACCOUNTING" SEVERAL

03:59PM   14      TIMES.   DO YOU HAVE ANY EDUCATION OR BACKGROUND IN ACCOUNTING?

03:59PM   15      A.    I DO.   I WENT TO THE UNIVERSITY OF COLORADO AT BOULDER AND

03:59PM   16      I GRADUATED IN 1994.

03:59PM   17      Q.    AND DO YOU HAVE ANY POST GRADUATE CERTIFICATIONS?

03:59PM   18      A.    I RECEIVED MY CPA IN 1999.

03:59PM   19      Q.    AND THEN TURNING BACK TO NEO4J, AT A HIGH LEVEL, CAN YOU

03:59PM   20      DESCRIBE HOW NEO4J GENERATES REVENUE?

03:59PM   21      A.    PRIMARILY THROUGH THE LICENSE OF NEO4J ENTERPRISE EDITION.

03:59PM   22      Q.    AND I BELIEVE YOU HEARD MR. ZAGALSKY TESTIFY ABOUT

04:00PM   23      RESELLERS?

04:00PM   24      A.    CORRECT.

04:00PM   25      Q.    AND OUTSIDE OF THE GOVERNMENT SECTOR DOES NEO4J USE



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04:00PM    1      RESELLERS?

04:00PM    2      A.    WE DO.

04:00PM    3      Q.    AND ARE THOSE RESELLERS PAID A RESELLER FEE?

04:00PM    4      A.    THEY ARE.

04:00PM    5      Q.    AND HOW DOES NEO4J DETERMINE RESELLER FEES WITH ITS

04:00PM    6      VARIOUS RESELLERS?

04:00PM    7      A.    IT'S COMMERCIALLY NEGOTIATED WITH THAT RESELLER BASED ON

04:00PM    8      WHAT THEY CAN BRING TO THE TABLE FROM A TRANSACTION POINT OF

04:00PM    9      VIEW.

04:00PM   10      Q.    AND WITHIN THE SCOPE OF YOUR JOB, ARE YOU -- DO YOU HAVE

04:00PM   11      KNOWLEDGE OF THESE VARIOUS RESELLER ARRANGEMENTS?

04:00PM   12      A.    YES.

04:00PM   13      Q.    AND GENERALLY FROM A COMPANY WIDE, SO THAT WOULD BE

04:00PM   14      GOVERNMENT SECTOR AND BEYOND, DOES NEO4J TRACK THE AVERAGE

04:00PM   15      RESELLER FEE IT INCURS?

04:01PM   16      A.    WE DO.

04:01PM   17      Q.    AND HOW DOES NEO4J TRACK THAT?

04:01PM   18      A.    WE KEEP TRACK OF THE DIFFERENT RESELLER AGREEMENTS THAT WE

04:01PM   19      HAVE.   IT'S A RANGE OF DIFFERENT PERCENTAGES THAT WE PAY

04:01PM   20      RESELLERS FROM ONE INDUSTRY TO ANOTHER.

04:01PM   21      Q.    AND THEN GOING BACK TO STARTING IN THE TIME PERIOD OF

04:01PM   22      2018, WHAT WAS THE -- IF YOU KNOW, WHAT WAS THE APPROXIMATE OR

04:01PM   23      AVERAGE RESELLER FEE ACROSS THE BOARD FOR NEO4J?

04:01PM   24      A.    ON AVERAGE IT WAS ABOUT 3 PERCENT.

04:01PM   25      Q.    AND THEN TURNING MORE SPECIFICALLY TO THE GOVERNMENT



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04:01PM    1      SECTOR, WHICH YOU'VE HEARD TESTIMONY ON TODAY, DO YOU HAVE AN

04:01PM    2      IDEA OF WHAT THE AVERAGE RESELLER FEE SINCE 2018 HAS BEEN IN

04:01PM    3      THAT SPECIFIC SECTOR?

04:01PM    4      A.    FROM 5 TO 10 PERCENT.

04:01PM    5      Q.    AND I KNOW WE'VE HEARD SOME RESELLERS MENTIONED.        I THINK

04:02PM    6      ONE OF THEM IS INTELLIPEAK.       IS THAT CURRENTLY A NEO4J

04:02PM    7      RESELLER?

04:02PM    8      A.    THEY ARE.

04:02PM    9      Q.    ANOTHER ONE THAT WAS MENTIONED WAS AFFIGENT.     ARE YOU

04:02PM   10      FAMILIAR WITH AFFIGENT?

04:02PM   11      A.    I AM.

04:02PM   12      Q.    AND WHAT IS YOUR UNDERSTANDING OF WHO AFFIGENT IS?

04:02PM   13      A.    THEY ARE A RESELLER THAT WE USE IN THE GOVERNMENT SECTOR.

04:02PM   14      Q.    AND HOW LONG HAS NEO4J BEEN USING AFFIGENT?

04:02PM   15      A.    I BELIEVE THE FIRST AGREEMENT WAS IN 2018, MAY OF 2018,

04:02PM   16      PERHAPS 2019.

04:02PM   17      Q.    AND I BELIEVE MR. ZAGALSKY ALREADY TESTIFIED, BUT IS THERE

04:02PM   18      AN AGREED UPON RESELLER FEE WITH AFFIGENT?

04:02PM   19      A.    THERE IS.

04:02PM   20      Q.    AND DO YOU KNOW WHAT THAT FEE IS?

04:03PM   21      A.    I BELIEVE IT'S 5 PERCENT.

04:03PM   22      Q.    AND ARE YOU FAMILIAR WITH A COMPANY CALLED CARAHSOFT?

04:03PM   23      A.    YES.

04:03PM   24      Q.    AND WHO IS CARAHSOFT?

04:03PM   25      A.    THEY ARE ANOTHER GOVERNMENT RESELLER.



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04:03PM    1      Q.    AND DOES NEO4J HAVE A RELATIONSHIP WITH CARAHSOFT?

04:03PM    2      A.    WE DO.

04:03PM    3      Q.    AND FOR THE RECORD, WOULD YOU MIND SPELLING CARAHSOFT.      I

04:03PM    4      THINK IT'S SPELLED A LITTLE DIFFERENTLY THAN IT SOUNDS.

04:03PM    5      A.    YEAH.    C-A-R-A-H-S-O-F-T.

04:03PM    6      Q.    AND WHAT IS THE -- I'M SORRY.    WHAT IS THE NATURE OF

04:03PM    7      NEO4J'S RELATIONSHIP WITH CARAHSOFT?

04:03PM    8      A.    THEY ARE A FEDERAL RESELLER AS WELL OR A GOVERNMENT

04:03PM    9      RESELLER AS WELL.

04:03PM   10      Q.    AND FOR APPROXIMATELY HOW LONG HAS NEO4J USED CARAHSOFT AS

04:03PM   11      A RESELLER?

04:03PM   12      A.    SEPTEMBER OF 2020.

04:03PM   13      Q.    AND DOES NEO4J HAVE AN AGREED UPON RESELLER FEE WITH

04:04PM   14      CARAHSOFT?

04:04PM   15      A.    WE DO.

04:04PM   16      Q.    AND DO YOU KNOW WHAT THAT FEE IS?

04:04PM   17      A.    6 PERCENT.

04:04PM   18      Q.    AND HOW ARE THOSE RESELLERS' FEES APPLIED TO GOVERNMENT

04:04PM   19      SALES?

04:04PM   20      A.    THEY'RE APPLIED TO THE GROSS SALES PRICE FOR THAT

04:04PM   21      TRANSACTION.

04:04PM   22      Q.    AND WHAT DO YOU MEAN BY GROSS SALES PRICE?

04:04PM   23      A.    THE PRICE PAID BY THE CUSTOMER.

04:04PM   24      Q.    AND DOES --

04:04PM   25      A.    NET OF ANY DISCOUNTS.



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04:04PM    1      Q.    AND IS THE RESELLER FEE CONSIDERED A COST IN A TRANSACTION

04:04PM    2      BETWEEN NEO4J AND ONE OF ITS CUSTOMERS?

04:04PM    3      A.    YES.

04:04PM    4      Q.    AND ARE THERE ANY OTHER DIRECT COSTS THAT ARE ASSOCIATED

04:04PM    5      WITH THE SALE OF COMMERCIAL SUBSCRIPTIONS FOR NEO4J SOFTWARE?

04:04PM    6      A.    WE PAY OUR EMPLOYEES OR SALES PERSONNEL IN SUPPORTING

04:04PM    7      SALES PERSONNEL COMMISSIONS.

04:05PM    8      Q.    AND TO BE MORE SPECIFIC, AS TO THE YEAR 2018, DID NEO4J

04:05PM    9      PAY COMMISSIONS IN SALES?

04:05PM   10      A.    YES.

04:05PM   11      Q.    AND DO YOU HAVE AN UNDERSTANDING OF WHAT THE AVERAGE

04:05PM   12      COMMISSION RATE PAID IN 2018 WAS?

04:05PM   13      A.    APPROXIMATELY 15 AND A QUARTER PERCENT.

04:05PM   14      Q.    AND HOW DO YOU KNOW THAT NUMBER IS THE AVERAGE FROM THAT

04:05PM   15      TIME PERIOD?

04:05PM   16      A.    I WAS ASKED TO DO RESEARCH AS PART OF THIS CASE WHAT OUR

04:05PM   17      AVERAGES WERE.

04:05PM   18      Q.    AND WHO DID YOU WORK WITH TO DO THAT RESEARCH?

04:05PM   19      A.    WE HAVE A COMPENSATION TEAM INTERNALLY, AND SO I CONSULTED

04:05PM   20      WITH THEM, ASKED THEM FOR THEIR ANALYSIS.

04:05PM   21      Q.    AND THEN MOVING ON TO 2019, DO YOU KNOW WHAT THE TOTAL

04:05PM   22      AVERAGE COMMISSION RATE WAS IN THE GOVERNMENT SALES SECTOR?

04:05PM   23      A.    13 AND A QUARTER PERCENT.

04:06PM   24      Q.    AND HOW DID YOU COME TO LEARN THAT NUMBER?

04:06PM   25      A.    SAME.   CONSULTING WITH OUR CORPORATE COMPENSATION TEAM.



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04:06PM    1      Q.    AND IT SOUNDS LIKE THERE'S A 2 PERCENT DROP FROM 2018 TO

04:06PM    2      2019.

04:06PM    3            DO YOU KNOW WHY THAT WAS?

04:06PM    4      A.    AS THE COMPANY MATURES, OUR SALES QUOTAS INCREASED AND

04:06PM    5      THAT NATURALLY DECREASED THE PERCENTAGE PAID TO OUR SALES

04:06PM    6      PERSONNEL.

04:06PM    7      Q.    AND AS A GENERAL MATTER, HAS THAT TREND CONTINUED, THE

04:06PM    8      DOWNWARD TREND CONTINUED SINCE 2019?

04:06PM    9      A.    GENERALLY SPEAKING.

04:06PM   10      Q.    AND THEN HOW DOES NEO4J CALCULATE EMPLOYEE COMMISSIONS ON

04:06PM   11      A PARTICULAR SALE?

04:06PM   12      A.    WE CALCULATE THE COMMISSIONS, IN THIS CASE WE'RE TALKING

04:06PM   13      ABOUT A GOVERNMENT TRANSACTION, THE GROSS SALES PRICE, NET OF

04:07PM   14      ANY DISCOUNTS, AND RESELLER FEES.

04:07PM   15      Q.    AND THEN LOOKING AT THE 15 POINT -- OR 15 AND A QUARTER

04:07PM   16      PERCENT RATE, HOW IS THAT APPLIED TO ANY PARTICULAR CUSTOMER

04:07PM   17      RELATIONSHIP?

04:07PM   18      A.    THE SAME.   SO TAKING THE PRICE PAID BY THE CUSTOMER,

04:07PM   19      REDUCING IT BY THE RESELLER FEE AND ANY DISCOUNTS, AND THE

04:07PM   20      COMMISSION IS PAID BASED ON THAT.

04:07PM   21      Q.    SO THE NUMBER AFTER YOU APPLY THE DISCOUNT TO THE -- I'M

04:07PM   22      SORRY, JUST TO MAKE SURE I GET THE MATH CORRECT, I'M NOT GREAT

04:07PM   23      AT MATH, THAT'S WHY I'M A LAWYER.

04:07PM   24            SO THE NET NUMBER THAT IS USED FOR DETERMINING COMMISSION

04:07PM   25      IS AFTER FIRST THE RESELLER FEE IS TAKEN OUT FROM THAT NUMBER



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04:07PM    1      AND THEN IT'S -- AND THAT NUMBER HAS A DISCOUNT POTENTIALLY AS

04:08PM    2      WELL.

04:08PM    3            SO IT'S AFTER THOSE COSTS ARE TAKEN INTO ACCOUNT?

04:08PM    4      A.    THAT'S RIGHT.

04:08PM    5                 MR. RATINOFF:   YOUR HONOR, AT THIS TIME I HAVE A

04:08PM    6      SPREADSHEET, IT'S AN EXCEL SPREADSHEET, AND IT'S NOT

04:08PM    7      PRACTICABLE TO PRINT IT OUT BECAUSE IT IS WIDE.     IT IS MARKED

04:08PM    8      ATTORNEYS' EYES ONLY, SO I WOULD ASK AT THIS TIME IF YOU COULD

04:08PM    9      SEAL THE EXHIBIT AS WELL AS THE TRANSCRIPT.

04:08PM   10                 THE COURT:   SURE, WE CAN DO THAT.

04:08PM   11            MR. SUHY, IF YOU WOULD LEAVE AGAIN.    THANK YOU, SIR.

04:08PM   12            (SEALED PROCEEDINGS PAGES 171 - 176.)

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04:08PM    1      ///

04:08PM    2      ///

04:17PM    3            (OPEN COURT.)

04:17PM    4                    THE COURT:   CROSS-EXAMINATION?

04:17PM    5                                 CROSS-EXAMINATION

04:17PM    6      BY MR. BEENE:

04:17PM    7      Q.    GOOD AFTERNOON.      MY NAME IS ANDRON BEENE, AND I REPRESENT

04:17PM    8      MR. SUHY, THE DEFENDANTS IN THIS CASE.

04:17PM    9            DO YOU UNDERSTAND THAT?

04:17PM   10      A.    I DO.

04:17PM   11                    THE COURT:   WE'RE BRINGING YOUR CLIENT BACK IN.    BUT

04:17PM   12      PLEASE CONTINUE.

04:17PM   13                    MR. BEENE:   THANK YOU FOR REMINDING US.

04:18PM   14            (PAUSE IN PROCEEDINGS.)

04:18PM   15                    MR. BEENE:   WE'RE READY.   THANK YOU.

04:18PM   16      Q.    MS. ZAWALSKI, ARE YOU A CPA?

04:18PM   17      A.    I AM.

04:18PM   18      Q.    AND YOU'RE FAMILIAR WITH GAAP, GENERALLY ACCEPTED

04:19PM   19      ACCOUNTING PRINCIPLES?

04:19PM   20      A.    YES.

04:19PM   21      Q.    AND THE EXHIBIT THAT YOU JUST SHOWED, IS THAT A GAAP

04:19PM   22      ACCOUNTING?

04:19PM   23      A.    NO.    THAT'S THE SALE REPORTING OUT OF OUR CRM.

04:19PM   24      Q.    THE REPORTS HERE ARE SHOWING NET SALES LESS COMMISSION;

04:19PM   25      RIGHT?



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04:19PM    1      A.    THE SALES THAT WE'RE SHOWING ARE GROSS, THE GROSS, THE

04:19PM    2      GROSS SALES PRICE FOR THAT TRANSACTION.

04:19PM    3      Q.    OKAY.    AND YOU TESTIFIED ABOUT THE COMMISSIONS, THE

04:19PM    4      AVERAGE COMMISSIONS THAT THE SALES REPS MAKE?

04:19PM    5      A.    CORRECT.

04:19PM    6      Q.    AND THE REASON IS BECAUSE THE EXPERT HAS A CHART WITH ALL

04:19PM    7      OF THAT.

04:19PM    8            WHAT I'M CURIOUS ABOUT IS WHY DID THE -- WHY DIDN'T YOU

04:20PM    9      LOOK AT THE NUMBERS TO FIGURE OUT THE AVERAGE COMMISSIONS?

04:20PM   10      A.    WE DID.    WE DID AN ANALYSIS, OUR COMPENSATION TEAM, WHICH

04:20PM   11      IS THE EXPERTS ON THIS DATA, PREPARED THE ANALYSIS.

04:20PM   12      Q.    BUT ISN'T THERE A SPREADSHEET THAT SHOWS YOU WHAT THE

04:20PM   13      TOTAL COMMISSIONS WERE AND WHAT THE AVERAGE WAS?

04:20PM   14      A.    THERE -- YEAH, THE ANALYSIS WAS DONE AT THE TIME, YEAH.

04:20PM   15      Q.    AND WHERE IS IT?

04:20PM   16      A.    I PREPARED THE INFORMATION MANY YEARS AGO -- OR I DIDN'T,

04:20PM   17      ACTUALLY OUR COMPENSATION TEAM DID.

04:20PM   18      Q.    BUT YOU DIDN'T TESTIFY ON THE STAND ABOUT THAT WRITTEN

04:20PM   19      DOCUMENT, DID YOU?

04:20PM   20      A.    THE WRITTEN -- THE ANALYSIS ITSELF?

04:20PM   21      Q.    YEAH.

04:20PM   22      A.    I TESTIFIED ABOUT THE PERCENTAGE BUT NOT THE REPORT OR THE

04:20PM   23      SPREADSHEET THAT WAS DONE.

04:21PM   24      Q.    RIGHT.    THE CONCLUSION?

04:21PM   25      A.    THE CONCLUSION, YES.



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04:21PM    1      Q.    WHAT ARE THE -- WHAT IS THE -- I'M SORRY.    STRIKE THAT.

04:21PM    2      LET ME START AGAIN.

04:21PM    3            WHAT IS THE GSA PER YEAR FOR NEO4J U.S.A.?

04:21PM    4      A.    CAN YOU DESCRIBE WHAT THE ACRONYM MEANS?

04:21PM    5      Q.    GENERAL SERVICES ADMINISTRATIVE EXPENSES UNDER GAAP.

04:21PM    6      A.    SO WHAT -- SORRY.   YOU WANT TO KNOW WHAT OUR OPERATING

04:21PM    7      EXPENSES ARE?

04:21PM    8      Q.    YEAH.

04:21PM    9      A.    FOR WHAT PERIOD OF TIME?

04:21PM   10      Q.    2018, '19, '20, '21, '22.    DO YOU HAVE AN AVERAGE?

04:21PM   11      A.    I'M NOT SURE I UNDERSTAND THE QUESTION, TO BE HONEST.

04:21PM   12      Q.    DO YOUR INVESTORS EVER ASK YOU WHAT IS OUR AVERAGE

04:21PM   13      OPERATION EXPENSES FOR A YEAR?

04:22PM   14      A.    YES, OF COURSE.

04:22PM   15      Q.    AND WHAT DO YOU TELL THEM?

04:22PM   16      A.    WE PROVIDE THEM WITH THE FINANCIAL REPORTS FOR THAT

04:22PM   17      PERIOD.

04:22PM   18      Q.    DO YOU KNOW WHAT THE REPORTS SAY WHAT THE AVERAGE

04:22PM   19      OPERATING EXPENSES ARE PER YEAR?

04:22PM   20      A.    I WOULD NEED TO LOOK AT OUR LATEST FINANCIAL REPORTS.

04:22PM   21      Q.    DO YOU KNOW WHAT YOUR NET PROFITS ARE?

04:22PM   22      A.    WE ARE IN A LOSS POSITION RIGHT NOW.

04:22PM   23      Q.    OKAY.   YOU HAVE 800 EMPLOYEES?

04:22PM   24      A.    CORRECT.

04:22PM   25      Q.    AND DO YOU KNOW WHAT THAT PAYROLL IS?



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04:22PM    1      A.    I WASN'T PREPARED FOR ALL OF THESE QUESTIONS ABOUT THE

04:23PM    2      FINANCIALS OF THE COMPANY.

04:23PM    3      Q.    HAVE YOU EVER HEARD OF GRAPH FOUNDATION?

04:23PM    4      A.    I HAVE BY VIRTUE OF THIS CASE.

04:23PM    5      Q.    DID YOU HAVE AN EXTRAORDINARY INCOME OFF OF SOME

04:23PM    6      SETTLEMENT OR JUDGMENT THAT WAS ENTERED AGAINST THEM THAT THEY

04:23PM    7      PAID NEO4J?

04:23PM    8      A.    I BELIEVE SO, BUT I WASN'T CLOSE TO THE CASE.

04:23PM    9      Q.    DO YOU KNOW HOW MUCH THEY PAY NEO4J?

04:23PM   10      A.    I -- NO, I DON'T KNOW.

04:23PM   11      Q.    DID YOU WORK WITH THE EXPERT WITNESS IN THIS CASE,

04:23PM   12      MR. BOYLES?

04:23PM   13      A.    I DID.

04:23PM   14      Q.    DID YOU PROVIDE HIM WITH THESE FINANCIAL STATEMENTS, LIKE

04:23PM   15      A P & L?

04:23PM   16      A.    NO, THAT WASN'T REQUESTED.

04:23PM   17      Q.    I DIDN'T REQUEST THAT YOU PROVIDE IT TO HIM?

04:23PM   18      A.    NO, NOT THAT I RECALL.

04:24PM   19                 MR. BEENE:   I HAVE NO FURTHER QUESTIONS.         THANK YOU.

04:24PM   20                 THE COURT:   REDIRECT?

04:24PM   21                 MR. RATINOFF:      NO, YOUR HONOR.   WE ARE FINISHED WITH

04:24PM   22      THE WITNESS.

04:24PM   23                 THE COURT:   OKAY.     ALL RIGHT.    THANK YOU.

04:24PM   24            I HAVE -- BEFORE YOU LEAVE --

04:24PM   25                 THE WITNESS:    YES.



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04:24PM    1                  THE COURT:    PLEASE SIT DOWN.

04:24PM    2                  THE WITNESS:    OH.

04:24PM    3                  THE COURT:    I JUST HAVE A COUPLE, WITH COUNSEL'S

04:24PM    4      PERMISSION, PERHAPS UNRELATED QUESTIONS.

04:24PM    5            BUT IN TRAINING NOW, ARE CPA'S -- IS THERE ANY ADDITIONAL

04:24PM    6      OR SPECIFIC EDUCATION FOR ACCOUNTANTS IN TRAINING IN RELATION

04:24PM    7      TO THE TECH INDUSTRY.

04:24PM    8                  THE WITNESS:    WELL, I WORKED IN PUBLIC ACCOUNTING

04:24PM    9      AND SO I -- IN THE BAY AREA IN THE SILICON VALLEY, AND MY FOCUS

04:24PM   10      FROM AN AUDIT POINT OF VIEW WAS IN SOFTWARE COMPANIES, AND SO I

04:25PM   11      HAVE LEARNED A LOT IN THAT EXPERIENCE, AND THEN I'VE APPLIED

04:25PM   12      THAT IN CORPORATE ENVIRONMENTS SINCE.

04:25PM   13                  THE COURT:    I'M JUST CURIOUS WHETHER THE SCHOOLS ARE

04:25PM   14      TEACHING -- WHAT WAS IT, THE BIG 10 AND THE BIG 8?

04:25PM   15                  THE WITNESS:    YEAH.   WHEN I WAS THERE IT WAS THE

04:25PM   16      BIG 6.

04:25PM   17                  THE COURT:    NOW IT'S DOWN TO 4?

04:25PM   18                  THE WITNESS:    YEAH.

04:25PM   19                  THE COURT:    AND DURING THE TRAINING, WAS THERE ANY

04:25PM   20      TRAINING ABOUT SPECIAL SKILL SETS THAT INDIVIDUALS SHOULD HAVE

04:25PM   21      FOR TECH COMPANIES?      I'M JUST CURIOUS.   IT'S UNRELATED TO THIS

04:25PM   22      CASE.    SO THESE LAWYERS ARE BEING VERY PATIENT IN RELATION TO

04:25PM   23      MY QUESTIONS.

04:25PM   24                  THE WITNESS:    YEAH, THERE ARE CERTAIN TECHNICAL

04:25PM   25      ACCOUNTING AREAS THAT REQUIRE SPECIAL SKILL SETS AND SO KIND OF



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04:25PM    1      A SCENARIO OF REVENUE RECOGNITION IS BIG.

04:25PM    2            OTHER AREAS OF, YOU KNOW, KIND OF TECHNICAL EXPERTISE ARE

04:25PM    3      -- EQUITY ACCOUNTING IN PARTICULAR IS VERY CHALLENGING.

04:26PM    4                 THE COURT:   SURE.   THANK YOU.

04:26PM    5                 THE WITNESS:   SURE.

04:26PM    6                 THE COURT:   MY NEXT QUESTION IS DO YOU KNOW, KIND OF

04:26PM    7      THE SIMILAR VEIN ABOUT TRAINING AND PERHAPS IN YOUR EXPERIENCE,

04:26PM    8      WHAT CONCERNS DO CPA'S HAVE NOW WITH AI AND HOW THAT IS GOING

04:26PM    9      TO AFFECT IF IT'S INTEGRATED INTO ACCOUNTING AND BUSINESS

04:26PM   10      RESOLUTIONS, WHAT IS THE LATEST WORD ON THAT IN YOUR INDUSTRY?

04:26PM   11                 THE WITNESS:   UM, I MEAN, THERE'S CONCERN ABOUT

04:26PM   12      FRAUD, MISREPRESENTATION, HOW THAT MIGHT IMPACT THE FINANCIAL

04:26PM   13      STATEMENTS.

04:26PM   14            I THINK THERE'S CONCERN ABOUT JOB STABILITY, YOU KNOW, AND

04:26PM   15      WHAT THAT MIGHT MEAN FOR THE PROFESSION LONG TERM.

04:26PM   16            BUT I THINK FRAUD IN GENERAL IS AN AREA OF ATTENTION IN

04:26PM   17      THE ACCOUNTING PROFESSION, AND SO GIVEN THAT THERE WOULD BE A

04:26PM   18      CLOSE EYE ANYWAY IN THAT AREA.

04:27PM   19                 THE COURT:   ARE YOU AWARE OF ANY SPECIAL TRAINING

04:27PM   20      THAT IS BEING OFFERED NOW AT UNIVERSITIES, COLLEGES, FOR THE

04:27PM   21      CPA DEGREE OR TRAINING IN THAT, CONFERENCES?       WHEN YOU GO TO

04:27PM   22      CONFERENCES, DOES THAT COME UP?

04:27PM   23                 THE WITNESS:   WELL, MASTER'S DEGREES ARE REQUIRED

04:27PM   24      NOW FOR THE CPA.

04:27PM   25                 THE COURT:   THAT'S RIGHT.



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04:27PM    1                 THE WITNESS:    YES.    AND THEN THERE'S CONFERENCES OF

04:27PM    2      ALL TYPE RELATED TO AI AND OTHER EMERGING, YOU KNOW, KIND OF

04:27PM    3      ISSUES THAT IMPACT THE ACCOUNTING INDUSTRY AND COMPANIES.

04:27PM    4                 THE COURT:    AND I EXPECT THAT CRYPTO CURRENCY

04:27PM    5      CREATES ITS OWN CHAOS?

04:27PM    6                 THE WITNESS:    IT CAN, YES.

04:27PM    7                 THE COURT:    OKAY.    THANK YOU.   ANY QUESTIONS BASED

04:27PM    8      ON MY --

04:27PM    9                 MR. PICONE:     I THINK YOU SHOULD BE MORE CONCERNED

04:27PM   10      ABOUT AI AFFECTING THE LEGAL PROFESSION, YOUR HONOR.         THAT'S

04:27PM   11      FRONT OF MIND FOR ME.

04:27PM   12                 THE COURT:    OKAY.    THANK YOU, MS. ZAWALSKI.    YOU CAN

04:27PM   13      STAND DOWN.   THANK YOU.      SHE'S EXCUSED.   THANK YOU.

04:28PM   14            ALL RIGHT.   THANK YOU.     WE'VE EXHAUSTED OUR DAY.   I'VE

04:28PM   15      LOOKED AT OUR SCHEDULE, AND WE'RE NEXT SCHEDULED TO BE HERE ON

04:28PM   16      TUESDAY, THE 21ST, AND THAT'S THE MORNING ONLY.

04:28PM   17            I UNDERSTAND THERE MIGHT BE SOME ISSUES.

04:28PM   18                 MR. BEENE:    YES.    CAN I APPROACH?

04:28PM   19                 THE COURT:    SURE.    WHY DON'T YOU COME FORWARD.

04:28PM   20                 MR. BEENE:    I'M NOT SURE THE WORD IS AN ISSUE, IT'S

04:28PM   21      LOGISTICS TIMING.

04:28PM   22            SO MR. SUHY IS FLYING IN FROM VIRGINIA AND TO COME OUT FOR

04:28PM   23      HALF A DAY -- OBVIOUSLY WE DEFER TO YOUR HONOR -- BUT IN THE

04:28PM   24      TIMING OF THE YEAR, THANKSGIVING, WE TALKED A LITTLE BIT AND

04:28PM   25      SORT OF BEFORE THE HEARING, AND IF THE EXPERT CAN COME THE NEXT



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04:28PM    1      DAY, THE NEXT DAY IN YOUR SCHEDULE, THEN WE TAKE OFF NEXT

04:28PM    2      TUESDAY AND THEN JUST GO THE FOLLOWING TUESDAY AND THEN THE

04:28PM    3      FINAL TUESDAY.

04:28PM    4                 THE COURT:    OKAY.    SO I HAVE OUR CRD, WHO IS

04:29PM    5      WONDERFUL, GAVE ME THE SCHEDULE HERE, TUESDAY THE 21ST, MORNING

04:29PM    6      ONLY; TUESDAY THE 28TH, ALL DAY; FRIDAY, DECEMBER 1ST, ALL DAY;

04:29PM    7      MONDAY, DECEMBER 4TH, JUST THE MORNING; AND THEN TUESDAY,

04:29PM    8      DECEMBER 5TH, ALL DAY.     THERE'S A BREAK AT 10:00 A.M. FOR

04:29PM    9      SOMETHING THAT I HAVE TO DO VIA ZOOM.

04:29PM   10            BUT THAT'S OUR CURRENT SCHEDULE.

04:29PM   11                 MR. BEENE:    SO LOOK AT YOUR WITNESS LIST.     FROM --

04:29PM   12      IF I'M CORRECT, WE HAVE -- THEY HAVE MR. BOYLES, THEIR EXPERT,

04:29PM   13      AND MR. SUHY.

04:29PM   14                 THE COURT:    RIGHT.

04:29PM   15                 MR. RATINOFF:    YOUR HONOR, MR. BOYLES IS TRAVELLING

04:29PM   16      TODAY, SO I HAVE PUT IN A REQUEST FOR HIS AVAILABILITY.

04:29PM   17            WE ARE AGREEABLE TO CANCELLING, GIVEN HOW THIS CASE IS

04:29PM   18      NARROWED, THE 22ND PENDING MR. BOYLES.

04:29PM   19                 THE COURT:    21ST.

04:29PM   20                 MR. RATINOFF:    SORRY, THE 21ST, PENDING MR. BOYLES

04:30PM   21      CONFIRMING THE 21ST.

04:30PM   22                 THE COURT:    WELL, THAT'S FINE.   THANK YOU.   I DON'T

04:30PM   23      THINK CROSS COUNTRY TRAVEL FOR THREE HOURS OF TESTIMONY IS

04:30PM   24      PROBABLY --

04:30PM   25                 MR. BEENE:    DURING THANKSGIVING.



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04:30PM    1                  THE COURT:    RIGHT, DURING THAT WEEK.

04:30PM    2                  MR. BEENE:    AND I BELIEVE THAT WITH YOUR SCHEDULE

04:30PM    3      ALSO I FELT THAT IT WOULD BE TWO MORE DAYS, WHEREAS IF YOU DID

04:30PM    4      A HALF DAY, IT WOULD BE HALF, FULL, HALF.

04:30PM    5                  THE COURT:    RIGHT.   SO LET'S THEN -- WE'LL CANCEL

04:30PM    6      THEN THE 21ST, THE MORNING OF THE 21ST, BUT WE WON'T DISTURB

04:30PM    7      THE BALANCE OF THE SCHEDULE, THAT IS THE 28TH, THE 1ST, THE

04:30PM    8      4TH, AND THE 5TH.    WE'LL JUST LEAVE THAT AS IS.

04:30PM    9                  MR. BEENE:    PERFECT.

04:30PM   10                  THE COURT:    DOES THAT WORK FOR YOU?

04:30PM   11                  MR. RATINOFF:   WELL, I WAS GOING TO SAY CAN I LET

04:30PM   12      YOU KNOW TOMORROW WHEN I HEAR FROM MR. BOYLES TO LET ME KNOW IF

04:30PM   13      HE'S AVAILABLE THE 28TH?

04:30PM   14                  THE COURT:    SURE.    EITHER OF THOSE DAYS.     AND THEN

04:30PM   15      WE CAN TAKE A WITNESS OUT OF ORDER.

04:30PM   16                  MR. BEENE:    YES, WE CAN SWAP.    IF HE'S AVAILABLE

04:31PM   17      EITHER OF THESE DAYS AND THEN WE'LL JUST SWITCH.        EXPERTS ARE

04:31PM   18      USUALLY QUITE FUNGIBLE AT PLACEMENT IN BENCH TRIALS.

04:31PM   19                  MR. RATINOFF:   I SHOULD HOPEFULLY HAVE AN ANSWER

04:31PM   20      TOMORROW.

04:31PM   21                  THE COURT:    THAT'S GREAT.     ANYTHING ELSE?

04:31PM   22                  MR. BEENE:    NO, YOUR HONOR.

04:31PM   23                  THE COURT:    OKAY.    GREAT.

04:31PM   24                  MR. PICONE:   THANK YOU.

04:31PM   25                  THE COURT:    SO WE'LL SEE EVERYBODY BACK ON THE 28TH.



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04:31PM    1                  MR. BEENE:    YES.

04:31PM    2                  MR. RATINOFF:   YES.

04:31PM    3                  MR. BEENE:    SHOULD THEY JUST REPORT TO COURT?

04:31PM    4                  THE COURT:    WE'RE GOING TO VACATE THE 21ST.

04:31PM    5                  MR. BEENE:    IF WE CAN'T DO IT --

04:31PM    6                  MR. RATINOFF:   I THINK WE'LL JUST LET THE COURT KNOW

04:31PM    7      WHETHER OR NOT WE CAN PRODUCE MR. BOYLES ON THE 28TH.

04:31PM    8                  THE COURT:    BUT WE'LL HAVE A WITNESS.

04:31PM    9                  MR. RATINOFF:   ON THE 28TH EITHER WAY?

04:31PM   10                  THE COURT:    YES.

04:31PM   11                  MR. BEENE:    YES.    MY CLIENT WILL BE HERE.

04:31PM   12                  THE COURT:    YES, EITHER OR.

04:31PM   13                  MR. RATINOFF:   YES.

04:31PM   14                  THE COURT:    OKAY.   GREAT.   WELL, HAVE WONDERFUL

04:31PM   15      HOLIDAYS.

04:31PM   16                  MR. BEENE:    THANK YOU, YOUR HONOR.   YOU TOO.

04:31PM   17                  MR. PICONE:   THANK YOU, YOUR HONOR.

04:31PM   18                  THE CLERK:    COURT IS CONCLUDED.

04:32PM   19            (COURT CONCLUDED AT 4:32 P.M.)

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 1

 2

 3                           CERTIFICATE OF REPORTER

 4

 5

 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE

 8      UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                 ______________________________
16                               IRENE RODRIGUEZ, CSR, RMR, CRR
                                 CERTIFICATE NUMBER 8074
17

18
                                 DATED:   NOVEMBER 15, 2023
19

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